USCA4 Appeal: 23-4760     Doc: 12      Filed: 04/01/2024     Pg: 1 of 237
                                        No. 23-4760
                                             In The
                 United States Court Of Appeals
                              For The Fourth Circuit

                     UNITED STATES OF AMERICA,
                                                              Plaintiff – Appellee,

                                                v.

                                    TIMOTHY MANN,
                                                              Defendant – Appellant.

                        On Appeal from the United States District Court
                           for the Eastern District of North Carolina
                                Case No. 5:23-cr-00014-M-KS-1

                                       ______________
                                       Joint Appendix
                                        Volume I of II
                                       (Pages: 1 - 227)
                                       ______________

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     BELL, DAVIS & PITT, P.A.                              Jacob D. Pugh
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     Winston-Salem, NC 27101                                 STATES ATTORNEY
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USCA4 Appeal: 23-4760        Doc: 12           Filed: 04/01/2024        Pg: 2 of 237




                                         TABLE OF CONTENTS
                                      Joint Appendix Volume I of II

                                                                                                       Page:

        District Court Docket Sheet [5:23-cr-00014-M-KS-1].................................. JA1

        Criminal Complaint,
        with Attachment,
             ﬁled December 13, 2022 [DE1] ............................................................ JA12

               Attachment:

               Aﬃdavit in Support of Criminal
               Complaint and Arrest Warrant
                   sworn December 13, 2022 [DE1] .............................................. JA13

        Removal to the Eastern District of North Carolina,
        with Attachments,
             ﬁled January 5, 2023 [DE3] .................................................................. JA23

               Attachments:

               Waiver of Rule 5 & 5.1 Hearings
                   dated December 20, 2022 [DE3-1] ............................................ JA36

               Order Setting Conditions of Release
               and Appearance Bond
                    dated December 20, 2022 [DE3-2] ............................................ JA37




                                                          i
USCA4 Appeal: 23-4760        Doc: 12           Filed: 04/01/2024       Pg: 3 of 237




        Order Appointing Counsel
             ﬁled January 10, 2023 [DE6] ................................................................ JA39

        Defendant’s Motion to Continue Initial Appearance
             ﬁled January 11, 2023 [DE9] ................................................................ JA40

        Order re: Motion to Continue
             ﬁled January 12, 2023 [DE11] .............................................................. JA44

        Order re: Conditions of Pretrial Release
             ﬁled January 19, 2023 [DE21] .............................................................. JA46

        Warrant for Arrest
             ﬁled January 19, 2023 [DE22] .............................................................. JA50

        Defendant’s Motion to Extend Pretrial
        Motions Deadline and Continue Arraignment
             ﬁled February 13, 2023 [DE24] ............................................................ JA51

        Defendant’s Unopposed Motion to
        Extend Pretrial Motions Deadline
             ﬁled March 15, 2023 [DE25] ................................................................. JA55

        Executed Arrest Warrant
             ﬁled March 30, 2023 [DE29] ................................................................. JA59




                                                         ii
USCA4 Appeal: 23-4760         Doc: 12           Filed: 04/01/2024        Pg: 4 of 237




        Rule 5(c)(3) Criminal Docket Excerpts [1:23-mj-00304-RML],
        with Attachments,
             ﬁled April 3, 2023 [DE30] ..................................................................... JA60

                Attachments:

                Removal to the Eastern District of North Carolina,
                with Exhibits,
                     dated March 30, 2023 [DE30-1] ................................................. JA62

                Waiver of Rule 5 & 5.1 Hearings
                    dated March 30, 2023 [DE30-2] ................................................. JA76

                Order re: Conditions of Pretrial Release
                     dated March 31, 2023 [DE30-3] ................................................. JA77

        Defendant’s Motion to Continue
        Initial Appearance on Revocation,
        with Proposed Orders
              ﬁled April 5, 2023 [DE31–DE32] ......................................................... JA79

        Order re: Motion to Continue
             ﬁled April 5, 2023 [DE33] ..................................................................... JA84

        Amended Petition re: Conditions of Pretrial Release
            ﬁled April 19, 2023 [DE35] ................................................................... JA85

        Federal Public Defender's Oﬃce's
        Motion to Withdraw as Counsel
             ﬁled April 25, 2023 [DE42] ................................................................... JA86

        Bench Warrant for Arrest
             ﬁled April 26, 2023 [DE43] ................................................................... JA89




                                                          iii
USCA4 Appeal: 23-4760         Doc: 12           Filed: 04/01/2024        Pg: 5 of 237




        Executed Arrest Warrant
             ﬁled April 26, 2023 [DE44] ................................................................... JA90

        Order re: Motion to Withdraw as Counsel
             ﬁled April 26, 2023 [DE45] ................................................................... JA91

        Rule 5(c)(3) Criminal Docket Excerpts [1:23-mj-00398-PK],
        with Attachment,
             ﬁled April 27, 2023 [DE46] ................................................................... JA92

                Attachment:

                Removal to the Eastern District of North Carolina,
                with Exhibits,
                     dated April 26, 2023 [DE46-1] ................................................... JA95

        Notice of Appearance
             ﬁled April 28, 2023 [DE47] ................................................................. JA114

        Defendant’s Motion to Continue Arraignment
             ﬁled May 2, 2023 [DE48] .................................................................... JA115

        Order Scheduling Preliminary and Detention Hearings
             ﬁled May 11, 2023 [DE51] .................................................................. JA118

        Defendant's Waiver of Preliminary Hearing
             ﬁled May 22, 2023 [DE54] .................................................................. JA119

        Defendant’s Waiver of Detention Hearing
             ﬁled May 22, 2023 [DE55] .................................................................. JA120

        Defendant's Waiver of Revocation Hearing
             ﬁled May 22, 2023 [DE56] .................................................................. JA121



                                                          iv
USCA4 Appeal: 23-4760         Doc: 12           Filed: 04/01/2024        Pg: 6 of 237




        Order re: Pretrial Release and Detention Pending Trial
             ﬁled May 25, 2023 [DE57] .................................................................. JA122

        Defendant’s Motion to Continue Arraignment
             ﬁled June 9, 2023 [DE58] .................................................................... JA124

        Consent Motion for Protective Order
            ﬁled July 14, 2023 [DE59] ................................................................... JA127

        Defendant’s Motion to Continue Arraignment
             ﬁled July 17, 2023 [DE60] ................................................................... JA132

        Protective Order
             ﬁled July 24, 2023 [DE61] ................................................................... JA135

        Transcript of Arraignment and Plea Hearing
        before The Honorable Richard E. Myers, II
             on August 23, 2023 [DE84] ................................................................. JA137

        Transcript of Sentencing Hearing
        before The Honorable Richard E. Myers, II
             on November 30, 2023 [DE85] ........................................................... JA159

        Judgment in a Criminal Case
            ﬁled November 30, 2023 [DE77] ....................................................... JA210




                                                           v
USCA4 Appeal: 23-4760       Doc: 12          Filed: 04/01/2024      Pg: 7 of 237




        Defendant’s Pro Se Motion to Appoint New Counsel,
        with Attachment,
             ﬁled December 12, 2023 [DE74] ........................................................ JA217

               Attachment:

               Indictment
                     dated January 18, 2023 [DE74-1]............................................. JA218

        Motion to Withdraw and for Appointment of
        New Counsel on Direct Appeal
             ﬁled December 12, 2023 [DE75] ........................................................ JA222

        Notice of Appeal
             ﬁled December 12, 2023 [DE76] ........................................................ JA226

        Order Appointing Counsel
             ﬁled December 20, 2023 [DE82] ........................................................ JA227




                                                       vi
USCA4 Appeal: 23-4760        Doc: 12           Filed: 04/01/2024        Pg: 8 of 237




                                     TABLE OF CONTENTS
                            Joint Appendix Volume II of II - Under Seal

                                                                                                       Page:

        Indictment
              ﬁled January 18, 2023 [DE15] ............................................................ JA228

        Warrant for Arrest
             ﬁled January 18, 2023 [DE17] ............................................................ JA230

        Release Status Report
             ﬁled April 21, 2023 [DE39] ................................................................. JA231

        Draft Presentence Investigation Report,
        with Attached Cover Memo,
             ﬁled October 24, 2023 [DE63] ............................................................ JA232

        Government’s Objections to Presentence Investigation Report
            ﬁled November 7, 2023 [DE64] ......................................................... JA245

        Defendant’s Objections to Presentence Investigation Report
             ﬁled November 7, 2023 [DE65] ......................................................... JA246

        Final Presentence Investigation Report
              ﬁled November 20, 2023 [DE66] ....................................................... JA248




                                                         vii
USCA4 Appeal: 23-4760        Doc: 12           Filed: 04/01/2024         Pg: 9 of 237




        Defendant’s Sentencing Memorandum and
        Motion for Downward Variance,
        with Exhibits,
             ﬁled November 22, 2023 [DE68] ....................................................... JA262

               Exhibits:

               A.     (1).    Kingsborough Community College Transcript
                                   dated June 17, 2019 [DE68-1] .............................. JA271

                      (2).    Letter from Covenant
                              House Youth Shelter [DE68-1] ..................................... JA272

                      (3).    Letter from Legacy Treatment Center
                                    dated March 6, 2023 [DE68-1] ............................ JA273

                      (4).    Letter from Amazon
                                    dated March 14, 2023 [DE68-1] .......................... JA274

                      (5).    Letter from FedEx
                                    dated March 14, 2023 [DE68-1] .......................... JA275

                      (6).    Letter from Binnacle House Group Home
                                    dated March 8, 2023 [DE68-1] ............................ JA276

                      B.      Photo [DE68-2] ................................................................ JA277

                      C.      Text Messages [DE68-3] ................................................ JA278

                      D.      Text Messages [DE68-4] ................................................ JA279

                      E.      Instagram Screenshot [DE68-5] ................................... JA280




                                                         viii
USCA4 Appeal: 23-4760       Doc: 12          Filed: 04/01/2024        Pg: 10 of 237




        Government’s Motion for Restitution,
        with Exhibits,
             ﬁled November 28, 2023 [DE70] ....................................................... JA281

               Exhibits:

                      1.      Phone Number Change Records [DE70-1] ................ JA289

                      2.      Hotel Receipts [DE70-2] ................................................ JA294

                      3.      Q.H. Record of Missed Work [DE70-3] ...................... JA301

        Statement of Reasons
             ﬁled November 30, 2023 [DE77] ....................................................... JA305




                                                        ix
USCA4 Appeal: 23-4760           Doc: 12          Filed: 04/01/2024        Pg: 11 of 237

                            Query    Reports     Utilities    Help   Log Out

                                                                                                        APPEAL,CLOSED

                                      U.S. District Court
                    EASTERN DISTRICT OF NORTH CAROLINA (Western Division)
                      CRIMINAL DOCKET FOR CASE #: 5:23-cr-00014-M-KS-1


 Case title: USA v. Mann                                                  Date Filed: 01/18/2023

 Magistrate judge case number: 5:22-mj-02161-RN                           Date Terminated: 11/30/2023


 Assigned to: Chief Judge Richard E. Myers, II
 Referred to: US Magistrate Judge Kimberly A
 Swank
 Appeals court case number: 23-4760 USCA

 Defendant (1)
 Timothy Mann                                                represented by Joseph E. Zeszotarski , Jr.
 TERMINATED: 11/30/2023                                                     Gammon, Howard & Zeszotarski, PLLC
                                                                            115 1/2 West Morgan St.
                                                                            Raleigh, NC 27601
                                                                            919-521-5878
                                                                            Fax: 919-882-1898
                                                                            Email: jzeszotarski@ghz-law.com
                                                                            TERMINATED: 12/20/2023
                                                                            LEAD ATTORNEY
                                                                            ATTORNEY TO BE NOTICED
                                                                            Designation: CJA Appointment

                                                                          David W. Venable
                                                                          Federal Public Defender - EDNC
                                                                          150 Fayetteville Street Mall, Suite 450
                                                                          Raleigh, NC 27601
                                                                          919-856-4236
                                                                          Fax: 919-856-4477
                                                                          Email: david_venable@fd.org
                                                                          TERMINATED: 04/26/2023
                                                                          Designation: Public Defender or Community
                                                                          Defender Appointment

 Pending Counts                                                           Disposition
                                                                          36 months imprisonment on Counts 1 and 2;
                                                                          concurrent - 3 years Supervised Release on
 Cyberstalking
                                                                          Counts 1 and 2; concurrent - Special Conditions
 (1-2)
                                                                          of Release Imposed - Special Assessment $200 -
                                                                          No Fine - Restitution $2107.13

 Highest Offense Level (Opening)
 Felony

 Terminated Counts                                                        Disposition
                                                             JA1
USCA4 Appeal: 23-4760          Doc: 12            Filed: 04/01/2024         Pg: 12 of 237

 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                                 Disposition
 18 U.S.C. § 2261A(2) - Cyberstalking



 Plaintiff
 USA                                                        represented by Jake D. Pugh
                                                                           United States Attorney's Office - EDNC
                                                                           150 Fayetteville Street, Suite 2100
                                                                           Raleigh, NC 27601
                                                                           919-856-4530
                                                                           Email: jacob.pugh@usdoj.gov
                                                                           LEAD ATTORNEY
                                                                           ATTORNEY TO BE NOTICED
                                                                           Designation: Assistant US Attorney

 Date Filed      #   Docket Text
 12/13/2022       1 COMPLAINT as to Timothy Mann (1). (Horton, B.) [5:22-mj-02161-RN] (Entered: 12/13/2022)
 12/13/2022       2 Arrest Warrant Issued by Magistrate Judge Robert T. Numbers, II in case as to Timothy Mann.
                    Original to US Marshal's Office for service. (Horton, B.) [5:22-mj-02161-RN] (Entered: 12/13/2022)
 01/05/2023       3 Rule 5(c)(3) Documents Retrieved from Eastern District of New York as to Timothy Mann.
                    (Attachments: # 1 Waiver of Rule 5, # 2 Order Setting Conditions of Release and Appearance Bond)
                    (Horton, B.) [5:22-mj-02161-RN] (Entered: 01/05/2023)
 01/05/2023       4 CJA 23 Financial Affidavit filed in Eastern District of New York by Timothy Mann. (Horton, B.)
                    [5:22-mj-02161-RN] (Entered: 01/05/2023)
 01/05/2023          TEXT ORDER as to Timothy Mann: Based on the CJA 23 Financial Affidavit submitted by the
                     defendant in the Eastern District of New York, the court provisionally appoints the Office of the
                     Federal Public Defender to represent the defendant. The court directs the defendant to submit an
                     updated CJA 23 Financial Affidavit within 7 days. If the court determines that the defendant is entitled
                     to appointment of counsel the court will take no further action. If the court determines that the
                     defendant does not qualify for appointment of counsel, the court will enter an Order. Entered by
                     Magistrate Judge James E. Gates on 1/5/2023. (Horton, B.) [5:22-mj-02161-RN] (Entered:
                     01/05/2023)
 01/10/2023       5 CJA 23 Financial Affidavit by Timothy Mann. (Horton, B.) [5:22-mj-02161-RN] (Entered:
                    01/10/2023)
 01/10/2023          Set Hearing as to Timothy Mann: Initial Appearance set for 1/18/2023 at 10:00 AM in Raleigh - 6th
                     Floor Courtroom before Magistrate Judge James E. Gates. (Horton, B.) [5:22-mj-02161-RN] (Entered:
                     01/10/2023)
 01/10/2023       6 ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Timothy Mann. Signed by Magistrate
                    Judge James E. Gates on 1/10/2023. (Horton, B.) [5:22-mj-02161-RN] (Entered: 01/10/2023)
 01/11/2023       7 Notice of Attorney Appearance: David W. Venable appearing for Timothy Mann . (Venable, David)
                    [5:22-mj-02161-RN] (Entered: 01/11/2023)
 01/11/2023       8 Request for discovery filed by Timothy Mann . (Venable, David) [5:22-mj-02161-RN] (Entered:
                    01/11/2023)
                                                           JA2
USCA4 Appeal: 23-4760        Doc: 12           Filed: 04/01/2024        Pg: 13 of 237

 01/11/2023    9 MOTION to Continue Initial Appearance filed by Timothy Mann. (Attachments: # 1 Text of Proposed
                 Order) (Venable, David) [5:22-mj-02161-RN] (Entered: 01/11/2023)
 01/11/2023   10 MOTION For Travel Expenses filed by Timothy Mann. (Attachments: # 1 Text of Proposed Order)
                 (Venable, David) [5:22-mj-02161-RN] (Entered: 01/11/2023)
 01/12/2023       Reset Hearing as to Timothy Mann: Initial Appearance reset for 1/19/2023 at 10:00 AM in Raleigh -
                  6th Floor Courtroom before Magistrate Judge James E. Gates. (Horton, B.) [5:22-mj-02161-RN]
                  (Entered: 01/12/2023)
 01/12/2023       Motion Referred to US Magistrate Judge James E. Gates as to Timothy Mann regarding 10 MOTION
                  For Travel Expenses , 9 MOTION to Continue Initial Appearance. Motions referred to James E.
                  Gates. (Horton, B.) [5:22-mj-02161-RN] (Entered: 01/12/2023)
 01/12/2023   11 ORDER denying 9 Motion to Continue as to Timothy Mann (1). Signed by Magistrate Judge James E.
                 Gates on 1/12/2023. Counsel should read this order in its entirety for critical information and
                 deadlines. (Horton, B.) [5:22-mj-02161-RN] (Entered: 01/12/2023)
 01/12/2023       Reset Hearing as to Timothy Mann: Initial Appearance reset for 1/19/2023 at 02:00 PM in Raleigh -
                  6th Floor Courtroom before Magistrate Judge James E. Gates. (Horton, B.) [5:22-mj-02161-RN]
                  (Entered: 01/12/2023)
 01/12/2023   12 ORDER granting 10 Motion for Travel Expenses as to Timothy Mann (1). Signed by Magistrate Judge
                 James E. Gates on 1/12/2023. (Horton, B.) [5:22-mj-02161-RN] (Entered: 01/12/2023)
 01/13/2023   13 Pretrial Services Report prepared by the Eastern District Of New York filed by Jay Neely as to
                 Timothy Mann. (Headen, J.) [5:22-mj-02161-RN] (Entered: 01/13/2023)
 01/18/2023   14 INDICTMENT as to Timothy Mann (1) counts 1-2. The foreperson's signature has been redacted
                 pursuant to the E-Government Act. The unredacted version of this document has been filed under seal.
                 (Herrmann, L.) (Entered: 01/19/2023)
 01/18/2023   15 Unredacted Document - 14 Indictment. (Herrmann, L.) (Entered: 01/19/2023)
 01/18/2023   16 Warrant Requested by USA as to Timothy Mann. (Herrmann, L.) (Entered: 01/19/2023)
 01/18/2023   17 Arrest Warrant Issued by Peter A. Moore, Jr., Clerk of Court in case as to Timothy Mann. Original to
                 US Marshal's Office for service. (Herrmann, L.) (Entered: 01/19/2023)
 01/18/2023   18 Penalty Sheet (Selected Participants Only) as to Timothy Mann. (Herrmann, L.) (Entered: 01/19/2023)
 01/19/2023       ORAL ORDER REGARDING DUE PROCESS PROTECTIONS ACT as to Timothy Mann.
                  Entered by Magistrate Judge James E. Gates on 1/19/2023. (Horton, B.) (Entered: 01/19/2023)
 01/19/2023   19 ORDER REGARDING DUE PROCESS PROTECTIONS ACT as to Timothy Mann. Signed by
                 Magistrate Judge James E. Gates on 1/19/2023. (Horton, B.) (Entered: 01/19/2023)
 01/19/2023       ORAL ORDER as to Timothy Mann: The court directs that that Arrest Warrant issued in this
                  case be QUASHED. Entered by Magistrate Judge James E. Gates on 1/19/2023. (Horton, B.)
                  (Entered: 01/19/2023)
 01/19/2023   20 Minute Entry for proceedings held before Magistrate Judge James E. Gates in Raleigh.Initial
                 Appearance as to Timothy Mann held on 1/19/2023. Assistant U.S. Attorney present for government.
                 Defendant present with counsel. Defendant advised of rights, charges, and maximum punishments.
                 Government does not seek detention. The court confirmed to counsel for the government and for
                 defendants both orally and in writing the disclosure obligation of the prosecution under Brady and its
                 progeny and possible consequences of violation of the obligation under applicable law. The court
                 enters an order adopting the Conditions of Release as issued by the Eastern District of New York and
                 adds additional conditions. The government withdraws its arrest warrant. The court directs that the
                 arrest warrant issued be QUASHED. Defendant released on Conditions of Release. (Court Reporter -
                 FTR) (Horton, B.) (Entered: 01/19/2023)
 01/19/2023   21 ORDER Adopting Conditions of Release as ordered by the Eastern District of New York. Signed
                 by Magistrate Judge James E. Gates on 1/19/2023. (Horton, B.) (Entered: 01/19/2023)
                                                        JA3
USCA4 Appeal: 23-4760        Doc: 12           Filed: 04/01/2024         Pg: 14 of 237

 01/19/2023   22 Arrest Warrant Returned Executed on 1/19/23 as to Timothy Mann. (Powers, S.) (Entered: 01/23/2023)
 01/24/2023   23 SCHEDULING ORDER as to Timothy Mann: Arraignment set for 3/21/2023 term in
                 Wilmington Courtroom 160 before Chief Judge Richard E. Myers II. The attorneys are
                 ORDERED to conduct a pre-trial conference on or before January 30, 2023. Motions due by
                 2/13/2023. Response to Motion due by 2/27/2023. Signed by Magistrate Judge Kimberly A.
                 Swank on 1/24/2023. Counsel should read the order in its entirety for additional information. (Lopez,
                 R.) (Entered: 01/24/2023)
 02/13/2023   24 MOTION for Extension of Time to Extend Pre-Trial Motions Deadline until March 15, 2023,
                 MOTION to Continue Arraignment filed by Timothy Mann. (Attachments: # 1 Text of Proposed
                 Order) (Venable, David) (Entered: 02/13/2023)
 02/14/2023       TEXT ORDER as to Timothy Mann - For good cause shown, Defendant's first unopposed
                  motion to extend the pretrial-motions deadline and to continue the arraignment and trial is
                  GRANTED. Defendant shall be allowed until March 15, 2023 to file pretrial motions, and the
                  Government shall file any responses to pretrial motions by March 29, 2023. Defendant's
                  arraignment is continued until the April 25, 2023 term of court. The court has determined that
                  the ends of justice served by granting the motion outweigh the best interests of the public and
                  Defendant in a speedy trial. Any delay occasioned by granting the motion shall therefore be
                  excluded in computing Defendant's speedy-trial time. See 18 U.S.C. § 3161(h)(7). Entered by
                  Chief Judge Richard E. Myers II on 2/14/2023. (Powers, S.) (Entered: 02/14/2023)
 02/14/2023       Reset Hearing as to Timothy Mann: Arraignment reset for the 4/25/2023 term in Wilmington
                  Courtroom 160 before Chief Judge Richard E. Myers II. (Powers, S.) (Entered: 02/14/2023)
 03/15/2023   25 MOTION for Extension of Time to Extend Pre-Trial Motions Deadline until March 29, 2023 filed by
                 Timothy Mann. (Attachments: # 1 Text of Proposed Order) (Venable, David) (Entered: 03/15/2023)
 03/15/2023       TEXT ORDER as to Timothy Mann - For good cause shown, Defendant's second unopposed
                  motion to extend the pretrial-motions deadline is GRANTED. Defendant shall be allowed until
                  March 29, 2023 to file pretrial motions, and the Government shall file any responses to pretrial
                  motions by April 12, 2023. The court has determined that the ends of justice served by granting
                  the motion outweigh the best interests of the public and Defendant in a speedy trial. Any delay
                  occasioned by granting the motion shall therefore be excluded in computing Defendant's speedy-
                  trial time. See 18 U.S.C. § 3161(h)(7). Entered by Chief Judge Richard E. Myers II on 3/15/2023.
                  (Powers, S.) (Entered: 03/15/2023)
 03/30/2023       Notice of Hearing as to Timothy Mann: Arraignment set for 4/25/2023 at 10:00 AM in Wilmington
                  Courtroom 160 before Chief Judge Richard E. Myers II. Motions to continue and in limine shall be
                  filed five (5) business days before the start of a term of court. Any motion of a non-emergency nature
                  filed after that date must be received in the Clerks Office by 4:00 PM on the date filed and will be
                  heard in open court at the start of the session, at which time all parties and counsel must be present.
                  All requests for changes to the calendar must be made by motion for the courts consideration with a
                  proposed order. Any requests made for changes made via email will not be considered. Click here for
                  court calendar. (Powers, S.) (Entered: 03/30/2023)
 03/30/2023   29 Arrest Warrant Returned Executed on 3/29/23 as to Timothy Mann. (Powers, S.) (Entered: 03/30/2023)
 04/03/2023   30 Rule 5(c)(3) Documents Received from Eastern District of New York as to Timothy Mann.
                 (Attachments: # 1 Removal to the Eastern District of North Carolina Affidavit, # 2 Waiver of Rule 5 &
                 5.1 Hearings, # 3 Order Setting Conditions of Release) (Powers, S.) (Entered: 04/03/2023)
 04/03/2023       Arrest of Timothy Mann in the Eastern District of New York. (Powers, S.) (Entered: 04/03/2023)
 04/03/2023       Set Hearing as to Timothy Mann: Initial Appearance on Revocation of Pretrial Release set for
                  4/7/2023 at 10:00 AM in Raleigh - 5th Floor Courtroom before Magistrate Judge Robert T. Numbers
                  II. (Pendergrass, C) (Entered: 04/03/2023)
 04/05/2023   31 MOTION to Continue Initial Appearance on Revocation filed by Timothy Mann. (Attachments: # 1
                 Text of Proposed Order) (Venable, David) (Entered: 04/05/2023)
                                                        JA4
USCA4 Appeal: 23-4760        Doc: 12           Filed: 04/01/2024        Pg: 15 of 237

 04/05/2023       Motion Referred to US Magistrate Judge Robert T. Numbers, II as to Timothy Mann regarding 31
                  MOTION to Continue Initial Appearance on Revocation. Motions referred to Robert T. Numbers, II.
                  (Powers, S.) (Entered: 04/05/2023)
 04/05/2023   32 Proposed Order by Timothy Mann regarding 31 MOTION to Continue Initial Appearance on
                 Revocation Amended proposed order to remove the word "unopposed" filed by Timothy Mann.
                 (Venable, David) (Entered: 04/05/2023)
 04/05/2023   33 ORDER granting 31 Motion to Continue Initial Appearance on Revocation of Pretrial Release as
                 to Timothy Mann (1). Signed by Magistrate Judge Robert T. Numbers, II on 4/5/2023.
                 (Pendergrass, C) (Entered: 04/05/2023)
 04/05/2023       Reset Hearing as to Timothy Mann: Initial Appearance on Revocation of Pretrial Release set for
                  4/21/2023 at 10:00 AM in Raleigh - 6th Floor Courtroom before Magistrate Judge Brian S. Meyers.
                  (Pendergrass, C) (Entered: 04/05/2023)
 04/17/2023   34 Release Status Report Report as to Timothy Mann. (Coleman, S.) (Entered: 04/17/2023)
 04/19/2023   35 AMENDED PETITION and ORDER for Action on Conditions of Pretrial Release as to Timothy
                 Mann. Signed by Magistrate Judge James E. Gates on 4/19/2023. (Horton, B.) (Entered: 04/19/2023)
 04/20/2023       **CHANGE IN HEARING TIME***Reset Hearing as to Timothy Mann: Initial Appearance on
                  Revocation of Pretrial Release reset for 4/21/2023 at 11:00 AM in Raleigh - 6th Floor Courtroom
                  before Magistrate Judge Brian S. Meyers. (Horton, B.) (Entered: 04/20/2023)
 04/21/2023   39 Release Status Report Report as to Timothy Mann. (Coleman, S.) (Entered: 04/21/2023)
 04/21/2023   40 Minute Entry for proceedings held before Magistrate Judge Brian S. Meyers in Raleigh.Docket Call
                 for Initial Appearance on Revocation of Pretrial Release as to Timothy Mann held on 4/21/2023.
                 Assistant U.S. Attorney present for government. Defendant, although fully advised of the time and
                 place of today's hearing, failed to appear. Defense counsel present. The court issues a Bench Warrant
                 for defendant's arrest. (Court Reporter - FTR) (Horton, B.) (Entered: 04/21/2023)
 04/21/2023       Terminate Initial Appearance on Revocation of Pretrial Release as to Timothy Mann. Defendant did
                  not appear for hearing. (Horton, B.) (Entered: 04/21/2023)
 04/21/2023   41 Bench Warrant Issued by Magistrate Judge Brian S. Meyers in case as to Timothy Mann. Original to
                 US Marshal's Office for service. (Horton, B.) (Entered: 04/21/2023)
 04/25/2023       Minute Entry for proceedings held before Chief Judge Richard E. Myers II in Wilmington, NC:
                  Docket Call for arraignment as to Timothy Mann held on 4/25/2023. Counsel for the defendant moves
                  to continue the arraignment and to withdraw as counsel. Court grants the motion to continue and the
                  arraignment is reset for 5/9/2023 at 10:00 AM in Wilmington Courtroom 160 before Chief Judge
                  Richard E. Myers II. Court denies the motion to withdraw but will allow counsel to file a written
                  motion with more information regarding the reasons. (Court Reporter - Risa Kramer - Official Court
                  Reporter) (Powers, S.) (Entered: 04/25/2023)
 04/25/2023       ORAL MOTION to Continue Arraignment and to Withdraw as Attorney by David Venable filed by
                  Timothy Mann. (Powers, S.) (Entered: 04/25/2023)
 04/25/2023       ORAL ORDER granting Oral Motion to Continue Arraignment and denying Motion to
                  Withdraw as Attorney as to Timothy Mann. Entered by Chief Judge Richard E. Myers II on
                  4/25/2023. (Powers, S.) (Entered: 04/25/2023)
 04/25/2023   42 MOTION to Withdraw as Attorney by David W. Venable. filed by Timothy Mann. (Attachments: # 1
                 Text of Proposed Order) (Venable, David) (Entered: 04/25/2023)
 04/26/2023       Motion Submitted to Chief Judge Richard E. Myers II as to Timothy Mann regarding 42 MOTION to
                  Withdraw as Attorney by David W. Venable.. (Powers, S.) (Entered: 04/26/2023)
 04/26/2023   43 Bench Warrant Returned Executed on 4/26/23 as to Timothy Mann. (Powers, S.) (Entered:
                 04/27/2023)
 04/26/2023   44 Arrest Warrant Returned Executed on 4/26/23 as to Timothy Mann. (Powers, S.) (Entered: 04/27/2023)
                                                        JA5
USCA4 Appeal: 23-4760        Doc: 12           Filed: 04/01/2024        Pg: 16 of 237

  04/26/2023   45 ORDER granting 42 Motion to Withdraw as Attorney as to Timothy Mann. David W. Venable is
                  granted leave to withdraw as counsel for Defendant. The Office of the Federal Public Defender is
                  directed to appoint new counsel to represent Defendant in the above-captioned case. Signed by
                  Chief Judge Richard E. Myers II on 4/26/2023. (Powers, S.) (Entered: 04/27/2023)
  04/26/2023       Arrest of Timothy Mann in Eastern District of New York. (Powers, S.) (Entered: 04/27/2023)
  04/27/2023   46 Rule 5(c)(3) Documents - Docket - Received from Eastern District of New York as to Timothy Mann.
                  (Attachments: # 1 Removal to the Eastern District of North Carolina Affidavit, # 2 Commitment to
                  Another District) (Powers, S.) (Entered: 04/27/2023)
  04/28/2023   47 Notice of Attorney Appearance: Joseph E. Zeszotarski, Jr appearing for Timothy Mann . (Zeszotarski,
                  Joseph) (Entered: 04/28/2023)
  05/02/2023   48 MOTION to Continue Arraignment filed by Timothy Mann. (Attachments: # 1 Text of Proposed
                  Order) (Zeszotarski, Joseph) (Entered: 05/02/2023)
  05/02/2023       TEXT ORDER as to Timothy Mann - For good cause shown, Defendant's fourth unopposed
                   motion to continue the arraignment and trial is GRANTED. Defendant's arraignment is
                   continued until the June 20, 2023 term of court. The court has determined that the ends of
                   justice served by granting the motion outweigh the best interests of the public and Defendant in
                   a speedy trial. Any delay occasioned by granting the motion shall therefore be excluded in
                   computing Defendant's speedy-trial time. See 18 U.S.C. § 3161(h)(7). Entered by Chief Judge
                   Richard E. Myers II on 5/2/2023. (Powers, S.) (Entered: 05/02/2023)
  05/02/2023       Reset Hearing as to Timothy Mann: Arraignment reset for the 6/20/2023 term in Wilmington
                   Courtroom 160 before Chief Judge Richard E. Myers II. (Powers, S.) (Entered: 05/02/2023)
  05/09/2023       Set Hearing as to Timothy Mann: Initial Appearance on Revocation Proceedings set for 5/11/2023 at
                   10:00 AM in Raleigh - 6th Floor Courtroom before Magistrate Judge James E. Gates. (Horton, B.)
                   (Entered: 05/09/2023)
  05/11/2023       ORAL MOTION for Detention filed by USA as to Timothy Mann. (Horton, B.) (Entered: 05/11/2023)
  05/11/2023       ORAL ORDER REGARDING DUE PROCESS PROTECTIONS ACT as to Timothy Mann.
                   Entered by Magistrate Judge James E. Gates on 5/11/2023. (Horton, B.) (Entered: 05/11/2023)
  05/11/2023   49 ORDER REGARDING DUE PROCESS PROTECTIONS ACT as to Timothy Mann. Signed by
                  Magistrate Judge James E. Gates on 5/11/2023. (Horton, B.) (Entered: 05/11/2023)
  05/11/2023   50 Minute Entry for proceedings held before Magistrate Judge James E. Gates in Raleigh.Initial
                  Appearance regarding Revocation of Pretrial Release as to Timothy Mann held on 5/11/2023. Assistant
                  U.S. Attorney present for government. Defendant present with counsel. Defendant advised of rights,
                  charges, and maximum punishments. Government moves for detention. Preliminary, Detention and
                  Revocation Hearings set for 5/17/2023 at 10:00 AM in Raleigh - 6th Floor Courtroom before
                  Magistrate Judge James E. Gates. The court confirmed to counsel for the government and for
                  defendants both orally and in writing the disclosure obligation of the prosecution under Brady and its
                  progeny and possible consequences of violation of the obligation under applicable law. Defendant
                  remanded to the custody of the U.S. Marshal. (Court Reporter - FTR) (Horton, B.) (Entered:
                  05/11/2023)
  05/11/2023   51 ORDER OF TEMPORARY DETENTION as to Timothy Mann. Preliminary, Detention and
                  Revocation Hearings set for 5/17/2023 at 10:00 AM in Raleigh - 6th Floor Courtroom before
                  Magistrate Judge James E. Gates. Signed by Magistrate Judge James E. Gates on 5/11/2023.
                  (Horton, B.) (Entered: 05/11/2023)
  05/17/2023   52 Minute Entry for proceedings held before Magistrate Judge James E. Gates in Raleigh.Docket Call for
                  Preliminary, Detention and Revocation of Pretrial Release hearings as to Timothy Mann held on
                  5/17/2023. Assistant U.S. Attorney present for government. Defendant present with counsel.
                  Defendant moves to continue his preliminary, detention and revocation hearings. The court allows
                  defendants motion to continue. Preliminary, Detention and Revocation of Pretrial Release Hearings
                  continued to 5/22/2023 at 10:00 AM in Raleigh - 6th Floor Courtroom before Magistrate Judge Brian
                  S. Meyers. The Court finds that any delay resulting from the continuance of this matter shall be
                                                        JA6
USCA4 Appeal: 23-4760        Doc: 12            Filed: 04/01/2024         Pg: 17 of 237

                   excluded from the Speedy Trial Act computation pursuant to 18 U.S.C. § 3161(h)(7)(A) for the reason
                   that the ends of justice served by granting this continuance outweigh the best interest of the public and
                   the defendant in a speedy trial. Defendant remanded to the custody of the U.S. Marshal. (Court
                   Reporter - FTR) (Horton, B.) (Entered: 05/17/2023)
  05/17/2023       ORAL MOTION to Continue filed by Timothy Mann. (Horton, B.) (Entered: 05/17/2023)
  05/17/2023       ORAL ORDER granting Oral Motion to Continue as to Timothy Mann (1). Entered by
                   Magistrate Judge James E. Gates on 5/17/2023. (Horton, B.) (Entered: 05/17/2023)
  05/22/2023   53 Minute Entry for proceedings held before Magistrate Judge Brian S. Meyers in Raleigh.
                  Preliminary,Detention, and Revocation of Pretrial Release as to Timothy Mann held on 5/22/2023.
                  Assistant U.S. Attorney present for government. Defendant present with counsel.The defendant waives
                  his preliminary and detention hearings. The court finds that the defendant knowingly and voluntarily
                  provides his Waiver of Preliminary Hearing, Waiver of Detention Hearing and Waiver of Revocation
                  Hearing. The court accepts defendants waivers. The court finds that probable cause exists to support
                  the charges against defendant. The government's motion for detention is allowed. The court finds that
                  the defendant has violated the terms of his pretrial release conditions. The court revokes the
                  defendant's Conditions of Release. Defendant ordered detained and remanded to the custody of the
                  U.S. Marshal. (Court Reporter - FTR) (Horton, B.) (Entered: 05/22/2023)
  05/22/2023   54 Waiver of Preliminary Hearing by Timothy Mann. (Horton, B.) (Entered: 05/22/2023)
  05/22/2023   55 Waiver of Detention Hearing by Timothy Mann. (Horton, B.) (Entered: 05/22/2023)
  05/22/2023   56 Waiver of Revocation Hearing by defendant Timothy Mann. (Horton, B.) (Entered: 05/22/2023)
  05/22/2023       ORAL ORDER granting Oral Motion for Detention Pending Trial as to Timothy Mann (1).
                   Entered by Magistrate Judge Brian S. Meyers on 5/22/2023. (Horton, B.) (Entered: 05/22/2023)
  05/25/2023   57 ORDER OF REVOCATION OF PRETRIAL RELEASE AND FOR DETENTION PENDING
                  TRIAL as to Timothy Mann (1). Signed by Magistrate Judge Brian S. Meyers on 5/25/2023.
                  (Horton, B.) (Entered: 05/25/2023)
  05/26/2023       Notice of Hearing as to Timothy Mann: Arraignment set for 6/21/2023 at 10:00 AM in Wilmington
                   Courtroom 160 before Chief Judge Richard E. Myers II. Motions to continue and in limine shall be
                   filed five (5) business days before the start of a term of court. Any motion of a non-emergency nature
                   filed after that date must be received in the Clerks Office by 4:00 PM on the date filed and will be
                   heard in open court at the start of the session, at which time all parties and counsel must be present.
                   All requests for changes to the calendar must be made by motion for the courts consideration with a
                   proposed order. Any requests made for changes made via email will not be considered. Click here for
                   court calendar. (McNally, Kimberly) (Entered: 05/26/2023)
  06/09/2023   58 MOTION to Continue Arraignment filed by Timothy Mann. (Attachments: # 1 Text of Proposed
                  Order) (Zeszotarski, Joseph) (Entered: 06/09/2023)
  06/12/2023       TEXT ORDER as to Timothy Mann: For good cause shown, Defendant's FOURTH unopposed
                   motion to continue the arraignment and trial is GRANTED. Defendant's arraignment is
                   continued until the July 25, 2023 term of court. The court has determined that the ends of justice
                   served by granting the motion outweigh the best interests of the public and Defendant in a
                   speedy trial. Any delay occasioned by granting the motion shall therefore be excluded in
                   computing Defendant's speedy-trial time. See 18 U.S.C. § 3161(h)(7). Entered by Chief Judge
                   Richard E. Myers II on 6/12/2023. (Shoe, A) (Entered: 06/12/2023)
  06/12/2023       Reset Hearings as to Timothy Mann: Arraignment reset for 7/25/2023 term in Wilmington Courtroom
                   160 before Chief Judge Richard E. Myers II. (Shoe, A) (Entered: 06/12/2023)
  07/10/2023       Notice of Hearing as to Timothy Mann: Arraignment set for 7/26/2023 at 10:00 AM in Wilmington
                   Courtroom 160 before Chief Judge Richard E. Myers II. Motions to continue and in limine shall be
                   filed five (5) business days before the start of a term of court. Any motion of a non-emergency nature
                   filed after that date must be received in the Clerks Office by 4:00 PM on the date filed and will be
                   heard in open court at the start of the session, at which time all parties and counsel must be present.
                   All requests for changes to the calendar must be made by motion for the courts consideration with a

                                                         JA7
USCA4 Appeal: 23-4760       Doc: 12            Filed: 04/01/2024         Pg: 18 of 237

                  proposed order. Any requests made for changes made via email will not be considered. Click here for
                  court calendar. (McNally, Kimberly) (Entered: 07/10/2023)
 07/14/2023   59 Consent MOTION for Protective Order filed by USA as to Timothy Mann. (Attachments: # 1 Text of
                 Proposed Order) (Pugh, Jake) (Entered: 07/14/2023)
 07/17/2023       Motion Submitted to Chief Judge Richard E. Myers II as to Timothy Mann regarding 59 Consent
                  MOTION for Protective Order . (Shoe, A) (Entered: 07/17/2023)
 07/17/2023   60 MOTION to Continue Arraignment filed by Timothy Mann. (Attachments: # 1 Text of Proposed
                 Order) (Zeszotarski, Joseph) (Entered: 07/17/2023)
 07/18/2023       TEXT ORDER as to Timothy Mann: For good cause shown, Defendant's fifth, unopposed
                  motion to continue the arraignment and trial is GRANTED. Defendant's arraignment is
                  continued until the 8/22/2023 term of court. The court has determined that the ends of justice
                  served by granting the motion outweigh the best interests of the public and Defendant in a
                  speedy trial. Any delay occasioned by granting the motion shall therefore be excluded in
                  computing Defendant's speedy-trial time. See 18 U.S.C. § 3161(h)(7). Entered by Chief Judge
                  Richard E. Myers II on 7/18/2023. (Shoe, A) (Entered: 07/18/2023)
 07/18/2023       Reset Hearings as to Timothy Mann: Arraignment reset for 8/22/2023 term in Wilmington Courtroom
                  160 before Chief Judge Richard E. Myers II. (Shoe, A) (Entered: 07/18/2023)
 07/24/2023   61 ORDER granting 59 Motion for Protective Order as to Timothy Mann. Signed by Chief Judge
                 Richard E. Myers II on 7/24/2023. (Shoe, A) (Entered: 07/24/2023)
 08/01/2023       Notice of Hearing as to Timothy Mann: Arraignment set for 8/23/2023 at 10:00 AM in Wilmington
                  Courtroom 160 before Chief Judge Richard E. Myers II. Motions to continue and in limine shall be
                  filed five (5) business days before the start of a term of court. Any motion of a non-emergency nature
                  filed after that date must be received in the Clerks Office by 4:00 PM on the date filed and will be
                  heard in open court at the start of the session, at which time all parties and counsel must be present.
                  All requests for changes to the calendar must be made by motion for the courts consideration with a
                  proposed order. Any requests made for changes made via email will not be considered. Click here for
                  court calendar. (McNally, Kimberly) (Entered: 08/01/2023)
 08/23/2023   62 Minute Entry for proceedings held before Chief Judge Richard E. Myers II in Wilmington:
                 Arraignment as to Timothy Mann (1) held on 8/23/2023. Defendant present with Counsel and
                 Assistant US Attorney present for the Government. Defendant Sworn - Competent - Rule 11
                 conducted. Plea entered: Guilty as to Counts 1 and 2. Defendant advised of rights, charges and
                 maximum penalties. Sentencing set for the 11/28/2023 term in Wilmington Courtroom 160 before
                 Chief Judge Richard E. Myers II. Defendant remanded to custody. (Court Reporter Risa Kramer)
                 (Shoe, A) (Entered: 08/23/2023)
 10/24/2023   63 DRAFT PRESENTENCE INVESTIGATION REPORT (Sealed) as to Timothy Mann. (Attachments: #
                 1 Supplement Cover Memo Objections Due 11/07/2023) (Assenat, C.) (Entered: 10/24/2023)
 11/01/2023       Notice of Hearing as to Timothy Mann: PLEASE NOTE LOCATION CHANGE TO THE ALTON
                  LENNON FEDERAL BUILDING, 2 PRINCESS STREET, WILMINGTON, NC. Sentencing set
                  for 11/30/2023 at 10:00 AM in Wilmington - Courtroom 1 before Chief Judge Richard E. Myers II.
                  Motions to continue and in limine shall be filed five (5) business days before the start of a term of
                  court. Any motion of a non-emergency nature filed after that date must be received in the Clerks Office
                  by 4:00 PM on the date filed and will be heard in open court at the start of the session, at which time
                  all parties and counsel must be present. All requests for changes to the calendar must be made by
                  motion for the courts consideration with a proposed order. Any requests made for changes made via
                  email will not be considered. Click here for court calendar. (McNally, Kimberly) (Entered:
                  11/01/2023)
 11/07/2023   64 OBJECTIONS TO PRESENTENCE REPORT as to Timothy Mann regarding 63 Presentence
                 Investigation Report -Draft (Pugh, Jake) (Entered: 11/07/2023)
 11/07/2023   65 OBJECTIONS TO PRESENTENCE REPORT as to Timothy Mann regarding 63 Presentence
                 Investigation Report -Draft (Zeszotarski, Joseph) (Entered: 11/07/2023)
                                                        JA8
USCA4 Appeal: 23-4760        Doc: 12            Filed: 04/01/2024         Pg: 19 of 237

  11/20/2023   66 PRESENTENCE INVESTIGATION REPORT (Sealed) as to Timothy Mann. (Assenat, C.) (Entered:
                  11/20/2023)
  11/22/2023   68 SEALED Document by Timothy Mann (Attachments: # 1 Exhibit A -- background documents, # 2
                  Exhibit B -- photo, # 3 Exhibit C -- messages, # 4 Exhibit D -- messages, # 5 Exhibit E -- message)
                  (Zeszotarski, Joseph) Modified on 11/29/2023 to remove "proposed" from docket text pursuant to text
                  order entered on 11/29/2023. (Shoe, A). (Entered: 11/22/2023)
  11/22/2023   69 MOTION to Seal 68 PROPOSED SEALED Document filed by Timothy Mann. (Attachments: # 1
                  Text of Proposed Order) (Zeszotarski, Joseph) (Entered: 11/22/2023)
  11/28/2023   70 SEALED MOTION by USA as to Timothy Mann (Attachments: # 1 Exhibit 1 - Phone Number
                  Change Records, # 2 Exhibit 2 - Hotel Receipts, # 3 Exhibit 3 - Record of Missed Work) (Pugh, Jake)
                  Modified on 11/29/2023 to remove "proposed" from docket text pursuant to text order entered on
                  11/29/2023. (Shoe, A). (Entered: 11/28/2023)
  11/28/2023   71 MOTION to Seal 70 PROPOSED SEALED MOTION by USA as to Timothy Mann filed by USA as
                  to Timothy Mann. (Attachments: # 1 Text of Proposed Order) (Pugh, Jake) (Entered: 11/28/2023)
  11/29/2023       TEXT ORDER as to Timothy Mann (1): This matter comes before the court on the Defendant's
                   Motion to Seal 71 . Pursuant to Local Criminal Rule 55.2 and based on information set forth in
                   the proposed sealed document, the motion is GRANTED. The Clerk of the Court shall maintain
                   under seal the document at DE 70 until further order of the court. Counsel for the parties may
                   have copies of DE 70 at their request. Entered by Chief Judge Richard E. Myers II on
                   11/29/2023. (Shoe, A) (Entered: 11/29/2023)
  11/29/2023       TEXT ORDER as to Timothy Mann (1): This matter comes before the court on the Defendant's
                   Motion to Seal 69 . Pursuant to Local Criminal Rule 55.2 and based on information set forth in
                   the proposed sealed document, the motion is GRANTED. The Clerk of the Court shall maintain
                   under seal the document at DE 68 until further order of the court. Counsel for the parties may
                   have copies of DE 68 at their request. Entered by Chief Judge Richard E. Myers II on
                   11/29/2023. (Shoe, A) (Entered: 11/29/2023)
  11/30/2023   72 Minute Entry for proceedings held before Chief Judge Richard E. Myers II in Wilmington: Sentencing
                  held on 11/30/2023 for Timothy Mann (1). Defendant present with Counsel and Assistant US Attorney
                  present for the Government. Counts 1 and 2: 36 months imprisonment (36 months on each of Counts 1
                  and 2; to run concurrently) - 3 years Supervised Release ( 3 years on each of Counts 1 and 2; to run
                  concurrently) - Special Conditions of Release Imposed - Special Assessment $200 - No Fine -
                  Restitution $2107.13. Defendant advised of appellate rights - Defendant remanded to custody of U.S.
                  Marshal. (Court Reporter Risa Kramer) (Shoe, A) (Entered: 12/01/2023)
  11/30/2023   77 JUDGMENT as to Timothy Mann: Counts 1 and 2: 36 months imprisonment on Counts 1 and 2
                  to run concurrent - 3 years Supervised Release on Counts 1 and 2 to run concurrent - Special
                  Conditions of Release Imposed - Special Assessment $200 - No Fine - Restitution $2107.13.
                  Signed by Chief Judge Richard E. Myers, II on 12/12/2023. (Lee, L.) (Entered: 12/13/2023)
  12/12/2023   74 Pro Se MOTION to Appoint New Counsel to Assist In Appealing Conviction filed by Timothy Mann.
                  (Attachments: # 1 DE 14 with Notations, # 2 Envelope) (Reznick, Debra) (Entered: 12/12/2023)
  12/12/2023   75 MOTION to Withdraw as Attorney and for Appointment of New Counsel on Direct Appeal by Joseph
                  E. Zeszotarski, Jr.. filed by Timothy Mann. (Attachments: # 1 Text of Proposed Order) (Zeszotarski,
                  Joseph) (Entered: 12/12/2023)
  12/12/2023   76 Notice of Appeal filed by Timothy Mann. (Zeszotarski, Joseph) (Entered: 12/12/2023)
  12/12/2023       Motion Submitted to Chief Judge Richard E. Myers II as to Timothy Mann regarding 74 MOTION to
                   Appoint Counsel, 75 MOTION to Withdraw as Attorney and for Appointment of New Counsel on
                   Direct Appeal, 76 Notice of Appeal. (Shoe, A) (Entered: 12/12/2023)
  12/18/2023   79 Transmission of Notice of Appeal and Docket Sheet as to Timothy Mann to US Court of Appeals
                  regarding 76 Notice of Appeal - Final Judgment.NOTE: The Docketing Statement and Transcript
                  Order Form, if you are court appointed counsel, are available on our website at website. (Foell, S.)
                  (Entered: 12/18/2023)
                                                         JA9
USCA4 Appeal: 23-4760        Doc: 12            Filed: 04/01/2024          Pg: 20 of 237

  12/19/2023   81 US Court of Appeals Case Number 23-4760 (Jeffrey Neal, Case Manager) for defendant Timothy
                  Mann as to 76 Notice of Appeal - Final Judgment filed by Timothy Mann. (Foell, S.) (Entered:
                  12/19/2023)
  12/20/2023   82 ORDER as to Timothy Mann (1): The matter comes before the court on Defendant's counsel's
                  motion to withdraw [DE 75]. For good cause shown, the motion is GRANTED. The court
                  terminates the moving attorney's representation of Defendant in this matter. The Federal Public
                  Defender's Office shall appoint substitute counsel to represent Defendant on appeal. Signed by
                  Chief Judge Richard E. Myers II on 12/19/2023. Copy sent to Federal Public Defender's Office.
                  (Shoe, A) (Entered: 12/20/2023)
  12/21/2023   83 ORDER of US Court of Appeals (certified copy) as to Timothy Mann regarding 76 Notice of Appeal -
                  Final Judgment. The court appoints Ryan M. Gaylord to represent Timothy Mann on appeal. (Indig,
                  A.) (Entered: 12/27/2023)
  01/26/2024   84 OFFICIAL TRANSCRIPT as to Timothy Mann for dates of 8/23/2023, Arraignment, before Chief
                  Judge Richard E. Myers II, regarding 76 Notice of Appeal - Final Judgment Court Reporter Risa
                  Kramer. Transcript may be viewed at the court public terminal or purchased through the Court
                  Reporter before the deadline for Release of Transcript Restriction. After that date it may be obtained
                  through PACER. Does this satisfy all appellate orders for this reporter? - No. Please review Attorney
                  obligations regarding the redaction of electronic transcripts of court proceedings available on the
                  court's website. Redaction Request due 2/19/2024. Redacted Transcript Deadline set for 2/29/2024.
                  Release of Transcript Restriction set for 4/28/2024. (Kramer, R.) (Entered: 01/26/2024)
  01/26/2024       Notice of Filing of Official Transcript 84 Transcript - Appeal. The parties have seven calendar days
                   from the filing of the transcript to file a Notice of Intent to Request Redaction. The parties must also
                   serve a copy on the court reporter. After filing the Notice of Intent to Request Redaction, a party must
                   submit to the court reporter, within 21 calendar days of the filing of the transcript, a written statement
                   indicating where the personal data identifiers to be redacted appear in the transcript. (Kramer, R.)
                   (Entered: 01/26/2024)
  01/29/2024   85 SEE REDACTED TRANSCRIPT AT DE 87 - OFFICIAL TRANSCRIPT as to Timothy Mann for
                  dates of 11/30/2023, Sentencing Hearing, before Chief Judge Richard E. Myers II, regarding 76 Notice
                  of Appeal - Final Judgment. Court Reporter Risa Kramer. Transcript may be viewed at the court public
                  terminal or purchased through the Court Reporter before the deadline for Release of Transcript
                  Restriction. After that date it may be obtained through PACER. Does this satisfy all appellate orders
                  for this reporter? - Yes. Please review Attorney obligations regarding the redaction of electronic
                  transcripts of court proceedings available on the court's website. Redaction Request due 2/22/2024.
                  Redacted Transcript Deadline set for 3/3/2024. Release of Transcript Restriction set for 5/1/2024.
                  (Kramer, R.) Modified on 2/2/2024 (Foell, S.). Modified on 2/2/2024 (Foell, S.). (Entered:
                  01/29/2024)
  01/29/2024       Notice of Filing of Official Transcript 85 Transcript - Appeal. The parties have seven calendar days
                   from the filing of the transcript to file a Notice of Intent to Request Redaction. The parties must also
                   serve a copy on the court reporter. After filing the Notice of Intent to Request Redaction, a party must
                   submit to the court reporter, within 21 calendar days of the filing of the transcript, a written statement
                   indicating where the personal data identifiers to be redacted appear in the transcript. (Kramer, R.)
                   (Entered: 01/29/2024)
  01/30/2024   86 Notice of Intent to Request Redaction of 85 Transcript - Appeal,,, filed by Jake D. Pugh in case as to
                  Timothy Mann. (Pugh, Jake) (Entered: 01/30/2024)
  02/02/2024   87 REDACTED OFFICIAL TRANSCRIPT as to Timothy Mann for dates of 11/30/2023, Sentencing
                  Hearing, before Chief Judge Richard E. Myers II, regarding 76 Notice of Appeal - Final Judgment.
                  Court Reporter/ Risa Kramer. Transcript may be viewed at the court public terminal or purchased
                  through the Court Reporter before the deadline for Release of Transcript Restriction. After that date it
                  may be obtained through PACER. Does this satisfy all appellate orders for this reporter? - Yes. Please
                  review Attorney obligations regarding the redaction of electronic transcripts of court proceedings
                  available on the court's website. Release of Transcript Restriction set for 5/1/2024. Redacts 85
                  Transcript in case as to Timothy Mann. (Kramer, R.) Modified on 2/2/2024, to note redacted transcript
                  (Foell, S.). (Entered: 02/02/2024)
                                                         JA10
  USCA4 Appeal: 23-4760      Doc: 12             Filed: 04/01/2024       Pg: 21 of 237




02/05/2024      Notice of Filing of Official Transcript 87 Redacted Transcript. The parties have seven calendar days
                from the filing of the transcript to file a Notice of Intent to Request Redaction. The parties must also
                serve a copy on the court reporter. After filing the Notice of Intent to Request Redaction, a party must
                submit to the court reporter, within 21 calendar days of the filing of the transcript, a written statement
                indicating where the personal data identifiers to be redacted appear in the transcript. (Kramer, R.)
                (Entered: 02/05/2024)



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                          Description:   Docket Report Search Criteria: 5:23-cr-00014-M-KS
                          Billable Pages: 12             Cost:           1.20
                          Exempt flag:   Exempt          Exempt reason: Exempt CJA




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USCA4 Appeal: 23-4760            Doc: 12                    Filed: 04/01/2024                   Pg: 22 of 237



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                                                UNITED STATES D ISTRICT C OURT
                                                                          for the
                                                           Eastern District of North Carolina

                            United States of America                        )
                                          V.                                )
                                 Timothy Mann                               )
                                                                            )
                                                                            )
                                                                             )
                                                                            )
                                   Defendant(s)


                                                           CRIMINAL COMPLAINT
                     I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
             On or about the date(s) of        January, 2022 to November, 2022      in the county of                 Wake                in the
                 ~              District of            North Carolina     the defendant(s) violated:

                       Code Section                                                    Offense Description
             Title 18 U.S .C. 2261A(2)                   Cyberstalking




                     This criminal complaint is based on these facts :
             See attached




                     '1 Continued on the attached sheet.


                                                                                                       Complainant 's sig,rature

                                                                                              ~ ichael Neylon, FBI Special Agent
                                                                                                        Printed name and ritle



             Attested to by the applicant in accordance with the requirements of Fed. R . Crim . P. 4.1 over the telephone.



             Date:    December 13, 2022

             City and state: - -~R=a=le=iG'h
                                           '-=-'N
                                                ~C~ - - - - -                       Robert I. Numbers II, United States Magistrate Judge_
                                                                                                         Printed name and title




                     Case 5:23-cr-00014-M-KS Document 1 Filed 12/13/22 Page 1 of 11


                                                                         JA12
USCA4 Appeal: 23-4760        Doc: 12           Filed: 04/01/2024          Pg: 23 of 237




                             IN THE UNITED STATES DISTRICT COURT FOR THE
                                 EASTERN DISTRI CT OF NORTH CAROLINA


                                      AFFIDAVIT IN SUPPORT OF A
                               CRIMINAL COMPLAINT AND ARREST WARRANT

                        I, Special Agent Michael Neylon, being duly sworn, depose and state that:

                                 INTRODUCTION AND AGE T BACKGROUND

                        l.    I am a Special Agent with the Federal Bureau oflnvestigation (FBI) and

                have been since February 2020.         Prior to that, your affiant's assignments and

                experience inclu de approximately foUl' years of liaison work assigned to the FBI's

                Criminal Justice Information Services Division (CJIS). This affiant has attended and

                completed five months of training at the FBl's Training Academy located in Quantico,

                Virginia. While employed with the FBI, I have investigated and participated in

                investigations involving federal criminal violations related to drug trafficking and

                violent crime. I have also received specialized training regarding, and personally

                participated in, various types of investigative activities related to violent crimes,

                including, but not limited to, the following: (a) physical surveillance; (b) the debriei ng

                of defendants, witnesses, informants, and other individuals who have knowledge

                concerning violations of federal laws; (c) the execution of search warrants; and (d) the

                handling and maintenance of evidence

                        2.    I have consulted extensively with other experienced agents regarding

                drug trafficking and violent criminal cases. As a result, the knowledge that I have

                obtained during my law enforcement career has been further informed by other law

                enforcement agents with experience conducting such investigations. I have also




                  Case 5:23-cr-00014-M-KS Document 1 Filed 12/13/22 Page 2 of 11                              9(

                                                        JA13
USCA4 Appeal: 23-4760        Doc: 12          Filed: 04/01/2024        Pg: 24 of 237




                obtained both my Bachelor of Science degree in Forensic Science, and my Master of

                Science degree in Criminal Justice from Mercyhurst College, located in Erie,

                Pennsylvania.

                        3.    As a Special Agent with the FBI, I am a law enforcement officer of the

                United States as defined by Title 18, United States Code, Section 2510(7), meaning

                that I am empowered by law to investigate violations of the laws of the United States,

                execute warrants issued under the authority of the United States, and make arrests

                for violations of Federal laws.

                        4.    The facts and information contained in this affidavit are based upon my

                training and experience, personal knowledge, and observations during this

                investigation, as well as the observations of other agents involved in this

                investigation. This affidavit contains only the information necessary to support

                probable cause, and it is not intended to include each and every fact and matter

                observed by me or known to the government.

                        5.    I make this affidavit in support of a criminal complaint and arrest

                warrant for TIMOTHY MANN (MANN). Based on the informatjon detailed below,

                I submit that there is probable cause to believe that, beginning in or around January

                2022 and continuing through at least November 2022, MANN violated 18 U.S.C.

                § 2261A(2) (cyberstalking).




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                  Case 5:23-cr-00014-M-KS Document 1 Filed 12/13/22 Page 3 of 11


                                                     JA14
USCA4 Appeal: 23-4760         Doc: 12         Filed: 04/01/2024         Pg: 25 of 237




                                                 PROBABLE CAUSE

                        6.     As will be shown below, there is probable cause to believe that MANN

                committed the crime of cyberstalking, in violation of Title 18, United States Code,

                Section 2261A(2), which occurred within the Eastern District of North Carolina.

                        7.      Based on my review of law enforcement reports, conversations with

                other law enforcement officers or agents, witness/victim interviews and my own

                knowledge of the investigation, I am aware of the following:

                        8.     Victim 1 is a resident of North Carolina. Victims 2 is Victim l's mother.

                Victim 3 is Victim l's romantic partner. Victim 4 is Victim l 's aunt.

                        9.     MANN and Victim 1 met each other through Instagram, around

                November of 2021. MANN presented himself as someone from New York with no

                friends or family. Victim 1 thought to befriend MANN. But when MANN's behavior

                started to become erratic, Victim 1 began to distance themself from MANN.

                        10.    In response, in January 2022, MANN began sending Victim 1

                threatening and harassing messages. Around January 30, 2022, MANN approached

                Victim 1 in person in a Food Lion parking lot demanding to fight. After Victim 1

                refused to fight, MANN fled the area in his vehicle and side swiped Victim l's car

                causing damage to it. Victim 2 then became a target of MANN's messages after

                reaching out to MAN      in an attempt to collect money for damages to the car. MANN

                later expanded the threatening and harassing messages to also include Victim 3 and

                Victim 4.




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                  Case 5:23-cr-00014-M-KS Document 1 Filed 12/13/22 Page 4 of 11


                                                       JA15
USCA4 Appeal: 23-4760         Doc: 12         Filed: 04/01/2024       Pg: 26 of 237




                        11.    From January through November 2022, MANN made numerous phone

                calls, social media posts, and text messages to the Victims that were threatening,

                harassing, and unwanted. MANN's communications have included: (a) threats to

                physically harm Victim 1, Victim 2, Victim 3, Victim 4, and or others; (b) messages

                intended to harass and annoy Victim 1, Victim 2, Victim 4, and or others; and (c)

                attempts to obtain information on and locate Victim 1 and Victim 2.

                        12.    A review of Victim 1 and Victim 2's phone showed that they have

                received threatening and or harassing messages from numerous Instagram social

                media accounts, telephone numbers, and email addresses. Victim 1 and Victim 2

                were able to attribute these messages to MANN based on content specific to MANN

                and his know ledge of Victim 1. These messages have persisted despite Victim 1 and

                Victim 2 relaying to MANN to stop contacting them.

                        13.    In February 2022, the Raleigh Police Department issued a State Arrest

                Warrant for MANN for Stalking, and Communicating Threats related to the Victims

                in this complaint.

                        14.    In March 2022, the Wake County Sheriffs Office also issued a State

                Arrest Warrant for MANN for Communicating Threats and Misdemeanor Stalking

                related to the Victims in this complaint.

                        15.    Many of the communications to Victim 1 included threatening language

                utilized by MANN. Here is a small sample of these messages:

                               a.    Around the February-March 2022 timeframe, Victim 1 received

                an Instagram message from drewjackson781 that stated, "[Victim 1] im over her by



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                  Case 5:23-cr-00014-M-KS Document 1 Filed 12/13/22 Page 5 of 11
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                                                      JA16
USCA4 Appeal: 23-4760         Doc: 12         Filed: 04/01/2024        Pg: 27 of 237




                your way right now i know u think im trolling and playing with u im dead serious u

                will see".

                                b.    Around the February-Mai-ch 2022 timeframe, Victim 1 received

                an Instagram message from drewjackson781 that stated, "[Victim l], i hope ya white

                daughter is with u when i take u out so her last memory is her [Victim l] getting his

                brains out''.

                                c.    Around the February-March 2022 timeframe, Victim 1 received

                an Instagram message from drewjackson781 that stated, "[Victim 1] im with all the

                smoke just now that u think this is a game i know ya peeping that's the point im

                going strike when u least now it u aint gone be up on all night".

                                d.    Ai·ound the February-Mai-ch 2022 timeframe, Victim 1 received

                an Instagram message from drewjackson781 that stated, "i hope ya daughtee will be

                with you when i kill u [Victim 1] spladdee ya brains right infront of her white ass".

                        16.     Victim 2 also received many communications from MANN that included

                threatening and harassing language. In some, MANN included attachments to show

                he was or had been at Victim 2's home. Here is a small sample of these messages:

                                a.    On approximately March 10, 2022, Victim 2 received a social

                media message sent from Instagram account betty4233davis that st ated, "titty

                [Victim 2] bullets go threw windows houses and cars im just getting started". This

                post accompanied a video showing that beety4233davis was out front of Victim 1 and

                Victim 2's residence at the time.




                                                          5



                  Case 5:23-cr-00014-M-KS Document 1 Filed 12/13/22 Page 6 of 11


                                                      JA17
USCA4 Appeal: 23-4760      Doc: 12            Filed: 04/01/2024           Pg: 28 of 237




                             b.     Approximately on March 10, 2022, Victim 2 received a social

                media message sent from Instagram account betty4233davis that stated, "i promise

                u i will get even I could spray ya shit up right now idiot but watch when u least expect

                it 311 gillmane lane 101 u change ya number i know ya name bitch i will get the new

                one." Again, this post accompanied a video showing that beety4233davis was out

                front of Victim 1 and Victim 2's residence at the time.

                             c.     Approximately on October 24, 2022, Victim 2 received a social

                media message sent from Instagram account twosharptim that stated, "tag the police

                & who ever u want to tag like that's gone change anything IDGAF u think im playing

                with u [Victim 2]". The post later continues with "i promise you be dealt with im

                gonna end u [Victim 2] u gotta come out the house like I said u gotta a bullseye on ya

                back and u don't even know when I'm gonna strike just be patient u will see I don't

                like u I hate u u nd [Victim 1] is a coward and lairs just be patient u will see when u

                least expect it [Victim 2] im not gone be satisfied to u have holes threw u I'm done

                discussing it u will see doe stop tagging the police like that's gone save u."

                             d.     Approximately on October 24, 2022, Victim 2 received a social

                media message sent from Instagram account twoshru:ptim that within the comments

                stated, "dont worry I got something for [Victim 1) a** for all of ya im going crash out

                on ya cause u fucking with my livelihood I should been dealt with dude before I left

                nc I'm going crash out on ya u don't want those problems none of you nobody is off

                limits nd im going violate everything of yours don't be surprise or shock cause it's not

                like i ain't tell u wassup i don't like u I don't like [Victim 1] i really really regret



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                  Case 5:23-cr-00014-M-KS Document 1 Filed 12/13/22 Page 7 of 11


                                                      JA18
USCA4 Appeal: 23-4760         Doc: 12         Filed: 04/01/2024         Pg: 29 of 237




                getting indebted with this clown I can't move forward cuz of ya nd i was done wrong

                but u will see watch nd see I hope you have insurance cuz u will need it

                [Vitiml][Victim 2] not playing with u i bet u I will have the last laugh!"

                               e.    Approximately on October 24, 2022, Victim 2 received a social

                media message sent from Instagram account twosharptim that within the comments

                included the following statement, "I don't like u [Victim 2] u are a lair the only

                satisfaction feeling I'm gone get is when u have bullets holes all threw ya body that's

                will be my get back nd at u nd your [Victim!] like I said when u least expect show

                whatever u want to the police but i promise on my soul im going shoot u watch nd see

                [Victim 2] that's how im going get back at [Victim!] I have no remorse with what im

                going do im going crash out on u u gotta go to your car u gotta leave the house u not

                up 24hrs out the day i can't wait but u will be dealt with somebody will but my target

                is u since u wanna end me im gone end u mark my words I don't like u [Victim 2] u

                are a lair nd u are messed up !"

                        17.    On February 11, 2022, Victim 3, received an Instagram message from

                drewjackson781 that stated, "[Victim 3] go to the kitchen and get a knife and slice

                your throat before i do it its better to get it done now befoi-e i do it." The same day,

                Victim 3 received an Instagram message from berrywashington86 that said, "[Victim

                3] and i know where u live im gonna handle u to im gonna shoot u believe that white

                spic and in the meantime i hope your baby dies and u bleed out and yes i will piss on

                your child whore."




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                  Case 5:23-cr-00014-M-KS Document 1 Filed 12/13/22 Page 8 of 11


                                                      JA19
USCA4 Appeal: 23-4760         Doc: 12          Filed: 04/01/2024      Pg: 30 of 237




                        18.    In November 2022, Victim 4, received the most recent threatening

                messages from MANN. These messages have included plans to harming Victim 1 and

                Victim 2 on Christmas day 2022, where MANN talked about a plan that he has been

                working on for the past year. MANN pr ovided in these messages that he plans on

                using bear spray and brass knuckles t o harm Victim 1 and or Victim 2. Here is a

                sample of these messages:

                               a.   During the mont h of November 2022, Victim 4 received a text

                message that was sent from an Unknown Number that stated, "Wassup [Victim 4] ,

                This Tim".

                               b.   In November 2022, Victim 4 received multiple text message that

                were sent from an Unknown Number that stated, "since you all don't want to do the

                right thing and just drop the charges you jamming me with my job I cant get this

                promotion you messing with my bread" and continues wit h "im done tryna be nice or

                to get you or anybody to understand where im coming from why i did what i did im

                done with all that", then continues with "im going back to the olde me im on my bull

                shit". "Everybody will be dealt with trust me on my soul including you 100 and im

                ready to die if need t o be 100 100 100 100 !"

                               c.   In November 2022, Victim 4 received multiple text message that

                were sent from an Unknown Number that stated, "im not going to hit your phone no

                more you will see when it happens ima let my actions just speak for themselves" and

                t hen continues with "[Victim 2] and [Victim!] will be dealt with on the christmas"

                and then stated, "ima Charleston white [Victim 2] & i got some special bear mace for




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                  Case 5:23-cr-00014-M-KS Document 1 Filed 12/13/22 Page 9 of 11


                                                       JA20
USCA4 Appeal: 23-4760      Doc: 12            Filed: 04/01/2024        Pg: 31 of 237




                [Victim 2]" the messaging continues on with "ima catch coming out the car" "than i

                got some special brass knuckles for [Victim 1]" "watch how i turn up on y'all on

                christmas since yall think im pussy playing watch what i do" and then says, "and if

                my plan a don't work im going to my plan band setting that bitch on fire" "than im

                going to personally turn myself in for it".

                             d.     Additionally in November 2022, Victim 4 received text messages

                that were sent from an Unknown Number that included the following statement," i

                been planning this for a whole year on [Victim 1] bitch ass got a whole mastermind

                plan on for [Victim 1] bitch ass and [Victim 1] not even gonna be able to fathom the

                shit that's gone happen [Victim 1] and [Victim 2]".



                                     [Remainder of page intentionally left blank]




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                 Case 5:23-cr-00014-M-KS Document 1 Filed 12/13/22 Page 10 of 11


                                                       JA21
USCA4 Appeal: 23-4760         Doc: 12             Filed: 04/01/2024              Pg: 32 of 237




                                                         CONCLUSION

                        19.    Based on t he facts set forth in this affidavit, I submit that there is

                probable cause to believe that TIMOTHY MANN violated 18                           .S.C. § 2261 (2)

                (cyberstalking).


                                                               Respectfully Submitted,



                                                              MI RAEL NEYLON
                                                              Special Agent
                                                              Federal Bureau of Inve tigation



                Pursuant to Rule 4. 1 of the Federal Rules of Cri minal Procedure, the affiant appeared before me via
                reliable electronic means, was placed under oath, and attested to the contents of this written affidavit.
                Dated: December 13, 2022



                Robert T. Numbers, II
                United States Magistrate Judge




                 Case 5:23-cr-00014-M-KS Document 1 Filed 12/13/22 Page 11 of 11


                                                            JA22
USCA4 Appeal: 23-4760        Doc: 12               Filed: 04/01/2024         Pg: 33 of 237




             ABiAMR


            UNITED STATES DISTRICT COURT
            EASTERN DISTRICT OF NEW YORK
                                                      X


             UNITED STATES OF AMERICA                                 REMOVAL TO THE
                                                                      EASTERN DISTRICT OF
                        - against -                                   NORTH CAROLINA


            TIMOTHY MANN,                                             (Fed. R. Crim. P. 5)

                                      Defendant.                      Case N0.22-MJ-I355


                                                      X


            EASTERN DISTRICT OF NEW YORK,SS:

                           David Sfci'iaza, being duly sworn, deposes and states that he is a Special Agent

             with the Federal Bureau of Investigation, duly appointed according to law and acting as such.

                           On or about December 13,2022,the United States District Court for the Eastern

            District of North Carolina issued a warrant for the arrest of the defendant TIMOTHY MANN for


            a violation of Title 18, United States Code, Section 226IA(2)(cyberstalking).

                           The source of your deponent's information and the grounds for his belief are as

            follows:'

                           1.         On or about December 13, 2022,the United States District Court for the

            Eastern District of North Carolina issued a warrant for the arrest ofthe defendant TIMOTHY


            MANN for a violation of Title 18, United States Code, Section 2261 A(2)(cyberstalking). A

            true and correct copy ofthat warrant(the "Arrest Warrant") is attached hereto as Exhibit A,and




                   '       Because the purpose ofthis Complaint is to set forth only those facts necessary to
            establish probable cause to arrest, I have not described all the relevant facts and circumstances of
            which I am aware.




                    Case 5:23-cr-00014-M-KS Document 3 Filed 01/05/23 Page 1 of 13


                                                           JA23
USCA4 Appeal: 23-4760   Doc: 12       Filed: 04/01/2024    Pg: 34 of 237




                 Case 5:23-cr-00014-M-KS Document 3 Filed 01/05/23 Page 2 of 13


                                            JA24
USCA4 Appeal: 23-4760            Doc: 12                    Filed: 04/01/2024                   Pg: 35 of 237



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                                                UNITED STATES D ISTRICT C OURT
                                                                          for the
                                                           Eastern District of North Carolina

                            United States of America                        )
                                          V.                                )
                                 Timothy Mann                               )
                                                                            )
                                                                            )
                                                                             )
                                                                            )
                                   Defendant(s)


                                                           CRIMINAL COMPLAINT
                     I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
             On or about the date(s) of        January, 2022 to November, 2022      in the county of                 Wake                in the
                 ~              District of            North Carolina     the defendant(s) violated:

                       Code Section                                                    Offense Description
             Title 18 U.S .C. 2261A(2)                   Cyberstalking




                     This criminal complaint is based on these facts :
             See attached




                     '1 Continued on the attached sheet.


                                                                                                       Complainant 's sig,rature

                                                                                              ~ ichael Neylon, FBI Special Agent
                                                                                                        Printed name and ritle



             Attested to by the applicant in accordance with the requirements of Fed. R . Crim . P. 4.1 over the telephone.



             Date:    December 13, 2022

             City and state: - -~R=a=le=iG'h
                                           '-=-'N
                                                ~C~ - - - - -                       Robert I. Numbers II, United States Magistrate Judge_
                                                                                                         Printed name and title




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                      Case5:23-cr-00014-M-KS
                           5:22-mj-02161-RN Document
                                             Document13 Filed
                                                         Filed12/13/22
                                                               01/05/23 Page
                                                                         Page13ofof11
                                                                                    13


                                                                         JA25
USCA4 Appeal: 23-4760        Doc: 12           Filed: 04/01/2024          Pg: 36 of 237




                             IN THE UNITED STATES DISTRICT COURT FOR THE
                                 EASTERN DISTRI CT OF NORTH CAROLINA


                                      AFFIDAVIT IN SUPPORT OF A
                               CRIMINAL COMPLAINT AND ARREST WARRANT

                        I, Special Agent Michael Neylon, being duly sworn, depose and state that:

                                 INTRODUCTION AND AGE T BACKGROUND

                        l.    I am a Special Agent with the Federal Bureau oflnvestigation (FBI) and

                have been since February 2020.         Prior to that, your affiant's assignments and

                experience inclu de approximately foUl' years of liaison work assigned to the FBI's

                Criminal Justice Information Services Division (CJIS). This affiant has attended and

                completed five months of training at the FBl's Training Academy located in Quantico,

                Virginia. While employed with the FBI, I have investigated and participated in

                investigations involving federal criminal violations related to drug trafficking and

                violent crime. I have also received specialized training regarding, and personally

                participated in, various types of investigative activities related to violent crimes,

                including, but not limited to, the following: (a) physical surveillance; (b) the debriei ng

                of defendants, witnesses, informants, and other individuals who have knowledge

                concerning violations of federal laws; (c) the execution of search warrants; and (d) the

                handling and maintenance of evidence

                        2.    I have consulted extensively with other experienced agents regarding

                drug trafficking and violent criminal cases. As a result, the knowledge that I have

                obtained during my law enforcement career has been further informed by other law

                enforcement agents with experience conducting such investigations. I have also




                  Case
                   Case5:23-cr-00014-M-KS
                        5:22-mj-02161-RN Document
                                          Document13 Filed
                                                      Filed12/13/22
                                                            01/05/23 Page
                                                                      Page24ofof11
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                                                        JA26
USCA4 Appeal: 23-4760        Doc: 12          Filed: 04/01/2024        Pg: 37 of 237




                obtained both my Bachelor of Science degree in Forensic Science, and my Master of

                Science degree in Criminal Justice from Mercyhurst College, located in Erie,

                Pennsylvania.

                        3.    As a Special Agent with the FBI, I am a law enforcement officer of the

                United States as defined by Title 18, United States Code, Section 2510(7), meaning

                that I am empowered by law to investigate violations of the laws of the United States,

                execute warrants issued under the authority of the United States, and make arrests

                for violations of Federal laws.

                        4.    The facts and information contained in this affidavit are based upon my

                training and experience, personal knowledge, and observations during this

                investigation, as well as the observations of other agents involved in this

                investigation. This affidavit contains only the information necessary to support

                probable cause, and it is not intended to include each and every fact and matter

                observed by me or known to the government.

                        5.    I make this affidavit in support of a criminal complaint and arrest

                warrant for TIMOTHY MANN (MANN). Based on the informatjon detailed below,

                I submit that there is probable cause to believe that, beginning in or around January

                2022 and continuing through at least November 2022, MANN violated 18 U.S.C.

                § 2261A(2) (cyberstalking).




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                  Case
                   Case5:23-cr-00014-M-KS
                        5:22-mj-02161-RN Document
                                          Document13 Filed
                                                      Filed12/13/22
                                                            01/05/23 Page
                                                                      Page35ofof11
                                                                                 13


                                                     JA27
USCA4 Appeal: 23-4760         Doc: 12         Filed: 04/01/2024         Pg: 38 of 237




                                                 PROBABLE CAUSE

                        6.     As will be shown below, there is probable cause to believe that MANN

                committed the crime of cyberstalking, in violation of Title 18, United States Code,

                Section 2261A(2), which occurred within the Eastern District of North Carolina.

                        7.      Based on my review of law enforcement reports, conversations with

                other law enforcement officers or agents, witness/victim interviews and my own

                knowledge of the investigation, I am aware of the following:

                        8.     Victim 1 is a resident of North Carolina. Victims 2 is Victim l's mother.

                Victim 3 is Victim l's romantic partner. Victim 4 is Victim l 's aunt.

                        9.     MANN and Victim 1 met each other through Instagram, around

                November of 2021. MANN presented himself as someone from New York with no

                friends or family. Victim 1 thought to befriend MANN. But when MANN's behavior

                started to become erratic, Victim 1 began to distance themself from MANN.

                        10.    In response, in January 2022, MANN began sending Victim 1

                threatening and harassing messages. Around January 30, 2022, MANN approached

                Victim 1 in person in a Food Lion parking lot demanding to fight. After Victim 1

                refused to fight, MANN fled the area in his vehicle and side swiped Victim l's car

                causing damage to it. Victim 2 then became a target of MANN's messages after

                reaching out to MAN      in an attempt to collect money for damages to the car. MANN

                later expanded the threatening and harassing messages to also include Victim 3 and

                Victim 4.




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                  Case
                   Case5:23-cr-00014-M-KS
                        5:22-mj-02161-RN Document
                                          Document13 Filed
                                                      Filed12/13/22
                                                            01/05/23 Page
                                                                      Page46ofof11
                                                                                 13


                                                       JA28
USCA4 Appeal: 23-4760         Doc: 12         Filed: 04/01/2024       Pg: 39 of 237




                        11.    From January through November 2022, MANN made numerous phone

                calls, social media posts, and text messages to the Victims that were threatening,

                harassing, and unwanted. MANN's communications have included: (a) threats to

                physically harm Victim 1, Victim 2, Victim 3, Victim 4, and or others; (b) messages

                intended to harass and annoy Victim 1, Victim 2, Victim 4, and or others; and (c)

                attempts to obtain information on and locate Victim 1 and Victim 2.

                        12.    A review of Victim 1 and Victim 2's phone showed that they have

                received threatening and or harassing messages from numerous Instagram social

                media accounts, telephone numbers, and email addresses. Victim 1 and Victim 2

                were able to attribute these messages to MANN based on content specific to MANN

                and his know ledge of Victim 1. These messages have persisted despite Victim 1 and

                Victim 2 relaying to MANN to stop contacting them.

                        13.    In February 2022, the Raleigh Police Department issued a State Arrest

                Warrant for MANN for Stalking, and Communicating Threats related to the Victims

                in this complaint.

                        14.    In March 2022, the Wake County Sheriffs Office also issued a State

                Arrest Warrant for MANN for Communicating Threats and Misdemeanor Stalking

                related to the Victims in this complaint.

                        15.    Many of the communications to Victim 1 included threatening language

                utilized by MANN. Here is a small sample of these messages:

                               a.    Around the February-March 2022 timeframe, Victim 1 received

                an Instagram message from drewjackson781 that stated, "[Victim 1] im over her by



                                                            4




                  Case
                   Case5:23-cr-00014-M-KS
                        5:22-mj-02161-RN Document
                                          Document13 Filed
                                                      Filed12/13/22
                                                            01/05/23 Page
                                                                      Page57ofof11
                                                                                 13
                                                                                                       9f
                                                      JA29
USCA4 Appeal: 23-4760         Doc: 12         Filed: 04/01/2024        Pg: 40 of 237




                your way right now i know u think im trolling and playing with u im dead serious u

                will see".

                                b.    Around the February-Mai-ch 2022 timeframe, Victim 1 received

                an Instagram message from drewjackson781 that stated, "[Victim l], i hope ya white

                daughter is with u when i take u out so her last memory is her [Victim l] getting his

                brains out''.

                                c.    Around the February-March 2022 timeframe, Victim 1 received

                an Instagram message from drewjackson781 that stated, "[Victim 1] im with all the

                smoke just now that u think this is a game i know ya peeping that's the point im

                going strike when u least now it u aint gone be up on all night".

                                d.    Ai·ound the February-Mai-ch 2022 timeframe, Victim 1 received

                an Instagram message from drewjackson781 that stated, "i hope ya daughtee will be

                with you when i kill u [Victim 1] spladdee ya brains right infront of her white ass".

                        16.     Victim 2 also received many communications from MANN that included

                threatening and harassing language. In some, MANN included attachments to show

                he was or had been at Victim 2's home. Here is a small sample of these messages:

                                a.    On approximately March 10, 2022, Victim 2 received a social

                media message sent from Instagram account betty4233davis that st ated, "titty

                [Victim 2] bullets go threw windows houses and cars im just getting started". This

                post accompanied a video showing that beety4233davis was out front of Victim 1 and

                Victim 2's residence at the time.




                                                          5



                  Case
                   Case5:23-cr-00014-M-KS
                        5:22-mj-02161-RN Document
                                          Document13 Filed
                                                      Filed12/13/22
                                                            01/05/23 Page
                                                                      Page68ofof11
                                                                                 13


                                                      JA30
USCA4 Appeal: 23-4760      Doc: 12            Filed: 04/01/2024           Pg: 41 of 237




                             b.     Approximately on March 10, 2022, Victim 2 received a social

                media message sent from Instagram account betty4233davis that stated, "i promise

                u i will get even I could spray ya shit up right now idiot but watch when u least expect

                it 311 gillmane lane 101 u change ya number i know ya name bitch i will get the new

                one." Again, this post accompanied a video showing that beety4233davis was out

                front of Victim 1 and Victim 2's residence at the time.

                             c.     Approximately on October 24, 2022, Victim 2 received a social

                media message sent from Instagram account twosharptim that stated, "tag the police

                & who ever u want to tag like that's gone change anything IDGAF u think im playing

                with u [Victim 2]". The post later continues with "i promise you be dealt with im

                gonna end u [Victim 2] u gotta come out the house like I said u gotta a bullseye on ya

                back and u don't even know when I'm gonna strike just be patient u will see I don't

                like u I hate u u nd [Victim 1] is a coward and lairs just be patient u will see when u

                least expect it [Victim 2] im not gone be satisfied to u have holes threw u I'm done

                discussing it u will see doe stop tagging the police like that's gone save u."

                             d.     Approximately on October 24, 2022, Victim 2 received a social

                media message sent from Instagram account twoshru:ptim that within the comments

                stated, "dont worry I got something for [Victim 1) a** for all of ya im going crash out

                on ya cause u fucking with my livelihood I should been dealt with dude before I left

                nc I'm going crash out on ya u don't want those problems none of you nobody is off

                limits nd im going violate everything of yours don't be surprise or shock cause it's not

                like i ain't tell u wassup i don't like u I don't like [Victim 1] i really really regret



                                                           6




                  Case
                   Case5:23-cr-00014-M-KS
                        5:22-mj-02161-RN Document
                                          Document13 Filed
                                                      Filed12/13/22
                                                            01/05/23 Page
                                                                      Page79ofof11
                                                                                 13


                                                      JA31
USCA4 Appeal: 23-4760         Doc: 12         Filed: 04/01/2024         Pg: 42 of 237




                getting indebted with this clown I can't move forward cuz of ya nd i was done wrong

                but u will see watch nd see I hope you have insurance cuz u will need it

                [Vitiml][Victim 2] not playing with u i bet u I will have the last laugh!"

                               e.    Approximately on October 24, 2022, Victim 2 received a social

                media message sent from Instagram account twosharptim that within the comments

                included the following statement, "I don't like u [Victim 2] u are a lair the only

                satisfaction feeling I'm gone get is when u have bullets holes all threw ya body that's

                will be my get back nd at u nd your [Victim!] like I said when u least expect show

                whatever u want to the police but i promise on my soul im going shoot u watch nd see

                [Victim 2] that's how im going get back at [Victim!] I have no remorse with what im

                going do im going crash out on u u gotta go to your car u gotta leave the house u not

                up 24hrs out the day i can't wait but u will be dealt with somebody will but my target

                is u since u wanna end me im gone end u mark my words I don't like u [Victim 2] u

                are a lair nd u are messed up !"

                        17.    On February 11, 2022, Victim 3, received an Instagram message from

                drewjackson781 that stated, "[Victim 3] go to the kitchen and get a knife and slice

                your throat before i do it its better to get it done now befoi-e i do it." The same day,

                Victim 3 received an Instagram message from berrywashington86 that said, "[Victim

                3] and i know where u live im gonna handle u to im gonna shoot u believe that white

                spic and in the meantime i hope your baby dies and u bleed out and yes i will piss on

                your child whore."




                                                           7




                 Case
                  Case5:23-cr-00014-M-KS
                       5:22-mj-02161-RN Document
                                         Document 13 Filed
                                                     Filed 12/13/22
                                                           01/05/23 Page
                                                                    Page 810ofof1113


                                                      JA32
USCA4 Appeal: 23-4760         Doc: 12          Filed: 04/01/2024      Pg: 43 of 237




                        18.    In November 2022, Victim 4, received the most recent threatening

                messages from MANN. These messages have included plans to harming Victim 1 and

                Victim 2 on Christmas day 2022, where MANN talked about a plan that he has been

                working on for the past year. MANN pr ovided in these messages that he plans on

                using bear spray and brass knuckles t o harm Victim 1 and or Victim 2. Here is a

                sample of these messages:

                               a.   During the mont h of November 2022, Victim 4 received a text

                message that was sent from an Unknown Number that stated, "Wassup [Victim 4] ,

                This Tim".

                               b.   In November 2022, Victim 4 received multiple text message that

                were sent from an Unknown Number that stated, "since you all don't want to do the

                right thing and just drop the charges you jamming me with my job I cant get this

                promotion you messing with my bread" and continues wit h "im done tryna be nice or

                to get you or anybody to understand where im coming from why i did what i did im

                done with all that", then continues with "im going back to the olde me im on my bull

                shit". "Everybody will be dealt with trust me on my soul including you 100 and im

                ready to die if need t o be 100 100 100 100 !"

                               c.   In November 2022, Victim 4 received multiple text message that

                were sent from an Unknown Number that stated, "im not going to hit your phone no

                more you will see when it happens ima let my actions just speak for themselves" and

                t hen continues with "[Victim 2] and [Victim!] will be dealt with on the christmas"

                and then stated, "ima Charleston white [Victim 2] & i got some special bear mace for




                                                           8




                  Case
                   Case5:23-cr-00014-M-KS
                        5:22-mj-02161-RN Document
                                          Document 13 Filed
                                                      Filed 12/13/22
                                                            01/05/23 Page
                                                                     Page 911ofof1113


                                                       JA33
USCA4 Appeal: 23-4760      Doc: 12            Filed: 04/01/2024        Pg: 44 of 237




                [Victim 2]" the messaging continues on with "ima catch coming out the car" "than i

                got some special brass knuckles for [Victim 1]" "watch how i turn up on y'all on

                christmas since yall think im pussy playing watch what i do" and then says, "and if

                my plan a don't work im going to my plan band setting that bitch on fire" "than im

                going to personally turn myself in for it".

                             d.     Additionally in November 2022, Victim 4 received text messages

                that were sent from an Unknown Number that included the following statement," i

                been planning this for a whole year on [Victim 1] bitch ass got a whole mastermind

                plan on for [Victim 1] bitch ass and [Victim 1] not even gonna be able to fathom the

                shit that's gone happen [Victim 1] and [Victim 2]".



                                     [Remainder of page intentionally left blank]




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                 Case
                  Case5:23-cr-00014-M-KS
                       5:22-mj-02161-RN Document
                                         Document13 Filed
                                                     Filed12/13/22
                                                           01/05/23 Page
                                                                     Page10
                                                                          12ofof11
                                                                                 13


                                                       JA34
USCA4 Appeal: 23-4760         Doc: 12             Filed: 04/01/2024              Pg: 45 of 237




                                                         CONCLUSION

                        19.    Based on t he facts set forth in this affidavit, I submit that there is

                probable cause to believe that TIMOTHY MANN violated 18                           .S.C. § 2261 (2)

                (cyberstalking).


                                                               Respectfully Submitted,



                                                              MI RAEL NEYLON
                                                              Special Agent
                                                              Federal Bureau of Inve tigation



                Pursuant to Rule 4. 1 of the Federal Rules of Cri minal Procedure, the affiant appeared before me via
                reliable electronic means, was placed under oath, and attested to the contents of this written affidavit.
                Dated: December 13, 2022



                Robert T. Numbers, II
                United States Magistrate Judge




                 Case
                  Case5:23-cr-00014-M-KS
                       5:22-mj-02161-RN Document
                                         Document13 Filed
                                                     Filed12/13/22
                                                           01/05/23 Page
                                                                     Page11
                                                                          13ofof11
                                                                                 13


                                                            JA35
USCA4 Appeal: 23-4760                   Doc: 12                    Filed: 04/01/2024                     Pg: 46 of 237




         A0 466A(Rev, 12/17) Waiverof Rule 5 &.5.I Heanogs CCompiaint or lnd:cinwnl)

                                              United States district Court
                                                                               for the




                          United States of America                               )                          '                   inK'K'


                                                                  ■■■_            ]       Charging Di^riofs Case No.
                                  I Defendant                                     )
                                                        WAIVER OF RULE 5 & 5.1 HEARINGS
                                                             (Complaint or Indictment)

                                          have been ch



                   E have been informed of the charges and of my rights to;
                   (1)       retain counsel or request the assignment of counsel if I am unable to retain counsel;
                   (2)       an identity hearing to determine whether I am the person named m the charges;
                   (3)       production of the wairant, a certified copy of the watraut, or a reliable electronic copy of either;
                                                t   •   * .1 i-L- i.tinf. u.-hrrViPT there is probabl?          to believe that an offense has been
                             oomlSTo bXw wi~ d^^^ of my first appearance if I am in custody and 21 days othervdse,
                             unless I have been indicted beforehand.
                   (5)       a hearing on any motion by the government for detention;
                   (6)       request a transfer of the proceedings to this district under Fed. R. Grim. P. 20. to plead guiEty.
                   I agree to waive my right(s) to:
                             an identitv hearing and production ofthe warrant
                             a preliminary hearing.
                   D         a detention hearing.
                   O         an identity hearing, production of the judgment, wa™t, and warrant oppHoariojt. and any preliminary
                              that court.                  '

                   I conserit to the issuance of an order requiring my appearance in the prosecuting dishict where the charges are
          pending against me.


          Date       txltxik.'L                                                                             jcfanrj#f«Jfl/ure




                                                                                                  gnature



                                                                                          V   printed name of defendant s attorney




                          Case 5:23-cr-00014-M-KS Document 3-1 Filed 01/05/23 Page 1 of 1


                                                                               JA36
USCA4 Appeal: 23-4760                        Doc: 12                     Filed: 04/01/2024                           Pg: 47 of 237



                                           United States District Court,Eastern District of New York
         UNITED STATES OF AMERICA                                                           ORDER SETTING CONDITIONS OF RELEASE
                         y                                                                  AND APPEARANCE BOND

                                                                                            Case Number:
                                                               Defendant.

                                                                              RELEASE ORDER

               It is hereby ORDERED that the above-named defendant be released subject to the Standard Conditions ofRelease on the reverse and as follows:
           [] Upon Personal Recognizance Bond on his/her promise to appear at all scheduled proceedings as required, or
                     Upon Bond executed by the defendant in the amount ofS              ■ '' "                                  ,and
            ^ ^ secured by[ ]financially responsible sureties listed below and/or[ ]collateral set forth below.
                                                                       Additional Conditions of Release

               The Court finding that release under the Standard Conditions of Release on the reverse will not by themselves reasonably assure the
     appearancgjaf the defendant and/or the safety of other persons and the community, IT IS FURTHER ORDERED as follows:
     [             The defendant must remain in and may not leave the following areas without Court permission:."'{<J New York City;[;^ong Island, NY;
                   [ ]New York State;[ ]New Jersey;!..^" •'               ^    \                and travel to and from this Court and'the permitted areas.
     r 1 2.        TKe defendant must avoid all contact with the following nersorte or entities:
                                  " f A- 1                 'i !•"<
     [ ] 3^^J2ieTicfcndant must avoid and not go to any of the following locations:                                                                                 .
                        defendant must surrender all passports to Pretrial Services by              and not obtain other passports or international travel documents.
     [             The defendant is placed under the supervision of the Pretrial Ser\'ices Agency subject to the Special Conditions on the reverse and:
                      is subject to random visits by a Pretrial Services officer at defendant's residence and/or place of work;
           [ ij-'b." must report[ ]as directed by Pretrial Services or[ ]in person times per        and/or[ ]by telephone        times per          .
           [ ] c. must undergo[ ]testing.[ ]evaluation and/or[ ]treatment for substance abuse, including alcoholism, as directed by Pretrial Services.
           [ ] d. must undergo evaluation and treatment for mental health problems, as directed by Pretrial Scrx'ices.
           [ ] e. is subject to the following location restriction program with location monitoring, as directed by Pretrial Services:
              [ ]home-incarceration: restricted to home at all times, except for attorney visits, court appearances and necessary medical treatment;
                   [\-^^ome detention: restricted to home at all times, except for attorney visits, court appearances, medical treatment.[ ]religious services,
                      _^.^^t^inploymcnt. [►^^chool or training, pother activities approved by Pretrial Services, [ ]
     r     [ ] curfew: restricted to home every day fronY                          to                         , or [ ] as directed by Pretrial Services.
    f^             Defendant must pay all or part of the cost of any required testing, evaluation, treatment and/or location monitoring with personal funds,
                   based upon ability to pay as determined by the Court and the Pj-etrial Services Ag^cy, and/ or from available insurance.
     \\j{ 6. Other Conditions: j ' il I " i b ' T'J ""t ' ■ 'i ^ ^                                  / / * / ^ 'y
                                                                             APPEARANCE BOND

     I, the undersigned defendant, and each surety who signs this bond, acknowledge that I have read this Appearance Bond and, and have either read all
     the other conditions of release or have had those conditions explained. I further acknowledge that 1 and my personal representatives, jointly and
     severally, are bound to pay the United States of America the sum of S                                  and that this obligation is secured with the below
     interest in the following property ("Collateral") which 1 represent is/are free and clear of liens except as otherwise indicated:
           [ ] cash deposited in the Rcgistiy of the Coun in the sum of S                                                       :
           [ ] premises located at:                                                           owned by                                                                      .
           [ ]! also agree to execute a confession of judgment, mortgage or lien in form approved by the U.S. Attorney which shall be duly fi led with the
         proper local and state authorities on or before                                                                             .
     Each owTicr of the above Collateral agrees not to sell the property, allow further claims or encumbrances to be made against it, or do anything to
     reduce its value while this Appearance Bond is in effect.
     Forfeitwe of the Bond. This Appearance Bond may be forfeited if the defendant fails to comply with any of the conditions set forth above and on the
      reverse. The defendant and any surety who has signed this form also agree that the court may immediately order the amount of the bond sun-endered
      to the United States, including any security for the bond, if the defendant fails to comply with the above agreement. The court may also order a
     judgment of forfeiture against the defendant and against each surety for the entire amount of the bond, including any interest and costs,

                                                        Address:
                                             . SureU'


                                                        Address:
                                             , Surety

                                                        Address:
                                             , Surety
           I acknowledge that I am the defendant in this case and that I am aware of the conditions of release and of the penalties and sanctions set
     forth on the front and reverse sides of this form.                                                 y-'
                                                                   /      / y , j           1 -) ~)                                                        Signature of Defendant
     Release of the Defendant is hereby ordered on                       /    •-           / 20     ^
               '          .             '           /
                                Case 5:23-cr-00014-M-KS'■ Document 3-2 Filed 01/05/23 Page 1 of 2
                        •' .                  , US ^/j
           ;                                                                            Distribution:         Canary-Court     Pink - Pretrial Services    Goldenrod-Defendant



                                                                                   JA37
USCA4 Appeal: 23-4760   Doc: 12        Filed: 04/01/2024   Pg: 48 of 237




                 Case 5:23-cr-00014-M-KS Document 3-2 Filed 01/05/23 Page 2 of 2


                                             JA38
USCA4 Appeal: 23-4760           Doc: 12          Filed: 04/01/2024         Pg: 49 of 237


                                 UNITED
                       IN THE UNITED      STATES
                                      STATES      DISTRICT
                                              DISTRICT     COURT
                                                       COURT
                   FOR THEFOR THE EASTERN
                           EASTERN          DISTRICT
                                     DISTRICT        OF NORTH
                                              OF NORTH        CAROLINA
                                                         CAROLINA
                                        WESTERN
                                 WESTERN DIVISION DIVISION
                                  5:11-MJ-01359-JG-l
                                                NO. 5:22-MJ-2161-RN
 UNITED STATES OF AMERICA,                          )
                                                    )
        UNITED STATES OF AMERICA                    )            )
                        v.                          )   ORDER DENYING
                                                                 )     APPOINTMENT
                                                    )           OF
                                                                 )  COUNSEL
                        v.                          )            )(SEALED)
                                                                       ORDER
 CHRISTOPHER YORK MAKEPEACE,                        )                  )
               TIMOTHY MANN                         )                  )
                        Defendant.                  )
                 Defendant having demonstrated eligibility for appointment of counsel at government
       This case comes before the court on the issue ofappointment ofcounsel for Christopher York
        expense, the Federal Public Defender is directed to provide representation in this action.
Makepeace ("defendant"). Defendant has submitted a Financial Affidavit for purposes of such
                 The court further determines that the defendant is unable to pay the fees of any witness, and
appointment (CJA Form 23). Defendant has failed to complete the "Obligations and Debts" section
        pursuant to Federal Rule of Criminal Procedure 17(b), the Clerk shall issue a subpoena for any
of the form and has failed to enter the date on which he executed the form. Without a complete
        witness necessary to present an adequate defense to the pending charge or charges.
application, the court is not able to determine whether defendant is entitled to appointment of
                 It is FURTHER ORDERED that the United States Marshal shall serve any subpoena
counsel. The appointment of counsel is therefore DENIED without prejudice to reconsideration of
        presented to him in this case by the office of the Federal Public Defender, and shall pay the
such appointment after the filing of a new Financial Affidavit which contains the missing
        appropriate fees and expenses to witnesses so subpoenaed, in accordance with Federal Rule of
information.
        Criminal Procedure 17(b).
       This order shall be filed under seal.
                 SO ORDERED this 10th day of January, 2023.
       SO ORDERED, this 23rd day of May 2011.

                                                        _________________________
                                                        James E. Gates
                                                        United States Magistrate Judge




                   Case 5:23-cr-00014-M-KS Document 6 Filed 01/10/23 Page 1 of 1

                                                         JA39
USCA4 Appeal: 23-4760        Doc: 12          Filed: 04/01/2024        Pg: 50 of 237


                                UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                      WESTERN DIVISION

                                           No. 5:22-mj-02161-RN



        UNITED STATES OF AMERICA                                     MOTION TO CONTINUE
                                                                     INITIAL APPEARANCE
             v.

        TIMOTHY MANN

             The Defendant, Timothy Mann, by and through undersigned counsel, respectfully moves

      the Court to continue the initial appearance currently set for January 18, 2023, to January 30, 2023,

      or such later date as set by this Court. The following is offered in support of this motion:

         1. Mr. Mann was charged by Criminal Complaint filed in the Eastern District of North

             Carolina on December 13, 2022, charging him with Cyberstalking, in violation of 18

             U.S.C. §2261A(2).

         2. Mr. Mann was arrested in the Eastern District of New York on or about December 20,

             2022, where he appeared in Court for an initial appearance and was released on conditions

             set by the Court, to include travel restrictions and home detention.

         3. As a result of this arrest and the release conditions, Defendant Mann had to separate from

             his employment held at the time of his arrest.

         4. Since his arrest and release, Mr. Mann has obtained new employment in New York with

             Walgreens, which began on or about January 9, 2023. He will not receive his first paycheck

             until January 25, 2023.

         5. Due to his financial circumstances, Mr. Mann does not have the funds available to pay for

             transport to and lodging in North Carolina for the Initial Appearance currently scheduled

             for January 18, 2023.

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                  Case 5:23-cr-00014-M-KS Document 9 Filed 01/11/23 Page 1 of 3

                                                      JA40
USCA4 Appeal: 23-4760        Doc: 12             Filed: 04/01/2024      Pg: 51 of 237



         6. Mr. Mann expects to have the funds available after receiving his paycheck on January 25,

             and can thereafter make travel arrangements for transportation and lodging.

         7. Undersigned counsel understands that United States Attorney will present this case to a

             Grand Jury for Indictment by January 19. Should the Grand Jury return an Indictment,

             then Mr. Mann will likely need to make an Initial Appearance on that Indictment as well.

             Judicial economy would be served by having Mr. Mann make only one Initial Appearance

             for the allegations in this case.

         8. Undersigned counsel has contacted AUSA Jake Pugh and the government does not oppose

             this Motion.

             Wherefore, Defendant Mann respectfully moves this Court to continue the Initial

      Appearance in this matter to January 30 or such later time as set by this Court.

             Respectfully submitted this 11th day of January, 2023.

                                                     G. ALAN DuBOIS
                                                     Federal Public Defender

                                                     /s/ David W. Venable
                                                     DAVID W. VENABLE
                                                     Assistant Federal Public Defender
                                                     Attorney for Defendant
                                                     Office of the Federal Public Defender
                                                     150 Fayetteville Street, Suite 450
                                                     Raleigh, North Carolina 27601
                                                     Telephone: 919-856-4236
                                                     Fax: 919-856-4477
                                                     E-mail: David_Venable@fd.org
                                                     N.C. State Bar No. 23307
                                                     LR 57.1 Counsel Appointed




                                                        2

                Case 5:23-cr-00014-M-KS Document 9 Filed 01/11/23 Page 2 of 3


                                                       JA41
USCA4 Appeal: 23-4760       Doc: 12          Filed: 04/01/2024        Pg: 52 of 237


                                       CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a copy of the foregoing was served upon:

      JAKE PUGH
      United States Attorney's Office - EDNC
      150 Fayetteville Street, Suite 2100
      Raleigh, NC 27601

      by electronically filing the foregoing with the Clerk of Court on January 11, 2023, using the
      CM/ECF system which will send notification of such filing to the above.

             This the 11th day of January, 2023.

                                                   /s/ David W. Venable
                                                   DAVID W. VENABLE
                                                   Assistant Federal Public Defender
                                                   Attorney for Defendant
                                                   Office of the Federal Public Defender
                                                   150 Fayetteville Street, Suite 450
                                                   Raleigh, North Carolina 27601
                                                   Telephone: 919-856-4236
                                                   Fax: 919-856-4477
                                                   E-mail: David_Venable@fd.org
                                                   N.C. State Bar No. 23307
                                                   LR 57.1 Counsel Appointed




                                                      3

               Case 5:23-cr-00014-M-KS Document 9 Filed 01/11/23 Page 3 of 3

                                                     JA42
USCA4 Appeal: 23-4760         Doc: 12           Filed: 04/01/2024    Pg: 53 of 237


                                 UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                       WESTERN DIVISION

                                           No. 5 :22-mj-02161-RN



        UNITED STATES OF AMERICA
                                                                            ORDER
            v.

        TIMOTHY MANN


             This matter is before the Court on the defendant’s Unopposed Motion to move the initial

      appearance in this matter to January 30, 2023.

             For good cause shown, it is hereby ORDERED that the initial appearance in this matter be

      continued until                                                .

             This Court has determined that the ends of justice outweigh the best interests of the

      public and the defendant in a speedy trial. The delay occasioned by the continuance shall be

      excluded in computing the defendant’s speedy trial time. See 18 U.S.C. § 3161(h)(7).

             SO ORDERED.

             This       day of January, 2023.


                                            Robert T. Numbers, II
                                            United States District Judge




                 Case 5:23-cr-00014-M-KS Document 9-1 Filed 01/11/23 Page 1 of 1

                                                       JA43
USCA4 Appeal: 23-4760         Doc: 12               Filed: 04/01/2024        Pg: 54 of 237




                                      IN THE UNITED STATES DISTRICT COURT
                                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                                WESTERN DIVISION
                                                5:22-MJ-02161-RN-1

             UNITED STATES OF AMERICA,                          )
                                                                )
                             V.                                 )                      ORDER
                                                                )
             TIMOTHY MANN,                                      )
                                                                )
                             Defendant.                         )



                    On 13 December 2022, a criminal complaint (D .E. 1) was issued in this court against

            defendant. Defendant was arrested in the Eastern District of New York, which released him at his

            initial appearance in that court on 20 December 2022. Defendant's initial appe'arance in this court

            was scheduled for 18 January 2023. Defendant has filed a motion (D.E. 9) seeking continuance

            of this initial appearance until 30 January 2022 or later. The motion states that the United States

            Attorney will present this case to a grand jury by 19 January 2023.

                    While it is reasonable, at this point, to continue the initial appearance until 19 January 2023

            to accommodate presentation of this case to a grand jury, defendant has not justified the additional

            delay in the initial appearance beyond that date. The continuance sought would delay defendant's

            initial appearance in this, the charging district, until over month after his arrest and initial

            appearance in the arresting district.

                   IT IS THEREFORE ORDERED as follows:

                    1.     Defendant's motion for continuance (D.E. 9) is DENIED.

                   2.      The initial appearance of defendant in this case is continued until Thursday, 19

            January 2023, at 2:00 p.m. It will be held in the sixth floor courtroom of the Terry Sanford Federal




                     Case 5:23-cr-00014-M-KS Document 11 Filed 01/12/23 Page 1 of 2


                                                          JA44
USCA4 Appeal: 23-4760         Doc: 12            Filed: 04/01/2024           Pg: 55 of 237




            Building and Courthouse at 310 New Bern Avenue in Raleigh, North Carolina. Defendant shall

            appear at the initial appearance as continued herein to 19 January 2023.

                    3.      Any delay that results from this continuance shall be excluded from the Speedy

            Trial Act computation pursuant to 18 U.S.C. § 3161(h)(7)(A) on the grounds that the ends of justice

            served by granting this continuance outweigh the best interests of the public and defendant in a

            speedy trial.

                    4.      Before departing for the initial appearance, defendant shall provide the United

            States Probation Office ("USPO") an itinerary for his visit to this district, which shall be subject

            to USPO approval. Defendant shall comply with the itinerary as approved by the USPO and with

            such other requirements the USPO establishes with respect to his visit to this district for the initial

            appearance.

                    5.      The Clerk shall serve a copy of this order on the USPO in this district.

                    SO ORDERED, this 12th day of January 2023.




                                                              2

                     Case 5:23-cr-00014-M-KS Document 11 Filed 01/12/23 Page 2 of 2


                                                          JA45
USCA4 Appeal: 23-4760        Doc: 12            Filed: 04/01/2024         Pg: 56 of 237




                                     IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                              WESTERN DIVISION
                                                5:23-CR-14-M-KS

             UNITED STA TES OF AMERICA,                      )
                                                             )
                            V.                               )                     ORDER
                                                             )
             TIMOTHY MANN,                                   )
                                                             )
                            Defendant.                       )


                   On 13 December 2022, a criminal complaint (D.E. 1) and associated arrest warrant (D.E.

            2) were issued in this court against the defendant. On 20 December 2022, he was arrested in the

            Eastern District of New York on that warrant and had an initial appearance in the court for that

            district ("EDNY"). See generally US. v. Mann , l :22-mj-01355-SJB-1 (EDNY)). That court

            entered an order at the initial appearance providing for the defendant's release on conditions

            ("Release Order" (D.E. 3-2) (copy attached)). On 13 January 2023, the EDNY entered an order

            (EDNY D.E. 7) removing the condition in the Release Order that the appearance bond for the

            defendant be co-signed. The defendant was indicted in this case on 18 January 2023. See Indict.

            (D.E. 14). Today, the defendant self-reported for his initial appearance in this court, although an

            arrest warrant (D.E. 17) had been issued on the indictment.

                   As announced during the initial appearance, this court hereby ADOPTS as its own all the

            conditions set forth in the Release Order, except the condition that the defendant' s appearance

            bond be co-signed, which the EDNY removed.

                   This court also imposes the following additional conditions:

                   1.      At the direction of the probation officer, the defendant must consent to the

            installation of systems or software that will allow the probation officer or designee to monitor




                    Case 5:23-cr-00014-M-KS Document 21 Filed 01/19/23 Page 1 of 4


                                                        JA46
USCA4 Appeal: 23-4760         Doc: 12            Filed: 04/01/2024          Pg: 57 of 237




            computer use. The defendant shall have access to only one device that can access the internet or

            an internet service provider, which shall be monitored by pretrial services.

                     2.     The defendant shall report as soon as possible to the pretrial services or supervising

            officer every contact with law enforcement personnel, including arrests, questioning, or traffic

            stops.

                     3.     In addition to avoiding all contact with any victim of the crimes alleged against him

            (see Release Order 1 Jr 2), the defendant shall avoid all contact with the family members and close

            associates of any victim.

                     At today ' s initial appearance, the defendant acknowledged his understanding of, and

            agreement to comply with, the conditions in the Release Order, as modified by removal of the

            condition for a co-signer for the appearance bond, and the additional conditions set forth in this

            order.

                     The defendant having self-reported for the initial appearance, the warrant for his arrest on

            the indictment (D.E. 17) is QUASHED and of no force and effect.

                     SO ORDERED, this 19th day of January 2023.




                                                              2

                      Case 5:23-cr-00014-M-KS Document 21 Filed 01/19/23 Page 2 of 4


                                                          JA47
USCA4 Appeal: 23-4760                                    Doc: 12                                Filed: 04/01/2024                        Pg: 58 of 237



                                                          United States District Court, Eastern District of cw York
           1
               TTEO STATES OF AMER ICA                                                                                   ORDER SETTING COND ITlO S OF RELEASE
                                 \.                                                                                      AN D APPEARA NCE BO . D


      ___-~              )l l                                                                                            Case Num ber:        } ],
          . . ;I. . ;l'--'--":....>C-'-...:....:---+--......;.'-'--'-"--'-.:....;__-'----' Defendant.
                                                                                                         RELEASE ORDER
                It is hereby ORD ERED that the above-nam cl defendant be rel used subj ect to the Standard Conditions of Release on the reverse and as fo llows:
                [ ] Upon Personal Reconnizance Bond on his/her promise to appear at all sched uled proceedings as rcquir d, or
                    f' Upon Bond executed by the defendan t in the amount ofS                    • >~ '                    , and
                        secured by [ ] financially responsible suret ies Ii tee! below ancl/or [ ) collateral set fo11h below.

                                                                                               Addition:11 Condition s of Release
           The Cou11 finding that release under the Standard Conditions of Release on the reverse will not by themselves rca ·onably assure the
      appearance of the defendant ancl/or the safety of other person and the community, IT IS F RTHER ORDERED as follows:
      [ ].,... f:        The defendant must rema in in an I may nol leave the follo~ ing areas without Court perm iss ion :,[ " ] cw Yo rk City; ] Long Island, NY :
        .                [ ] 1ew York State; [ ] cw Jersey;£'           I '. r,J                               and travel to nd from this Cou11 and 'the pcrrnit1ecl area .
      [ ] 2.             The defendant must avoid all c ntact' with the fo ll owing per 01ii-,or c1 1i1ie : - -;--- - -- - -- - - - - - - - - -- -- -
                         ~   ;        ,   I    I,        I      \..     tJ,,          ((                                 I   ,..,   L/
      [ ] 3.            lie-defendant must avoid and not go to any of the fo llowing locations: _ __ _ _ __ __ _ _ _ _ _ _ _ _ _ __ _ _ __
      [' )......4. _, ;Ole defenda nt must surrender all passports to Pretrial Services by ___ and not obtain other passport or international travel document .
      [ 11,...,5. Th~ dcfenda111 is placed under the upcrvi ion of the Pretria l Services Agency subject to the Specia l Conditions on the reverse and:
                   ) ~a. is subject to random visits by a Pretrial Services officer at defendant's residence and/or place of work;
                [ l) b. must report [ ] as directed by Pretrial Services or [ ] in person _ times per _ _ _ ancl/or [ ] by telephone _ times per _ __
                [ ] c. must undergo [ ] tc ·ting, [ 1evaluation and/or [ ] treatment for sub ·tance abuse, including alco holism, as directed by Pretrial Services.
                [ ] d. must undergo evaluation and treatm nt for mental health problem , a directed by Pretrial Services.
                [ ] e. is subject to the fo ll owing location res triction program with location monitoring, as directed by Prerrial Service :
                      [ J ho c,i ncarceration: rest ricted to home a1al l times, except fo r auomey visits, court appearances and necessary medical treatment ;
                      [\-] home detention : restricted to home at all times, except fo r attorney visits, court appearances. medical treatment. [ ] rcligiou services,
                          J-,- mployment. [,,, /chool or training, [))Q her ac ti,~t ics approved by Pretrial Services. [ )                      ·
                [ ] curfew: restric ted to home eve1y day from          '              to _ _ _ _ _ , or [ ] as direct d by Pretrial SerYices.
                [ ~ Defendant mus t pay al l or part of the cost of any r quired testing, evn luntion, treatment ancl/or loca tion moni toring with per ana l funds.
                      based upon ability to pay as determined by the Cou11 and the P ·ctrial Scrvic s Ag icy, ancl/ or from available insurance.
      [ --]' 6.          Other Con litions:         l      '11 f l ·       1> , •     hJ ',         1• )   i    1
                                                                                                                    "J              It    }   2
                                                                                                        AP PEA RANCE BOND
      I, the undersigned defendant. and each surety who signs thi s bond. acknowledg that l havc read this Appearance Bond and. and have either read all
      the oihcr ondition of release or have had those cond iti ons explai ned. I funher ncknowledge that I and my personal representati ve , jointly and
      severnlly, ar bound to pay the Un ited State o f Amcric:i the sum of ____________ and that this obligation is secured with the below
      interest in the fo ll owing propert y (''Collatera l") which I represent is/are free and clear of liens except as otherwise indicated:
            [ ] ·ah deposited in the Regi ·try of the ou11 in the . um ofS_ _ _ _ _ _ _ _ __ __ __
            [ ] prcmi cs located at: _ _ __ __ _ _ _ _ _ _ _ _ _ _ _ _owned by_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            [ ] I also agree to execute a confession ofj udgmem, morrgagc or lien in fo m1 approved by the U.S. Allorney which shall be duly filed wi th the
            proper loca l an d stare authorities on or before _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ __ _ __
      Each owner of the above Collateral agree not to sell the propeny. allow further claims or encumbrances to be made agai nst it. or do anything to
      reduce its val ue while this Appearance Bond is in effect.
      Fo,fei111re o.fthe Bond This Appearance Bond may be forfeited if the defcndam fails to compl y with any of the conditions set forth above nnd on the
      reve rse. The defendant and any surety who has signed this form also agree that the coun may immediately order the amount of the bond surrendered
      10 the Uni ted States. incl uding any security for the bond, ir th dcfcndam fa ils 10 comply, ith the above agreement. The coun may al o order a
      judgment of fo rfeiture against the defendant and against each surc1y for the ent ire amoun t of the bond, including any interest and costs. Dnte

      _ _ __ _ _ _ _ _ __ _ _ __                                        Add res: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                               urc1y

      _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Address: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                             . Surety

      _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Address: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                             . Surety
               I adrnowlcd gc that I am rhe defendant in this case and that I am aware of the conditions of release and of the penalties and sa nctions set
      fort h on the front and reverse sid es of this form .

                                                                                                                         I
      Release of the Defendant is hereby ordered on _ _ / _ _:___·_··-- - ~ -                      I                                                                             ignat11re of Dcfonclant


                                          Case 5:23-cr-00014-M-KS
                                                           J1,1   Document 21 Filed 01/19/23 Page 3 of 4
                                                                                                                Distribution:       Canary - Court   Pink - Pretrial Services   Goldenrod -Defendant



                                                                                                               JA48
USCA4 Appeal: 23-4760                 Doc: 12                  Filed: 04/01/2024                Pg: 59 of 237



                                                     STANDARD CO 1DITIO1 S OF RELEA E
      IT IS ORDERED that the defendant s relea e i ubjeet to the e condition :
      ( l) The defendant must not violate any federal state or loenl law whil e on release.
      (2) The defendant must cooperate in the col lect ion ofa DNA ample if the co ll ection i au thorized by 42 U.S.C. § 14135a.
      (3) The defendant must adv i the Court, the Pretrial Services office. defen e Counsel and the U.S. Attorn yin writing before making
           any change in address or telephone number.
      (4) The defendant must appear in co urt as required and mu, ! surrender for service of any sent ence imposed as directed.
      (5) The defendant must refrai n from use or unlawful po sess ion of a narcotic drug or oth er contro ll ed ub "lances as defined in 2 1
           U.S.C. § 802 unless pre cribed by a li cen eel medi cal practitioner.
      (6) l f the defenda nt fai ls to report a required to the Pretrial Services Agency, defendant may be subj ect to uch random vi its at
           his/her res idence or work by a Pretrial Services Officer as may be neccs ary to verify his/her residence or place of emp loyment in
           order to secure compliance with the order of release.
      (7 The defendant must not po sess a firearm. destructi e device, or other weapon.

                        SPECLL\.L CONDJTlO S OF RELE SE FOR TESTl G, TREAT 1.E 1T ORE ALUA TIO '
                                                        ND FOR LOC TIO              'LO £TORI G
      l.   If the defendant fails 10 appear for any spec ified treatment or eva luation. defendant may be subject to such random vi its at hi s/her
           resi lence or work by a Pretrial Services Officer as may be necessmy to veri fy hi s/her res idence or place of employment in order to
           secu re compliance with the order of release.
      2.   The defendan t must not obstruct, a11empt to obstruct, or tamper with the effic iency and accuracy of prohibited ubstance screening
           or testing. Te ling may be used with random frequency and may include urine tc ·ting, the wearing of a sweat patch, a remote
           alcohol te ting ystem ·rnd/or any form of prohibi ted ubst·mce . reening or testing, as determ ined by Pretrial Service .
      3.    l r defendant is subject to a location restri ction program or location monitoring defendant must:
           (a) stay at his/her res id nee at all limes except fo r approved acti vities and may not leave for approved activities wi thout
                 providing prior notice to Pretri al Services except in ca cs of medical emergencies.
           (b) abide by all program requirements and instruction provided by Pretrial Service relating to the operation of monitoring
                 tech nology. Unl e specifi ca ll y ordered by the ou rt, Pretrial Services may r quire u e of one of the following or comparable
                 mon itori ng technology: Radio Frequency (RF) monitoring· Pa sive Global Posi tioning Satel lite (GPS) monitoring: Active
                 Globa l Positioning Satelli te (G PS) monitoring (i n luding "hybrid'' (Active/Pa sive) GPS); Voice Recognition monitoring.
                                                            FO RFE IT URE OF THE BO 1D
      Thi appearance bond may be forfeited if the d fe ndant does not comply with the conditions of release ct fort h in thi Ord r Sett ing
      Condi ti ns of Re lea e and Bond. The court may immediately order the amount of the bond and any Collateral surrendered to the
      Un it ed tales if the defendan t does not comp ly with the agreement. At the reque t of the United States, the court may order a judgment
      of forfeiture against the d fcndant and each surety for the en tire amount of the bond including interest and co ts.

                                                              RELE SE OF THE BO D
      Th is appearance bond may be terminated at any time by the Court. This bond will be satisfied and the security wi ll b released when
      either: ( I) the defendant is found not guilty on all charges, or (2 the defendant report. 10 serve a sentence.

                                     ADVI CE OF PENALTIES AND SA1 CT IO t S TO THE DEFENDA T
      Defendant is advised that violating any f the foregoing conditi n of r lea c may result in the immediate i uance of a warrant of
      mTe t. a revocation of the order of release, an order of detention, n forfeiture of any bond and a prosecution for contempt of court and
      could result in imprisonment, a fine, or both.
      Whil e on release ir defendant commits a federal felony offense the punishment is an addi ti ona l prison term of not more than ten year
      and for a federal misdemeanor offense the punishment is an additiona l pri on term of not more than one year. This sentence will be
        onsccutive (i.e., in add iti on to) to any other entence defendant may receive.
      It is a crime punishable by up lo ten years in prison. and a $250,000 fin e, or both, to: obstruct a cri minal investigation; tamper with a
      witness, victim, or informant: reta liate or attempt to retaliate against a wi tne , victim, or inform:ml; or intimidate or a11empt to
      intimidat<.: a ,vi tness. vict im, juror, informant. or officer of the court. The I ena lii es for tamperi ng, retalia ti n, or intimidation are
        ign ifi ca ntly more serious if they involve a killing or attemp ted ki lling.
      If. artcr rclea e. defendant knowi ngly fa ils to appear as the conditi ns of re lea e require. or 10 surrender 10 erve a cntence, defendant
      may be prosecuted for fa iling to appear or surrender and additiona l punishment may be imposed whether or not the defendant is
      conv icted of the pending charges. If defenda nt is convicted of:
      ( I) an offense punishable by death, Ii re imprisonment or imprisonment for a term of fi flee n years or more - defendant will be fined
      not more than S250,000 or imprisoned for not more than l O year , or both;
      (2) an offense punishable by imprisonment for a term or five years or more but less than lifte n years - defendant will be fined 1101
      more than $250.000 or imprisoned fo r not more than fi ve years, or both;
      (3) any other fe lony - defendant will be fined not more than £250,000 or imprisoned not more than two years. or both;
      (4) a misdemeanor - defendant will be fin ed 1101 more than SI 00,000 or imprisoned not more than one year, or both.
      A term or imprisonmen t imposed for fa il ure to appea r or u1Tender will be consecuti ve to any other sen tence imposed. In add ition a
      failure to appear or surrender may result in the forfe iture or any bond posted.
                           Case 5:23-cr-00014-M-KS Document    21 Filed
                                                        Distribution: Canary 01/19/23
                                                                             - Court Pink - Page      4 of 4 Goldenrod -Defendant
                                                                                            Pretrial Services




                                                                         JA49
USCA4 Appeal: 23-4760                  Doc: 12               Filed: 04/01/2024        Pg: 60 of 237



      AO 442 (Rev. 12/85) Warrant for Arresf

                                                    UNITED STATES DISTRICT COURT
                                             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                                         WESTERN DIVISION


     UNITED STATES OF AMERICA
                                                     RECEIVED BY
                                                                                       'WARRANT FOR ARREST
                                                     USMSE/NC
                                                     01/19/2023
              V.
                                                                                      CRIMINAL CASE: 5:23-CR-14-lM-KS
    ", TIMOTHY MANN

     To: The United States Marshal and any Authorized United States Officer. YOU ARE HEREBY COMMANDED to arrest

     TIMOTHY MANN he/she shall be brought before the nearest Magistrate/Judge to answer an

     _x__ Indictment _ _ Superseding Indictment _ _ _Criminal Information_ _ _Complaint

     _ _ Order of Court: _ _Violation Notice_ _Probation Violation Petition charging him/her with:


     Counts l and 2 - 18 U.s:c. § 2261A(2): Cyberstalking


      Peter A.· Moore Jr. ,.~•                                          clerk of Court
      Name .of Issuing offif~                         •.                Title of Issuing officer
                        .        ()
                                 t,.,t:·}.
                                                                        JANUARY 18, 2023 - RALEIGH, NORTH CAROLINA
                                                                        Date and Location

        Recommended Bond: DETENTION
                                                                     RETURN   '




         This warrant was received and execute9 with the arrest of the above named d~fendant at



         DATE RECEIVED                                NAME AND TITLE OF ARRESTING            NAME AND TITLE OF ARRESTING
                               01/19/2023             OFFICER                   ./

         DATE OF ARREST
                               01/19/2023                  M. NEYLON, FBI
                                                                                  ,
                                                                                              s.        --r - C,/SJ?1,S
                                                                                                                   .
                                                                                                   8t!J'.,,1U.Jl'JA'/

                                                                                                          V




                                                                                                         FILED
                                                                                                       JAN 19 2023
                                                                                                 PETER A. MOORE, JR., CLERK
                                                                                                  US D l ~ ~ T , EDNC
                                                                                                BY           ~ DEPCLK




                            Case 5:23-cr-00014-M-KS Document 22 Filed 01/19/23 Page 1 of 1


                                                                    JA50
USCA4 Appeal: 23-4760        Doc: 12          Filed: 04/01/2024     Pg: 61 of 237


                                 UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                       WESTERN DIVISION

                                          No. 5:23-CR-00014-M-KS



        UNITED STATES OF AMERICA                              MOTION TO EXTEND PRETRIAL
                                                                MOTIONS DEADLINE AND
            v.                                                 CONTINUE ARRAIGNMENT

        TIMOTHY MANN

             The Defendant, Timothy Mann, by and through undersigned counsel, respectfully moves

      the Court to extend the time to file pretrial motions for thirty (30) days, through and including

      March 15, 2023 and to continue the arraignment accordingly, currently set for the March 21, 2023

      term of court in Wilmington. The following is offered in support of this motion:

             1. On January 18, 2023, Mr. Mann was named in a two-count Criminal Indictment,

                  charging him with: Cyberstalking, in violation of Title 18 U.S.C. § 2261A(2). [D.E.

                  14]

             2. The Office of the Federal Public Defender was appointed to represent Mr. Mann on

                  January 10, 2023 and defense counsel entered his notice of appearance on January 11,

                  2023.

             3. Mr. Mann is currently released on conditions.

             4. Undersigned counsel is awaiting supplementary discovery from the government and

                  will need additional time to review, investigate, discuss with client, and the

                  government.

             5. Defense counsel respectfully requests that the pretrial motions deadline be extended

                  through and including March 15, 2023 and that the arraignment hearing be continued

                  to the April 2023 term of court.

                                                     1

                 Case 5:23-cr-00014-M-KS Document 24 Filed 02/13/23 Page 1 of 3

                                                     JA51
USCA4 Appeal: 23-4760       Doc: 12          Filed: 04/01/2024         Pg: 62 of 237


             6. Assistant United States Attorney Jake Pugh was contacted and has no objection to the

                 extension and continuance requested herein.

             7. This motion is made in good faith and not for purposes of delay.            Neither the

                 government nor the Defendant would be prejudiced by the requests sought herein.

             8. The ends of justice served by this Motion outweigh the interests of the public and the

                 defendant in a speedy trial.     The period of delay resulting from granting this

                 continuance should therefore be excluded from the calculation of speedy trial time

                 pursuant to 18. U.S.C. § 3161(h)(8)(A).

             WHEREFORE, the defendant respectfully requests that the pretrial motions deadline be

      extended for thirty (30) days, through and including March 15, 2023, and the arraignment in this

      matter be continued to the April 2023 term of court or a date that the Court deems appropriate.

             Respectfully submitted this 13th day of February, 2023.

                                                   G. ALAN DuBOIS
                                                   Federal Public Defender

                                                   /s/ David W. Venable
                                                   DAVID W. VENABLE
                                                   Assistant Federal Public Defender
                                                   Attorney for Defendant
                                                   Office of the Federal Public Defender
                                                   150 Fayetteville Street, Suite 450
                                                   Raleigh, North Carolina 27601
                                                   Telephone: 919-856-4236
                                                   Fax: 919-856-4477
                                                   E-mail: David_Venable@fd.org
                                                   N.C. State Bar No. 23307
                                                   LR 57.1 Counsel Appointed




                                                      2

               Case 5:23-cr-00014-M-KS Document 24 Filed 02/13/23 Page 2 of 3

                                                     JA52
USCA4 Appeal: 23-4760       Doc: 12          Filed: 04/01/2024         Pg: 63 of 237


                                      CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a copy of the foregoing was served upon:

      Jake Pugh
      United States Attorney's Office - EDNC
      150 Fayetteville Street, Suite 2100
      Raleigh, NC 27601

      by electronically filing the foregoing with the Clerk of Court on February 13, 2023, using the
      CM/ECF system which will send notification of such filing to the above.

             This the 13th day of February, 2023.

                                                    /s/ David W. Venable
                                                    DAVID W. VENABLE
                                                    Assistant Federal Public Defender
                                                    Attorney for Defendant
                                                    Office of the Federal Public Defender
                                                    150 Fayetteville Street, Suite 450
                                                    Raleigh, North Carolina 27601
                                                    Telephone: 919-856-4236
                                                    Fax: 919-856-4477
                                                    E-mail: David_Venable@fd.org
                                                    N.C. State Bar No. 23307
                                                    LR 57.1 Counsel Appointed




                                                       3

              Case 5:23-cr-00014-M-KS Document 24 Filed 02/13/23 Page 3 of 3

                                                      JA53
USCA4 Appeal: 23-4760       Doc: 12          Filed: 04/01/2024       Pg: 64 of 237


                               UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                     WESTERN DIVISION

                                        No. 5 :23-CR-00014-M-KS



        UNITED STATES OF AMERICA
                                                                              ORDER
             v.

        TIMOTHY MANN


             This matter is before the Court on the defendant’s Unopposed Motion to Extend the Pretrial

      Motions Deadline and to Continue the Arraignment and Trial. Upon good cause shown, it is hereby

      ORDERED that an extension of time to file any and all pretrial motions is GRANTED. The

      defendant shall be allowed through and including___________________           to file said motions.

             Responses to motions shall be due                                          .

             For good cause shown, it is hereby ORDERED that the arraignment in this matter be

      continued until the                                            .

             This Court has determined that the ends of justice outweigh the best interests of the public

      and the defendant in a speedy trial. The delay occasioned by the continuance shall be excluded in

      computing the defendant’s speedy trial time. See 18 U.S.C. § 3161(h)(7).

             SO ORDERED. This             day of February, 2023.




                                           RICHARD E. MYERS II
                                           Chief United States District Judge




              Case 5:23-cr-00014-M-KS Document 24-1 Filed 02/13/23 Page 1 of 1

                                                     JA54
USCA4 Appeal: 23-4760        Doc: 12         Filed: 04/01/2024      Pg: 65 of 237


                                 UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                       WESTERN DIVISION

                                         No. 5:23-CR-00014-M-KS



        UNITED STATES OF AMERICA                             UNOPPOSED MOTION TO EXTEND
                                                              PRE-TRIAL MOTIONS DEADLINE
            v.

        TIMOTHY MANN

             The Defendant, Timothy Mann, by and through undersigned counsel, respectfully moves

      the Court to extend the deadline to file pretrial motions for fourteen (14) days, through and

      including March 29, 2023. Mr. Mann additionally requests that the arraignment remain scheduled

      for the April 25, 2023 term of court in Wilmington. The following is offered in support of this

      motion:

             1. On January 18, 2023, Mr. Mann was named in a two-count Criminal Indictment,

                  charging him with: Cyberstalking, in violation of Title 18 U.S.C. § 2261A(2). [D.E.

                  14]

             2. The Office of the Federal Public Defender was appointed to represent Mr. Mann on

                  January 10, 2023 and defense counsel entered his notice of appearance on January 11,

                  2023.

             3. Mr. Mann is currently released on conditions.

             4. Undersigned counsel recently received supplementary discovery from the government

                  and will need additional time to review, investigate, discuss with client, and the

                  government.

             5. Defense counsel respectfully requests that the pretrial motions deadline be extended

                  through and including March 29, 2023 and that the arraignment hearing currently set

                                                     1

                 Case 5:23-cr-00014-M-KS Document 25 Filed 03/15/23 Page 1 of 3

                                                    JA55
USCA4 Appeal: 23-4760       Doc: 12            Filed: 04/01/2024      Pg: 66 of 237


                 for April 25, 2023 term of court remain the same.

             6. Assistant United States Attorney Jake Pugh was contacted and has no objection to the

                 extension requested herein.

             7. This motion is made in good faith and not for purposes of delay.           Neither the

                 government nor the Defendant would be prejudiced by the request sought herein.

             8. The ends of justice served by this Motion outweigh the interests of the public and the

                 defendant in a speedy trial.      The period of delay resulting from granting this

                 continuance should therefore be excluded from the calculation of speedy trial time

                 pursuant to 18. U.S.C. § 3161(h)(8)(A).

             WHEREFORE, the defendant respectfully requests that the pretrial motions deadline be

      extended for fourteen (14) days, through and including March 29, 2023, and the arraignment in

      this matter remain the same.

             Respectfully submitted this 15th day of March, 2023.

                                                   G. ALAN DuBOIS
                                                   Federal Public Defender

                                                   /s/ David W. Venable
                                                   DAVID W. VENABLE
                                                   Assistant Federal Public Defender
                                                   Attorney for Defendant
                                                   Office of the Federal Public Defender
                                                   150 Fayetteville Street, Suite 450
                                                   Raleigh, North Carolina 27601
                                                   Telephone: 919-856-4236
                                                   Fax: 919-856-4477
                                                   E-mail: David_Venable@fd.org
                                                   N.C. State Bar No. 23307
                                                   LR 57.1 Counsel Appointed




                                                      2

               Case 5:23-cr-00014-M-KS Document 25 Filed 03/15/23 Page 2 of 3

                                                     JA56
USCA4 Appeal: 23-4760      Doc: 12          Filed: 04/01/2024       Pg: 67 of 237


                                      CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a copy of the foregoing was served upon:

      Jake Pugh
      United States Attorney's Office - EDNC
      150 Fayetteville Street, Suite 2100
      Raleigh, NC 27601

      by electronically filing the foregoing with the Clerk of Court on March 15, 2023, using the
      CM/ECF system which will send notification of such filing to the above.

             This the 15th day of March, 2023.

                                                 /s/ David W. Venable
                                                 DAVID W. VENABLE
                                                 Assistant Federal Public Defender
                                                 Attorney for Defendant
                                                 Office of the Federal Public Defender
                                                 150 Fayetteville Street, Suite 450
                                                 Raleigh, North Carolina 27601
                                                 Telephone: 919-856-4236
                                                 Fax: 919-856-4477
                                                 E-mail: David_Venable@fd.org
                                                 N.C. State Bar No. 23307
                                                 LR 57.1 Counsel Appointed




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              Case 5:23-cr-00014-M-KS Document 25 Filed 03/15/23 Page 3 of 3

                                                   JA57
USCA4 Appeal: 23-4760       Doc: 12           Filed: 04/01/2024     Pg: 68 of 237


                               UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                     WESTERN DIVISION

                                         No. 5 :23-CR-00014-M-KS



        UNITED STATES OF AMERICA
                                                                             ORDER
             v.

        TIMOTHY MANN


            This matter is before the Court on the defendant’s Unopposed Motion to Extend the Pretrial

     Motions Deadline. Upon good cause shown, it is hereby ORDERED that an extension of time to file

     any and all pretrial motions is GRANTED.

            Pre-trial motions period is extended until                   .

            Responses to pre-trial motions are to be filed by                   .

            Because the ends of justice served by this motion outweigh the best interests of the public

     and the Defendant in a speedy trial, such period of delay resulting from this continuance shall be

     excluded pursuant to 18 U.S.C. Section 3161(h)(8)(A).

             SO ORDERED. This             day of March, 2023.




                                           RICHARD E. MYERS II
                                           Chief United States District Judge




              Case 5:23-cr-00014-M-KS Document 25-1 Filed 03/15/23 Page 1 of 1

                                                     JA58
USCA4 Appeal: 23-4760                    Doc: 12                Filed: 04/01/2024               Pg: 69 of 237

  PROB 18
  (REV. 8/2/2010)                              UNITED STATES DISTRICT COURT
                                                             FOR
                                            EASTERN DISTRICT OF NORTH CAROLINA
                                                     Western   Division

  U.S.A. vs. MANN                                                                                                          5:23-CR-14-1M

  TO: 1 U.S. Marshal or Other Qualified Officer.                  By USMS-E/NC at 1:10 pm, Mar 29, 2023


                                                             WARRANT FOR ARREST

        You are hereby commanded to arrest the within-named individual and bring them, forthwith, before United States District Court
        to answer charges that they have violated the conditions of their supervision imposed by the court

  NAME:
  TIMOTHY MANN

  SUPERVISION IMPOSED BY:                                                                                   DATE IMPOSED
  USMJ JAMES E. GATES                                                                                        1/19/2023

  TO BE BROUGHT BEFORE:



  CLERK                                                                                         ERK
                                                                                                 RK
                                                                                                 RK
                                                                                  (BY) DEPUTY CLERK                          DATE

  Peter A. Moore, Jr.                                                                                                        3/28/2023




                                                                        RETURN

  WARRANT RECEIVED AND EXECUTED                                       DATE RECEIVED                       DATE EXECUTED

                                                                       03/29/2023                           03/30/2023

  EXECUTING AGENCY (NAME AND ADDRESS)
   USMS - BROOKLY, NY

  NAME                                           BY                    DATE
  A. Burton, DUSM                                                                  03/30/2023
            1
             Insert designation of officer to whom the warrant is issued, e.g. " any United States Marshal or any other authorized officer;" or "any United
            States marshal;" or "any Special Agent of the Federal Bureau of Investigation" or "any United States Marshal or any Special Agent of the
            Federal Bureau of Investigation;" or "any agent of the Alcohol Tax Unit".




                                                                                                         3/30/2023 LMA



       Case 5:23-cr-00014-M-KS
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USCA4 Appeal: 23-4760                 Doc: 12               Filed: 04/01/2024               Pg: 70 of 237

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USCA4 Appeal: 23-4760          Doc: 12              Filed: 04/01/2024       Pg: 72 of 237

            Case 1:23-mj-00304-RML Document 1 Filed 03/30/23 Page 1 of 3 PageID #: 1




         AB:MS

         UNITED STATES DISTRICT COURT
         EASTERN DISTRICT OF NEW YORK
         ---------------------------X

         UNITED STATES OF AMERICA                                    REMOVAL TO THE
                                                                     EASTERN DISTRICT OF
                      - against -                                    NORTH CAROLINA

         TIMOTHY MANN,                                               (Fed. R. Crim. P. 5)

                                    Defendant.                       Case No. 23-MJ-304

         ---------------------------X

         EASTERN DISTRICT OF NEW YORK, SS:

                         Thomas Jack, being duly sworn, deposes and states that he is a Deputy Marshal

         with the United States Marshals Service, duly appointed according to law and acting as such.

                         On March 28, 2023, the United States District Court for the Eastern District of

         North Carolina issued a warrant for the arrest of the defendant TIMOTHY MANN for a violation

         of his conditions of his pretrial release.

                         The source of your deponent’s information and the grounds for his belief are as

         follows: 1

                         1.         On or about December 13, 2022, the United States District Court for the

         Eastern District of North Carolina issued a warrant for the arrest of the defendant TIMOTHY

         MANN for a violation of Title 18, United States Code, Section 2261A(2) (cyberstalking). On

         December 20, 2022, MANN was arrested in the Eastern District of New York on that warrant

         and had an initial appearance before Judge Bulsara. See United States v. Timothy Mann, No.



                 1
                        Because the purpose of this Complaint is to set forth only those facts necessary to
         establish probable cause to arrest, I have not described all the relevant facts and circumstances of
         which I am aware.


                 Case 5:23-cr-00014-M-KS Document 30-1 Filed 04/03/23 Page 1 of 14
                                                           JA62
USCA4 Appeal: 23-4760           Doc: 12          Filed: 04/01/2024        Pg: 73 of 237

            Case 1:23-mj-00304-RML Document 1 Filed 03/30/23 Page 2 of 3 PageID #: 2

                                                                                                            2

         22-MJ-1355 (E.D.N.Y.). Judge Bulsara entered an order providing for the defendant’s release on

         $20,000 bond, as well conditions, including that he remain within New York City, Long Island,

         and the Eastern District of North Carolina; that he not contact the victims in his case; and that he

         be subject to home detention with location monitoring. Id., ECF No. 2.

                        2.       On January 18, 2023, the defendant was indicted in the Eastern District of

         North Carolina on two counts of cyberstalking, in violation of 18 U.S.C. § 2261A(2). A true

         and correct copy of that indictment is attached hereto as Exhibit A. The next day, January 19,

         2023, the defendant had an initial appearance in the Eastern District of North Carolina on that

         indictment. United States Magistrate Judge James E. Gates of the Eastern District of North

         Carolina adopted the conditions of release imposed by the Judge Bulsara, and also imposed

         additional conditions, including monitoring of the defendant’s computer usage, and that the

         defendant avoid contact with family members and close associates of any victims. A true and

         correct copy of Judge Gates’ order is attached as Exhibit B.

                        3.       On March 28, 2023, the United States District Court for the Eastern

         District of North Carolina issued a warrant for the defendant’s arrest for violation of his

         conditions of pretrial release. The violations alleged are that at the dates specified, MANN

         violated the court-imposed location monitoring conditions and refused to submit documentation

         about his leave requests. He also is alleged to have used an unauthorized and unmonitored

         device to reset a password associated with an Instagram account and then, using that account, to

         have contacted a friend of one of his victims through an unauthorized and unmonitored device.

         A true and correct copy of the March 28, 2023 warrant and an associated petition are attached

         hereto as Exhibit C.

                        4.       On March 29, 2023, members of the United States Marshals Service




                Case 5:23-cr-00014-M-KS Document 30-1 Filed 04/03/23 Page 2 of 14
                                                         JA63
USCA4 Appeal: 23-4760         Doc: 12           Filed: 04/01/2024       Pg: 74 of 237

            Case 1:23-mj-00304-RML Document 1 Filed 03/30/23 Page 3 of 3 PageID #: 3

                                                                                                        3

         arrested MANN on the March 28, 2023 warrant following a meeting between MANN and

         Pretrial Services.

                        5.        I have reviewed the March 28, 2023 warrant and a photograph of MANN

         on file with the U.S. Marshals Service. I observed that MANN’s appearance is consistent with

         the photograph of the TIMOTHY MANN wanted in the Eastern District of North Carolina.

         MANN also identified himself as TIMOTHY MANN. Finally, I asked MANN his date of birth

         and social security number, and his responses matched the date of birth and social security

         number on file with U.S. Marshal Service.

                                  WHEREFORE, your deponent respectfully requests that the defendant

         TIMOTHY MANN be removed to the Eastern District of North Carolina so that he may be dealt

         with according to law.


                                                      Thomas
                                                       homas Jack
                                                      Deputy Marshal, United States Marshals Service

         Sworn to before me this
         30th day of March, 2023


          S/ Robert Levy
         ____________________________________________
         THE HONORABLE ROBERT M. LEVY
         UNITED STATES MAGISTRATE JUDGE
         EASTERN DISTRICT OF NEW YORK




                Case 5:23-cr-00014-M-KS Document 30-1 Filed 04/03/23 Page 3 of 14
                                                       JA64
USCA4 Appeal: 23-4760    Doc: 12       Filed: 04/01/2024   Pg: 75 of 237

           Case 1:23-mj-00304-RML Document 1-1 Filed 03/30/23 Page 1 of 11 PageID #: 4




                                       EXHIBIT A




               Case 5:23-cr-00014-M-KS Document 30-1 Filed 04/03/23 Page 4 of 14
                                             JA65
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024    Pg: 76 of 237


            Case 1:23-mj-00304-RML Document 1-1 Filed 03/30/23 Page 2 of 11 PageID #: 5




                 Case5:23-cr-00014-M-KS
                Case   5:23-cr-00014-M-KS Document
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                                                                       Page 15 of
                                                                               of 214


                                               JA66
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024    Pg: 77 of 237


            Case 1:23-mj-00304-RML Document 1-1 Filed 03/30/23 Page 3 of 11 PageID #: 6




                 Case5:23-cr-00014-M-KS
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                                               JA67
USCA4 Appeal: 23-4760    Doc: 12       Filed: 04/01/2024   Pg: 78 of 237

           Case 1:23-mj-00304-RML Document 1-1 Filed 03/30/23 Page 4 of 11 PageID #: 7




                                       EXHIBIT B




               Case 5:23-cr-00014-M-KS Document 30-1 Filed 04/03/23 Page 7 of 14
                                             JA68
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024    Pg: 79 of 237


            Case 1:23-mj-00304-RML Document 1-1 Filed 03/30/23 Page 5 of 11 PageID #: 8




                 Case5:23-cr-00014-M-KS
                Case   5:23-cr-00014-M-KS Document
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                                                              04/03/23 Page
                                                                       Page 18 of
                                                                               of 414


                                               JA69
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024    Pg: 80 of 237


            Case 1:23-mj-00304-RML Document 1-1 Filed 03/30/23 Page 6 of 11 PageID #: 9




                 Case5:23-cr-00014-M-KS
                Case   5:23-cr-00014-M-KS Document
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                                                              04/03/23 Page
                                                                       Page 29 of
                                                                               of 414


                                               JA70
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024    Pg: 81 of 237


            Case 1:23-mj-00304-RML Document 1-1 Filed 03/30/23 Page 7 of 11 PageID #: 10




                  Case
                Case   5:23-cr-00014-M-KSDocument
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                                                                      Page 10
                                                                           3 ofof414


                                              JA71
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024    Pg: 82 of 237


            Case 1:23-mj-00304-RML Document 1-1 Filed 03/30/23 Page 8 of 11 PageID #: 11




                  Case
                Case   5:23-cr-00014-M-KSDocument
                     5:23-cr-00014-M-KS   Document  21 Filed
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                                                             01/19/23 Page
                                                                      Page 11
                                                                           4 ofof414


                                              JA72
USCA4 Appeal: 23-4760   Doc: 12        Filed: 04/01/2024   Pg: 83 of 237

          Case 1:23-mj-00304-RML Document 1-1 Filed 03/30/23 Page 9 of 11 PageID #: 12




                                       EXHIBIT &




               Case 5:23-cr-00014-M-KS Document 30-1 Filed 04/03/23 Page 12 of 14
                                             JA73
USCA4 Appeal: 23-4760            Doc: 12             Filed: 04/01/2024           Pg: 84 of 237

           Case 1:23-mj-00304-RML Document 1-1 Filed 03/30/23 Page 10 of 11 PageID #: 13

      PS-8
      8/88
                                         UNITED STATES DISTRICT COURT
                                                     for the
                                      EASTERN DISTRICT OF NORTH CAROLINA

      U.S.A. vs. Timothy Mann                                                                 Docket No. 5:23-CR-14-1M

                                Sealed Petition for Action on Conditions of Pretrial Release
                                                     Warrant Requested

      COMES NOW John Seth Coleman, U.S. Probation Officer of the Court, presenting an official report upon the conduct
      of defendant, Timothy Mann, who was placed under pretrial release supervision by the Honorable James E. Gates,
      U.S. Magistrate Judge, sitting in the Court at Raleigh, on the 19th day of January, 2023. Arraignment is scheduled
      for April 25, 2023, before the Honorable Richard E. Myers II, Chief District Judge.

      RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

      The supervising pretrial services officer in the Eastern District of New York has reported the following violations:
      The defendant violated the court-imposed Location Monitoring conditions on January 21, January 29, February 9,
      March 2, March 4, March 5, March 6, March 7, March 8, and March 9, 2023, and refuses to submit proper
      documentation regarding his leave requests. Furthermore, on February 13 and 14, 2023, the defendant used an
      unauthorized/unmonitored electronic device to access the social media applications WhatsApp and Telegram, neither
      of which are downloaded on his approved/monitored device. On February 20, 2023, the defendant used an
      unauthorized/unmonitored device to reset the password associated with the Instagram account “tim2sharp”. He
      received emails confirming the password reset, but does not have Instagram downloaded on his authorized/monitored
      device. On February 26, 2023, the defendant, using the username “tim2sharp”, used an unauthorized/unmonitored
      device to contact a friend of one of the victims.

      PRAYING THAT THE COURT WILL ORDER that a warrant be issued for the defendant's arrest and a bond
      hearing be scheduled to determine if the defendant's bond should be revoked. It is recommended that this petition and
      order be placed under seal until the execution of the warrant. The purpose of sealing this document is to facilitate
      officer safety and to disallow defendant's knowledge of issuance of the warrant. The clerk shall provide a copy of the
      petition and warrant to the U.S. Probation Office and the U.S. Attorney's Office.

      Reviewed and approved,                                    I declare under penalty of perjury that the foregoing is
                                                                true and correct.

      /s/ Keith W. Lawrence                                     /s/ John Seth Coleman
      Keith W. Lawrence                                         John Seth Coleman
      Supervising U.S. Probation Officer                        U.S. Probation Officer
                                                                150 Rowan Street Suite 110
                                                                Fayetteville, NC 28301
                                                                Phone: 910-354-2545
                                                                Executed On: March 22, 2023

                                                  ORDER OF THE COURT

                                  WK
      Considered and ordered the _______        0DUFK
                                         day of __________________, 2023, and ordered filed and made part of the
      records in the above case.




               Case 5:23-cr-00014-M-KS
       Case 5:23-cr-00014-M-KS         Document
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                                         26 *SEALED*   Filed 04/03/23 Page
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                                                                         03/28/23
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                                                              JA74
USCA4 Appeal: 23-4760                   Doc: 12                  Filed: 04/01/2024                 Pg: 85 of 237

              Case 1:23-mj-00304-RML Document 1-1 Filed 03/30/23 Page 11 of 11 PageID #: 14


    PROB 18
    (REV. 8/2/2010)                              UNITED STATES DISTRICT COURT
                                                               FOR
                                              EASTERN DISTRICT OF NORTH CAROLINA
                                                       Western   Division

    U.S.A. vs. MANN                                                                                                          5:23-CR-14-1M

    TO: 1 U.S. Marshal or Other Qualified Officer.

                                                               WARRANT FOR ARREST

          You are hereby commanded to arrest the within-named individual and bring them, forthwith, before United States District Court
          to answer charges that they have violated the conditions of their supervision imposed by the court

    NAME:
    TIMOTHY MANN

    SUPERVISION IMPOSED BY:                                                                                   DATE IMPOSED
    USMJ JAMES E. GATES                                                                                        1/19/2023

    TO BE BROUGHT BEFORE:



    CLERK                                                                                         ERK
                                                                                                   RK
                                                                                                   RK
                                                                                    (BY) DEPUTY CLERK                          DATE

    Peter A. Moore, Jr.                                                                                                        3/28/2023




                                                                          RETURN

    WARRANT RECEIVED AND EXECUTED                                       DATE RECEIVED                       DATE EXECUTED



    EXECUTING AGENCY (NAME AND ADDRESS)



    NAME                                           BY                    DATE


              1
               Insert designation of officer to whom the warrant is issued, e.g. " any United States Marshal or any other authorized officer;" or "any United
              States marshal;" or "any Special Agent of the Federal Bureau of Investigation" or "any United States Marshal or any Special Agent of the
              Federal Bureau of Investigation;" or "any agent of the Alcohol Tax Unit".




                 Case 5:23-cr-00014-M-KS
         Case 5:23-cr-00014-M-KS         Document
                                  Document         30-1 (Court
                                           27 *SEALED*   Filed 04/03/23 Page
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                                                                           03/28/23
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                                                                            JA75
USCA4 Appeal: 23-4760                Doc: 12                    Filed: 04/01/2024                  Pg: 86 of 237


                 Case 1:23-mj-00304-RML Document 3 Filed 03/30/23 Page 1 of 1 PageID #: 16


          Ap466A{fiev, I2/J7) Wsiverof Rult 5&S.I Hcanngs(Complainl or Indictment)


                                             United States District Court
                                                                              for the        w

                                                                       "E '0- '1- tJ-V
                           United States ofAmerica                             )                          -,^4 \a
                                                                                •\          XI        23-304 M
                                       V.                                       7       CaseNo.
                 Timothy Mann                                                  )
                                                                               j , Charging District's Case No. 5:23-CR-14-iM
                                   Defendant                                   }

                                                      WAIVER OF RULE 5 & 5,1 HEARINGS
                                                               (Complaint or Indictment)

                  1 undarsmnd that I hava been ^harg|y§fEl55'»c¥oF »HfcAROnNTT
                  f have been informed ofthe charges and of my rights to:
                                                                          \



                  (t)       retain counsel or request the assignment of counsel ifI am unable to retain counsel;
                  (2)       an identity hearing to determine whether lam.the person named in the charges;
                  (3) prociuction ofthe warrant,a certified copy ofthe warrant, or a reliable electronic copy ofeither; -
                  (4) • a preliminary hearing to determine whether there is probable cause to believe that an offense has b^n
                            committed, to be held within 14 days of my first appearance if I am in custody and 21 days otherwise,
                            unless I have been indicted beforehand.

                  (5)--     a hearing on any motion by the government for detention;
                  (6)       request a transfer of the proceedings to this district under Fed. R. Grim. P.20,to plead guilty.
                  I agree tojvaive my right(s) to:


                  O         a preliminary hearing.
                  0         a detention hearing.
                  a         an identity hearing, production of the judgment, warrant, and warrant application, and any preliminary
                            or detention hearing to which I may be entitled in this district I request that my'
                            a preliminary hearing and/or □ detention hearing be held in the prosecuting district, at a time set by
                            that court.           .     -

                  1 consent to the issuance of an order requiring my appearance in the prosecuting district where the charges are
         pending against me.


         Date:     ' 3/3/2023
                                                                                                 Dejudanl's signature


                                                                                          fixture ofdefendant's attorney
                                                                                        Micha^ Padden
                                                                                         Printed name of defendant's attorney




                          Case 5:23-cr-00014-M-KS Document 30-2 Filed 04/03/23 Page 1 of 1


                                                                          JA76
USCA4 Appeal: 23-4760    Doc: 12       Filed: 04/01/2024    Pg: 87 of 237


             Case 1:23-mj-00304-RML Document 4 Filed 03/31/23 Page 1 of 2 PageID #: 17




                 Case 5:23-cr-00014-M-KS Document 30-3 Filed 04/03/23 Page 1 of 2


                                              JA77
USCA4 Appeal: 23-4760    Doc: 12       Filed: 04/01/2024    Pg: 88 of 237


             Case 1:23-mj-00304-RML Document 4 Filed 03/31/23 Page 2 of 2 PageID #: 18




                 Case 5:23-cr-00014-M-KS Document 30-3 Filed 04/03/23 Page 2 of 2


                                              JA78
USCA4 Appeal: 23-4760        Doc: 12          Filed: 04/01/2024       Pg: 89 of 237


                               UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                     WESTERN DIVISION

                                         No. 5:23-CR-00014-M-KS



        UNITED STATES OF AMERICA                                    MOTION TO CONTINUE
                                                                    INITIAL APPEARANCE
            v.                                                        ON REVOCATION

        TIMOTHY MANN

             The Defendant, Timothy Mann, by and through undersigned counsel, respectfully moves

      the Court to continue the initial appearance on Revocation of Pretrial Release currently set for

      April 7, 2023, to date close to the Arraignment currently set for the April 25, 2023 term of Court.

      The following is offered in support of this motion:

         1. Mr. Mann was charged by Criminal Indictment filed in the Eastern District of North

             Carolina on January 18, 2023, charging him Two Counts of Cyberstalking, in violation of

             18 U.S.C. §2261A(2).

         2. Mr. Mann was arrested in the Eastern District of New York on or about December 20,

             2022, where he appeared in Court for an initial appearance and was released on conditions

             set by the Court, to include travel restrictions and home detention.

         3. On January 19, 2023 Mr. Mann had his Initial Appearance in the Eastern District of North

             Carolina before Magistrate Judge James E. Gates. Mr. Mann was released on same

             conditions adopted by the Eastern District of New York.

         4. Mr. Mann was arrested last week on alleged pretrial release violations and had an initial

             appearance in the Eastern District of New York on March 30, 3023. At that hearing, the

             Court released Mr. Mann under existing conditions.



                                                      1

                 Case 5:23-cr-00014-M-KS Document 31 Filed 04/05/23 Page 1 of 3

                                                      JA79
USCA4 Appeal: 23-4760       Doc: 12             Filed: 04/01/2024      Pg: 90 of 237


         5. Due to his financial circumstances, it would be a financial hardship for Mr. Mann to pay

             for transport to and lodging in North Carolina for both the Initial Appearance on

             Revocation currently scheduled for April 7, 2023 and his Arraignment currently scheduled

             for April 25, 2023..

         6. Undersigned counsel respectfully moves the Court to continue the initial appearance on

             Revocation of Pretrial Release currently set for April 7, 2023, to date of Arraignment

             currently set for April 25, 2023

         7. Undersigned counsel has contacted AUSA Jake Pugh and has not received a position as to

             this motion.

             Wherefore, Defendant Mann respectfully moves this Court to continue the Initial

      Appearance in this matter to the date of Arraignment, currently set for April 25, 2023.

             Respectfully submitted this 5th day of April, 2023.

                                                    G. ALAN DuBOIS
                                                    Federal Public Defender

                                                    /s/ David W. Venable
                                                    DAVID W. VENABLE
                                                    Assistant Federal Public Defender
                                                    Attorney for Defendant
                                                    Office of the Federal Public Defender
                                                    150 Fayetteville Street, Suite 450
                                                    Raleigh, North Carolina 27601
                                                    Telephone: 919-856-4236
                                                    Fax: 919-856-4477
                                                    E-mail: David_Venable@fd.org
                                                    N.C. State Bar No. 23307
                                                    LR 57.1 Counsel Appointed




                                                       2

               Case 5:23-cr-00014-M-KS Document 31 Filed 04/05/23 Page 2 of 3

                                                      JA80
USCA4 Appeal: 23-4760       Doc: 12             Filed: 04/01/2024      Pg: 91 of 237


                                       CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a copy of the foregoing was served upon:

      JAKE PUGH
      United States Attorney's Office - EDNC
      150 Fayetteville Street, Suite 2100
      Raleigh, NC 27601

      by electronically filing the foregoing with the Clerk of Court on April 5, 2023, using the CM/ECF
      system which will send notification of such filing to the above.

             This the 5th day of April, 2023.

                                                    /s/ David W. Venable
                                                    DAVID W. VENABLE
                                                    Assistant Federal Public Defender
                                                    Attorney for Defendant
                                                    Office of the Federal Public Defender
                                                    150 Fayetteville Street, Suite 450
                                                    Raleigh, North Carolina 27601
                                                    Telephone: 919-856-4236
                                                    Fax: 919-856-4477
                                                    E-mail: David_Venable@fd.org
                                                    N.C. State Bar No. 23307
                                                    LR 57.1 Counsel Appointed




                                                       3

               Case 5:23-cr-00014-M-KS Document 31 Filed 04/05/23 Page 3 of 3

                                                      JA81
USCA4 Appeal: 23-4760        Doc: 12          Filed: 04/01/2024       Pg: 92 of 237


                               UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                     WESTERN DIVISION

                                         No. 5 :23-CR-00014-M-KS



        UNITED STATES OF AMERICA
                                                                               ORDER
             v.

        TIMOTHY MANN


             This matter is before the Court on the defendant’s Unopposed Motion to move the initial

      appearance on the pretrial release revocation in this matter to April 25, 2023.

             For good cause shown, it is hereby ORDERED that the initial appearance on revocation in

      this matter be continued until                                  .

             This Court has determined that the ends of justice outweigh the best interests of the public

      and the defendant in a speedy trial. The delay occasioned by the continuance shall be excluded in

      computing the defendant’s speedy trial time. See 18 U.S.C. § 3161(h)(7).

             SO ORDERED.

             This     day of April, 2023.


                                            Robert T. Numbers, II
                                            United States Magistrate Judge




              Case 5:23-cr-00014-M-KS Document 31-1 Filed 04/05/23 Page 1 of 1

                                                      JA82
USCA4 Appeal: 23-4760        Doc: 12           Filed: 04/01/2024       Pg: 93 of 237


                                UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                      WESTERN DIVISION

                                             No. 5 :22-mj-02161-RN



        UNITED STATES OF AMERICA
                                                                              ORDER
             v.

        TIMOTHY MANN


             This matter is before the Court on the Defendant’s Motion to continue the initial appearance

      on the pretrial release revocation in this matter to April 25, 2023.

             For good cause shown, it is hereby ORDERED that the initial appearance on revocation in

      this matter be continued until                                   .

             This Court has determined that the ends of justice outweigh the best interests of the public

      and the defendant in a speedy trial. The delay occasioned by the continuance shall be excluded in

      computing the defendant’s speedy trial time. See 18 U.S.C. § 3161(h)(7).

             SO ORDERED.

             This      day of April, 2023.


                                             Robert T. Numbers, II
                                             United States Magistrate Judge




                  Case 5:23-cr-00014-M-KS Document 32 Filed 04/05/23 Page 1 of 1

                                                       JA83
USCA4 Appeal: 23-4760        Doc: 12           Filed: 04/01/2024       Pg: 94 of 237


                                UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                      WESTERN DIVISION

                                            No. 5 :22-mj-02161-RN



        UNITED STATES OF AMERICA
                                                                              ORDER
             v.

        TIMOTHY MANN


             This matter is before the Court on the Defendant’s Motion to continue the initial appearance

      on the pretrial release revocation in this matter to April 25, 2023.

             For good cause shown, it is hereby ORDERED that the initial appearance on revocation in

      this matter be continued until April 21, 2023 at 10:00am         .

             This Court has determined that the ends of justice outweigh the best interests of the public

      and the defendant in a speedy trial. The delay occasioned by the continuance shall be excluded in

      computing the defendant’s speedy trial time. See 18 U.S.C. § 3161(h)(7).

             SO ORDERED.

             This 5th day of April, 2023.


                                             Robert T. Numbers, II
                                             United States Magistrate Judge




                  Case 5:23-cr-00014-M-KS Document 33 Filed 04/05/23 Page 1 of 1

                                                       JA84
USCA4 Appeal: 23-4760            Doc: 12            Filed: 04/01/2024         Pg: 95 of 237

     PS-8
     8/88
                                       UNITED STATES DISTRICT COURT
                                                   for the
                                    EASTERN DISTRICT OF NORTH CAROLINA

     U.S.A. vs. Timothy Mann                                                               Docket No. 5:23-CR-14-1M

                             Amended Petition for Action on Conditions of Pretrial Release

     COMES NOW John Seth Coleman, U.S. Probation Officer of the Court, presenting an official report upon the conduct
     of defendant, Timothy Mann, who was placed under pretrial release supervision by the Honorable James E. Gates,
     U.S. Magistrate Judge, sitting in the Court at Raleigh, on the 19th day of January, 2023. Arraignment is scheduled
     for April 25, 2023, before the Honorable Richard E. Myers II, Chief District Judge. On March 22, 2023, a Petition
     for Action on Conditions of Pretrial Release was filed, and a Warrant for Arrest was issued by the Honorable James
     E. Gates, Magistrate Judge. On March 30, 2023, the defendant was arrested in the Eastern District of New York and
     a Rule 5 hearing was held before the Honorable Robert M. Levy, Magistrate Judge. At that time the Court set a bond
     in the amount of $20,000. The defendant was released from custody on March 31, 2023. A bond revocation hearing
     is scheduled for April 21, 2023, before the Honorable Brian S. Meyers, Magistrate Judge.

     RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

     The supervising pretrial services officer in the Eastern District of New York has reported the following violations:
     The defendant violated the court-imposed Location Monitoring conditions on January 21, January 29, February 9,
     March 2, March 4, March 5, March 6, March 7, March 8, and March 9, 2023, and refuses to submit proper
     documentation regarding his leave requests. Furthermore, on February 13 and 14, 2023, the defendant used an
     unauthorized/unmonitored electronic device to access the social media applications WhatsApp and Telegram, neither
     of which are downloaded on his approved/monitored device. On February 20, 2023, the defendant used an
     unauthorized/unmonitored device to reset the password associated with the Instagram account “tim2sharp”. He
     received emails confirming the password reset, but does not have Instagram downloaded on his authorized/monitored
     device. On February 26, 2023, the defendant used an unauthorized/unmonitored device to contact Instagram followers
     of one of the victims, using the username “tim2sharp”. Additionally, on April 17, 2023, our office was notified by
     Special Agent Michael Neylon of the Federal Bureau of Investigation, that on April 16, 2023, the defendant contacted
     one of the victims via Instagram message using the username “thereal2sharptim”.

     PRAYING THAT THE COURT WILL ORDER that a pretrial revocation hearing be conducted to determine if
     the defendant’s release on pretrial conditions should be revoked.

     Reviewed and approved,                                   I declare under penalty of perjury that the foregoing is
                                                              true and correct.

     /s/ Keith W. Lawrence                                    /s/ John Seth Coleman
     Keith W. Lawrence                                        John Seth Coleman
     Supervising U.S. Probation Officer                       U.S. Probation Officer
                                                              150 Rowan Street Suite 110
                                                              Fayetteville, NC 28301
                                                              Phone: 910-354-2545
                                                              Executed On: April 19, 2023

                                                ORDER OF THE COURT

     Considered and ordered the _______       April
                                 19th day of __________________, 2023, and ordered filed and made part of the
     records in the above case.




                    Case 5:23-cr-00014-M-KS Document 35 Filed 04/19/23 Page 1 of 1

                                                            JA85
USCA4 Appeal: 23-4760       Doc: 12          Filed: 04/01/2024      Pg: 96 of 237


                                UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NORTH CAROLINA
                                      WESTERN DIVISION
                                        NO. 5:23-CR-00014-M-KS


        UNITED STATES OF AMERICA
                                                              MOTION TO WITHDRAW AS
               v.                                               COUNSEL OF RECORD
        TIMOTHY MANN


             The Office of the Federal Public Defender hereby respectfully moves the Court for an

      order allowing it to withdraw as counsel of record for Timothy Mann. The grounds for this

      motion are based on an irretrievable breakdown in the professional relationship between Mr.

      Mann and the undersigned. Timothy Mann requests replacement counsel be appointed.

      Accordingly, undersigned counsel respectfully requests that this Court grant his Motion to

      Withdraw.

             WHEREFORE, the Office of the Federal Public Defender respectfully moves the Court

      for an order allowing it to withdraw as counsel for Mr. Mann, and for authorization to assign

      new counsel.

             Respectfully requested this 25th day of April, 2023.

                                                   G. ALAN DUBOIS
                                                   Federal Public Defender
                                                   /s/ David W. Venable
                                                   DAVID W. VENABLE
                                                   Assistant Federal Public Defender
                                                   Attorney for Defendant
                                                   Office of the Federal Public Defender
                                                   150 Fayetteville Street, Suite 450
                                                   Raleigh, North Carolina 27601
                                                   Telephone: 919-856-4236
                                                   Fax: 919-856-4477
                                                   E-mail: David_Venable@fd.org
                                                   N.C. State Bar No. 23307
                                                   LR 57.1 Counsel Appointed




              Case 5:23-cr-00014-M-KS Document 42 Filed 04/25/23 Page 1 of 2

                                                     JA86
USCA4 Appeal: 23-4760      Doc: 12           Filed: 04/01/2024       Pg: 97 of 237


                                           CERTIFICATE OF SERVICE

                I HEREBY CERTIFY that a copy of the foregoing was served upon:
         Jake D. Pugh
         United States Attorney's Office - EDNC
         150 Fayetteville Street, Suite 2100
         Raleigh, NC 27601

         by electronically filing the foregoing with the Clerk of Court on April 25, 2023, using the
         CM/ECF system which will send notification of such filing to the above.

                This the 25th day of April, 2023.

                                                /s/ David W. Venable
                                                DAVID W. VENABLE
                                                Assistant Federal Public Defender
                                                Attorney for Defendant
                                                Office of the Federal Public Defender
                                                150 Fayetteville Street, Suite 450
                                                Raleigh, North Carolina 27601
                                                Telephone: 919-856-4236
                                                Fax: 919-856-4477
                                                E-mail: David_Venable@fd.org
                                                N.C. State Bar No. 23307
                                                LR 57.1 Counsel Appointed




                                                          2



                  Case 5:23-cr-00014-M-KS Document 42 Filed 04/25/23 Page 2 of 2

                                                    JA87
USCA4 Appeal: 23-4760         Doc: 12        Filed: 04/01/2024      Pg: 98 of 237


                               UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                     WESTERN DIVISION

                                        NO. 5:23-CR-00014-M-KS



        UNITED STATES OF AMERICA
                                                                            ORDER
            v.

        TIMOTHY MANN


             This matter came before the undersigned District Court Judge, upon motion filed by the

      Office of the Federal Public Defender seeking leave to withdraw as counsel for Timothy Mann,

      the Defendant herein.

             Based upon a finding the irretrievable breakdown in the professional relationship between

      Defendant, Timothy Mann and Undersigned counsel, the Court concludes that the Office of the

      Federal Public Defender should be granted an order allowing it leave to withdraw as counsel for

      Mr. Mann.

             NOW, THEREFORE, it is hereby Ordered that the motion filed by the Office of the Federal

      Public Defender is allowed and that the Office of the Federal Public Defender is granted leave to

      withdraw as counsel for Mr. Mann.

             IT IS FURTHER ordered that the Federal Public Defender's Office is directed to appoint

      new counsel for the defendant.

      This ____ day of April, 2023.



                                                  _________________________________
                                                  RICHARD E. MYERS
                                                  Chief United States District Judge




              Case 5:23-cr-00014-M-KS Document 42-1 Filed 04/25/23 Page 1 of 1

                                                    JA88
USCA4 Appeal: 23-4760                Doc: 12                 Filed: 04/01/2024                Pg: 99 of 237




           AO 442 (REV. 12/85 Warrant for Arrest)                                                By USMS-E/NC at 3:05 pm, Apr 21, 2023

                                               UNITED STATES DISTRICT COURT
                                            EASTERN DISTRICT OF NORTH CAROLINA


           UNITED STATES OF AMERICA
                                                                                          (BENCH)
                          vs.                                                   WARRANT FOR ARREST

           TIMOTHY MANN                                                        CASE NUMBER: 5:23-CR-14-M-KS

           To: The United States Marshal and any Authorized United States Office:

           YOU ARE HEREBY COMMANDED to arrest

           _ Indictment _       lnfonnation _ _Complaint XX Order Of Court_               Violation Notice _ Probation _ Violation
           Petition


           CHARGING HIM OR HER WITH (Brief description of offense)

           FAILURE TO APPEAR FOR AN INITIAL APPEARANCE ON APRIL 21, 2023.

           In violation of Title See Above          United States Codes, Section(s) See Above



           BRIAN S. MEYERS                                             UNITED ST ATES MAGISTRATE JUDGE
           Name of Issuing Officer                                           Title of Issuing Officer




           ~                                                                    April 21, 2023 at Ralei2h, N.C.
                                                                                Date and Location



           Bond Recommended at: THE DEFENDANT SHALL BE BROUGHT BEFORE THE NEAREST UNITED
           STATES MAGISTRATE JUDGE UPON APPREHENSION FOR AN INITIAL APPEARANCE.



           RETURN This warrant was received and executed with the arrest of the above named defendant at_ _ _ __


           04/21/2023                                                       T. McPolin, USMS E/NY
           Date Received                                                        (Name and Title of Arresting Officer)


                                                                                (Signature)
           04/26/2023
           Date of Arrest


                         Case 5:23-cr-00014-M-KS Document 43 Filed 04/26/23 Page 104/26/2023
                                                                                   of 1      mlb


                                                                       JA89
USCA4 Appeal: 23-4760                    Doc: 12                Filed: 04/01/2024               Pg: 100 of 237

  PROB 18
  (REV. 8/2/2010)                              UNITED STATES DISTRICT COURT
                                                             FOR
                                            EASTERN DISTRICT OF NORTH CAROLINA
                                                     Western   Division

  U.S.A. vs. MANN                                                                                                          5:23-CR-14-1M
                                                               By USMS-E/NC at 9:48 am, Apr 21, 2023
  TO: 1 U.S. Marshal or Other Qualified Officer.

                                                             WARRANT FOR ARREST

        You are hereby commanded to arrest the within-named individual and bring them, forthwith, before United States District Court
        to answer charges that they have violated the conditions of their supervision imposed by the court

  NAME:
  TIMOTHY MANN

  SUPERVISION IMPOSED BY:                                                                                   DATE IMPOSED
  US MAGISTRIATE JAMES E. GATES                                                                              1/19/2023

  TO BE BROUGHT BEFORE:
  ANY US MAGISTRATE JUDGE

  CLERK                                                                                         ERK
                                                                                                 RK
                                                                                  (BY) DEPUTY CLERK                          D
                                                                                                                             DATE

  Peter A. Moore, Jr.                                                                                                        4
                                                                                                                             4/21/2023




                                                                        RETURN

  WARRANT RECEIVED AND EXECUTED                                       DATE RECEIVED                       DATE EXECUTED

                                                                     04/21/2023                                 04/26/2023
  EXECUTING AGENCY (NAME AND ADDRESS)
  USMS - Brooklyn, NY

  NAME                                           BY                    DATE
  T. McPolin, USMS E/NY                                                                       04/26/2023

            1
             Insert designation of officer to whom the warrant is issued, e.g. " any United States Marshal or any other authorized officer;" or "any United
            States marshal;" or "any Special Agent of the Federal Bureau of Investigation" or "any United States Marshal or any Special Agent of the
            Federal Bureau of Investigation;" or "any agent of the Alcohol Tax Unit".




                                                                                                               04/26/2023 mlb




       Case 5:23-cr-00014-M-KS
                 Case 5:23-cr-00014-M-KS
                                 Document 37
                                          Document
                                             *SEALED*
                                                   44 (Court
                                                       Filed 04/26/23
                                                             only) Filed
                                                                       Page
                                                                         04/21/23
                                                                            1 of 1 Page 1 of
                                                1
                                                                          JA90
USCA4 Appeal: 23-4760        Doc: 12           Filed: 04/01/2024         Pg: 101 of 237




                                   IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                             WESTERN DIVISION

                                            Case No. 5:23-cr-00014-M-KS

              UNITED STATES OF AMERICA,

                      Plaintiff,

              V.                                                                ORDER

               TIMOTHY MANN,

                      Defendant.


                   This matter comes before the court on the Office of the Federal Public Defender's motion

            to withdraw as counsel ofrecord for Timothy Mann [DE 39]. For good cause shown, the motion

            is GRANTED. The Office of the Federal Public Defender is granted leave to withdraw as counsel

            for Defendant. The Office of the Federal Public Defender is directed to appoint new counsel to

            represent Defendant in the above-captioned case.

                                            jt
                   SO ORDERED this '"2 '-'         day of April, 2023.




                                                        RICHARD E. MYERS II
                                                        CHIEF UNITED STATES DISTRICT JUDGE




                    Case 5:23-cr-00014-M-KS Document 45 Filed 04/26/23 Page 1 of 1


                                                       JA91
USCA4 Appeal: 23-4760              Doc: 12            Filed: 04/01/2024             Pg: 102 of 237

 Eastern District of New York - LIVE Database 1.7 (Revision 1....        https://nyed-ecf.sso.dcn/cgi-bin/DktRpt.pl?1052018785116...



                                      Query     Reports      Utilities      Help     What's New   Log Out

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                                   U.S. District Court
                         Eastern District of New York (Brooklyn)
              CRIMINAL DOCKET FOR CASE #: 1:23-mj-00398-PK All Defendants


          Case title: USA v. MANN                                               Date Filed: 04/26/2023

                                                                                Date Terminated: 04/26/2023


          Assigned to: Magistrate Judge Peggy
          Kuo


          Defendant (1)
          TIMOTHY MANN                                     represented by Nora K. Hirozawa
          TERMINATED: 04/26/2023                                          Federal Defenders of New York
                                                                          One Pierrepont Plaza
                                                                          Ste 16th Floor
                                                                          Brooklyn, NY 11201
                                                                          718-330-1200
                                                                          Email: nora_hirozawa@fd.org
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED
                                                                          Designation: Public Defender or
                                                                          Community Defender Appointment


          Pending Counts                                                           Disposition
          None


          Highest Offense Level (Opening)
          None


          Terminated Counts                                                        Disposition
          None


          Highest Offense Level

                          Case 5:23-cr-00014-M-KS Document 46 Filed 04/27/23 Page 1 of 3

 1 of 3                                                                                                       4/27/2023, 10:35 AM
                                                               JA92
USCA4 Appeal: 23-4760              Doc: 12            Filed: 04/01/2024      Pg: 103 of 237

 Eastern District of New York - LIVE Database 1.7 (Revision 1....   https://nyed-ecf.sso.dcn/cgi-bin/DktRpt.pl?1052018785116...



          (Terminated)
          None


          Complaints                                                       Disposition
          Failure to appear



          Plaintiff
          USA                                              represented by Matthew Charles Skurnik
                                                                          DOJ-USAO
                                                                          US Attorney's Office for the
                                                                          Eastern District of New Yo
                                                                          271 Cadman Plaza E
                                                                          Ste 4090
                                                                          Brooklyn, NY 11201
                                                                          718-254-6231
                                                                          Email: matthew.skurnik2@usdoj.gov
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED
                                                                          Designation: Government Attorney


          Date Filed       # Docket Text

          04/26/2023 1 RULE 5 AFFIDAVIT/REMOVAL TO THE EASTERN DISTRICT OF NORTH
                       CAROLINA by USA as to TIMOTHY MANN (FC) (Entered: 04/27/2023)

          04/26/2023           Arrest (Rule 5) of TIMOTHY MANN (FC) (Entered: 04/27/2023)

          04/26/2023           Minute Entry for proceedings held before Magistrate Judge Peggy
                               Kuo:Arraignment as to TIMOTHY MANN (1) Count Complaint held on
                               4/26/2023, Attorney Appointment Hearing as to TIMOTHY MANN held on
                               4/26/2023, Initial Appearance in Rule 5(c)(3) Proceedings as to TIMOTHY
                               MANN held on 4/26/2023. AUSA Matthew Skurnik present. Dft present
                               w/federal defender Nora Hirozawa. Removal proceeding to the Eastern
                               District of North Carolina hearing held. Dft previously waived identity
                               hearing. Commitment to another district order entered. (FTR Log
                               #4/26/23 3:40-3:49.) (FC) (Entered: 04/27/2023)

          04/26/2023 2 COMMITMENT TO ANOTHER DISTRICT as to TIMOTHY MANN.
                       Defendant committed to the Eastern District of North Carolina. Ordered
                       by Magistrate Judge Peggy Kuo on 4/26/2023. (FC) (Entered: 04/27/2023)



                          Case 5:23-cr-00014-M-KS Document 46 Filed 04/27/23 Page 2 of 3

 2 of 3                                                                                                  4/27/2023, 10:35 AM
                                                               JA93
USCA4 Appeal: 23-4760              Doc: 12            Filed: 04/01/2024      Pg: 104 of 237

 Eastern District of New York - LIVE Database 1.7 (Revision 1....   https://nyed-ecf.sso.dcn/cgi-bin/DktRpt.pl?1052018785116...



          04/26/2023 3 Notice to the Eastern District of North Carolina of a Rule 5 or Rule 32
                       Initial Appearance as to TIMOTHY MANN. Your case number is: 23CR14.
                       Docket sheet and documents attached. (If you require certified copies of
                       any documents, please send a request to
                       [InterDistrictTransfer_NYED@nyed.uscourts.gov]. If you wish to designate
                       a different email address for future transfers, send your request to
                       InterDistrictTransfer_TXND@txnd.uscourts.gov.) (FC) (Entered:
                       04/27/2023)




                          Case 5:23-cr-00014-M-KS Document 46 Filed 04/27/23 Page 3 of 3

 3 of 3                                                                                                  4/27/2023, 10:35 AM
                                                               JA94
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024   Pg: 105 of 237


              Case 1:23-mj-00398-PK Document 1 Filed 04/26/23 Page 1 of 18 PageID #: 1




                 Case 5:23-cr-00014-M-KS Document 46-1 Filed 04/27/23 Page 1 of 18


                                              JA95
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024   Pg: 106 of 237


              Case 1:23-mj-00398-PK Document 1 Filed 04/26/23 Page 2 of 18 PageID #: 2




                 Case 5:23-cr-00014-M-KS Document 46-1 Filed 04/27/23 Page 2 of 18


                                              JA96
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024   Pg: 107 of 237


              Case 1:23-mj-00398-PK Document 1 Filed 04/26/23 Page 3 of 18 PageID #: 3




                 Case 5:23-cr-00014-M-KS Document 46-1 Filed 04/27/23 Page 3 of 18


                                              JA97
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024   Pg: 108 of 237


              Case 1:23-mj-00398-PK Document 1 Filed 04/26/23 Page 4 of 18 PageID #: 4




                 Case 5:23-cr-00014-M-KS Document 46-1 Filed 04/27/23 Page 4 of 18


                                              JA98
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024   Pg: 109 of 237


              Case 1:23-mj-00398-PK Document 1 Filed 04/26/23 Page 5 of 18 PageID #: 5




                 Case 5:23-cr-00014-M-KS Document 46-1 Filed 04/27/23 Page 5 of 18


                                              JA99
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024   Pg: 110 of 237


              Case 1:23-mj-00398-PK Document 1 Filed 04/26/23 Page 6 of 18 PageID #: 6




                 Case 5:23-cr-00014-M-KS Document 46-1 Filed 04/27/23 Page 6 of 18


                                              JA100
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024   Pg: 111 of 237


              Case 1:23-mj-00398-PK Document 1 Filed 04/26/23 Page 7 of 18 PageID #: 7




                 Case 5:23-cr-00014-M-KS Document 46-1 Filed 04/27/23 Page 7 of 18


                                              JA101
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024   Pg: 112 of 237


              Case 1:23-mj-00398-PK Document 1 Filed 04/26/23 Page 8 of 18 PageID #: 8




                 Case 5:23-cr-00014-M-KS Document 46-1 Filed 04/27/23 Page 8 of 18


                                              JA102
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024   Pg: 113 of 237


              Case 1:23-mj-00398-PK Document 1 Filed 04/26/23 Page 9 of 18 PageID #: 9




                 Case 5:23-cr-00014-M-KS Document 46-1 Filed 04/27/23 Page 9 of 18


                                              JA103
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024   Pg: 114 of 237


             Case 1:23-mj-00398-PK Document 1 Filed 04/26/23 Page 10 of 18 PageID #: 10




                Case 5:23-cr-00014-M-KS Document 46-1 Filed 04/27/23 Page 10 of 18


                                              JA104
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024   Pg: 115 of 237


             Case 1:23-mj-00398-PK Document 1 Filed 04/26/23 Page 11 of 18 PageID #: 11




                Case 5:23-cr-00014-M-KS Document 46-1 Filed 04/27/23 Page 11 of 18


                                              JA105
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024
                                              JA106         Pg: 116 of 237
             Case 1:23-mj-00398-PK Document 1 Filed 04/26/23 Page 12 of 18 PageID #: 12
                Case 5:23-cr-00014-M-KS Document 46-1 Filed 04/27/23 Page 12 of 18
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024   Pg: 117 of 237


             Case 1:23-mj-00398-PK Document 1 Filed 04/26/23 Page 13 of 18 PageID #: 13




                Case 5:23-cr-00014-M-KS Document 46-1 Filed 04/27/23 Page 13 of 18


                                              JA107
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024   Pg: 118 of 237


             Case 1:23-mj-00398-PK Document 1 Filed 04/26/23 Page 14 of 18 PageID #: 14




                Case 5:23-cr-00014-M-KS Document 46-1 Filed 04/27/23 Page 14 of 18


                                              JA108
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024   Pg: 119 of 237


             Case 1:23-mj-00398-PK Document 1 Filed 04/26/23 Page 15 of 18 PageID #: 15




                Case 5:23-cr-00014-M-KS Document 46-1 Filed 04/27/23 Page 15 of 18


                                              JA109
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024   Pg: 120 of 237


             Case 1:23-mj-00398-PK Document 1 Filed 04/26/23 Page 16 of 18 PageID #: 16




                Case 5:23-cr-00014-M-KS Document 46-1 Filed 04/27/23 Page 16 of 18


                                              JA110
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024   Pg: 121 of 237


             Case 1:23-mj-00398-PK Document 1 Filed 04/26/23 Page 17 of 18 PageID #: 17




                Case 5:23-cr-00014-M-KS Document 46-1 Filed 04/27/23 Page 17 of 18


                                              JA111
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024   Pg: 122 of 237


             Case 1:23-mj-00398-PK Document 1 Filed 04/26/23 Page 18 of 18 PageID #: 18




                Case 5:23-cr-00014-M-KS Document 46-1 Filed 04/27/23 Page 18 of 18


                                              JA112
USCA4 Appeal: 23-4760    Doc: 12        Filed: 04/01/2024   Pg: 123 of 237


              Case 1:23-mj-00398-PK Document 2 Filed 04/26/23 Page 1 of 1 PageID #: 19




                 Case 5:23-cr-00014-M-KS Document 46-2 Filed 04/27/23 Page 1 of 1


                                              JA113
USCA4 Appeal: 23-4760     Doc: 12        Filed: 04/01/2024   Pg: 124 of 237


                            UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                                   NO. 5:23-CR-14-1-M



       UNITED STATES OF AMERICA


                                                         NOTICE OF APPEARANCE
                             v.


       TIMOTHY MANN



             NOW COMES undersigned counsel and informs the Court and the

       Government that he is making an appearance to represent the Defendant in this

       case, by court appointment.

             This the 28th day of April, 2023.


                                                    GAMMON, HOWARD &
                                                    ZESZOTARSKI, PLLC

                                                    /s/ Joseph E. Zeszotarski, Jr.
                                                    Joseph E. Zeszotarski, Jr.
                                                    State Bar No. 21310
                                                    115 ½ West Morgan Street
                                                    Raleigh, NC 27601
                                                    (919) 521-5878
                                                    jzeszotarski@ghz-law.com
                                                    Counsel for Defendant




              Case 5:23-cr-00014-M-KS Document 47 Filed 04/28/23 Page 1 of 1

                                                 JA114
USCA4 Appeal: 23-4760     Doc: 12         Filed: 04/01/2024    Pg: 125 of 237


                             UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION
                                    NO. 5:23-CR-14-1-M



       UNITED STATES OF AMERICA

                                                              MOTION TO CONTINUE
                              v.                                ARRAIGNMENT


       TIMOTHY MANN



             NOW COMES DEFENDANT Timothy Mann, through undersigned counsel,

       and respectfully moves this Court for an order continuing the arraignment in this

       case, currently set for 9 May 2023, to the June term of court. In support of this

       motion, Defendant shows the following:

             1.     Defendant’s prior counsel, AFPD David Venable, moved to withdraw

       from representation of Defendant on 25 April 2023. The motion to withdraw was

       granted by this Court on 26 April 2023.

             2.     Undersigned counsel was appointed to represent Defendant and

       entered a notice of appearance on 28 April 2023.

             3.     Defendant was arrested on a warrant for violation of his conditions of

       release on 26 April 2023 in New York.

             4.     Defendant moves to continue the arraignment in this case to the June

       term of court, for the following reasons:




               Case 5:23-cr-00014-M-KS Document 48 Filed 05/02/23 Page 1 of 2

                                                   JA115
USCA4 Appeal: 23-4760     Doc: 12        Filed: 04/01/2024     Pg: 126 of 237


                   a.     Undersigned counsel is new to the case and has not yet been

             able to meet with Defendant about his case. Additional time is necessary for

             undersigned counsel to review the discovery and other case documents and

             meet with Defendant about his case.

                   b.     Undersigned counsel is informed by the office of the United

             States Marshal that Defendant is in custody in New York and is in transit to

             this district, but not likely to arrive here prior to 9 May 2023.

             5.    Defendant consents to the exclusion of any period of time occasioned by

       this continuance from Speedy Trial Act calculations.

             6.    Undersigned counsel has contacted AUSA Jake Pugh, the prosecutor

       handling this case, regarding this motion, and Mr. Pugh states that the

       Government does not oppose this motion.

             WHEREFORE, Defendant respectfully requests that this motion be granted,

       and the arraignment in this case be continued to the June 2023 term of court.

             This the 2nd day of May, 2023.


                                                      GAMMON, HOWARD &
                                                      ZESZOTARSKI, PLLC

                                                      /s/ Joseph E. Zeszotarski, Jr.
                                                      Joseph E. Zeszotarski, Jr.
                                                      State Bar No. 21310
                                                      115 ½ West Morgan Street
                                                      Raleigh, NC 27601
                                                      (919) 521-5878
                                                      jzeszotarski@ghz-law.com
                                                      Counsel for Defendant




                                            2
               Case 5:23-cr-00014-M-KS Document 48 Filed 05/02/23 Page 2 of 2

                                               JA116
USCA4 Appeal: 23-4760     Doc: 12        Filed: 04/01/2024     Pg: 127 of 237


                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

                                     No. 5:23-CR-14-1-M


       UNITED STATES OF AMERICA



                     v.                                          ORDER

       TIMOTHY MANN



             This matter comes before the Court on Defendant’s motion to continue

       arraignment. The Government does not oppose this motion. For good cause shown,

       the Motion is GRANTED, and it is ORDERED that the arraignment in this case is

       continued to the _____________________________________________ term of court.

             The court finds that the period of delay occasioned by this continuance is

       excluded from the Speedy Trial Act calculations, because the ends of justice served

       by the continuance outweigh the interest of the public and the defendant in a

       speedy trial under 18 USC § 3161(h)(7)(A) by permitting Defendant and his counsel

       sufficient opportunity to prepare his defense.

             SO ORDERED.

             This the _____ day of May, 2023.

                                                        ____________________________________
                                                        RICHARD E. MYERS II
                                                        Chief United States District Judge




              Case 5:23-cr-00014-M-KS Document 48-1 Filed 05/02/23 Page 1 of 1

                                                JA117
USCA4 Appeal: 23-4760                   Doc: 12               Filed: 04/01/2024        Pg: 128 of 237

   AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing



                                         UNITED STATES DISTRICT COURT
                                                                      for the
                                                         Eastern District of North Carolina

                     United States of America
                                                                         )
                                v.                                              Case No.                5:23-CR-14-M-KS
                                                                         )
                                                                         )
                                                                         )
   TIMOTHY MANN                                                          )
                                Defendant


                                            ORDER SCHEDULING PRELIMINARY AND DETENTION HEARINGS



             A detention hearing in this case is scheduled as follows:


             Terry Sanford Federal Building
   Place:                                                                       Courtroom No.:      6th Floor
             310 New Bern Avenue
             Raleigh, NC                                                        Date and Time:      5/17/23 at 10:00 am

           IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
   marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
   place set forth above.




   Date:         11 May 2023
                                                                                                   Judge’s signature


                                                                                   James E. Gates, United States Magistrate Judge
                                                                                                 Printed name and title




                         Case 5:23-cr-00014-M-KS Document 51 Filed 05/11/23 Page 1 of 1
                                                                     JA118
USCA4 Appeal: 23-4760                   Doc: 12                Filed: 04/01/2024            Pg: 129 of 237



      AO 468 (Rev. 01/09) Waiver ofa Preliminary Hearing


                                             UNITED STATES DISTRICT COURT
                                                                         for the                            FILED IN OPEN COURT n r2,t
                                                           Eastern District of North Carolina               ON      S\ ')..:}..\
                                                                                                                              a-'\ lJ
                                                                                                                Peter A. Moore, Jr., Clerk
                                                                                                                US District Court
                         United States of America                            )                                  Eastern District of NC
                                        V.                                   )
                                                                             )     Case
                                                                                                5:23-CR-17-M-KS
                                                                             ~     No.
      TIMOTHY MANN


                                                 WAIVER OF A PRELIMINARY HEARING

             I understand that I have been charged with an offense in a criminal complaint filed in this court, or
      charged with violating the terms of probation or supervised release in a petition filed in this court. A
      magistrate judge has informed me of my right to a preliminary hearing under Fed. R. Crim. P. 5, or to a
      preliminary hearing under Fed. R. Crim. P. 32.1.

                I agree to waive my right to a preliminary hearing under Fed. R. Crim. P. 5 or Fed. R. Crim. P. 32.1.




                                                                                                Defendant 's signature




                                                                                   Printed name and bar number of defendant 's attorney




                            Case 5:23-cr-00014-M-KS Document 54 Filed 05/22/23 Page 1 of 1


                                                                       JA119
USCA4 Appeal: 23-4760        Doc: 12            Filed: 04/01/2024         Pg: 130 of 237


                                                                                      FILED IN O' EN COURT
                                                                                      ON     --5  ~ d- ~
                                                                                                     ';)_I         13,w..
                                                                                          Peter A. Moore, Jr., Clerk
                                                                                          US District Court
                                                                                          Eastern District of NC
                                   UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                         WESTERN DIVISION
                                          NO. 5:23-CR-14-M-KS


           UNITED STATES OF AMERICA                             )
                                                                )
                           vs.                                  ) WAIVER OF DETENTION HEARING
                                                                )
                                                                )
           TIMOTHY MANN                                         )


                   I, TIMOTHY MANN, charged with an offense against the laws of the United States,
           acknowledge that I have been informed by the Court of the Complaint, Information, Indictment, or
           Motion for Revocation against me, of any Affidavit filed therewith, and the right to be represented
           by counsel, all of which I fully understand, and I do hereby waive my rights to a Detention Hearing
           in this case.




                                                                Defendant's Signature




                                                                Defense Counsel's Name PLEASE PRINT




                                                                Date




                     Case 5:23-cr-00014-M-KS Document 55 Filed 05/22/23 Page 1 of 1


                                                       JA120
USCA4 Appeal: 23-4760          Doc: 12          Filed: 04/01/2024          Pg: 131 of 237




                                   IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                             WESTERN DIVISION
                                                                         FILED IN OPEN COURT         -l,
                                              5:23-CR- 14-M-KS
                                                                        ON       5      ::t ~ C3 y2,C  l-;u.. \
                                                                                               Peter A. Moore, Jr., Clerk
                                                                                               US District Court
                                                                                               Eastern District of NC
           UNITED STATES OF AMERICA                              )
                                                                 )
                          V.                                     )
                                                                 )
           TIMOTHY MANN,                                         )
                                                                 )
                          Defendant.                             )


                                    WAIVER OF A REVOCATION HEARING

                   I understand that I have been charged with violating one or more conditions of pretrial
           release in a petition filed in this court. A magistrate judge has informed me of my right to a
           revocation hearing. I agree to waive my right to a revocation hearing. I understand that, based on
           this waiver, no revocation hearing will be held, and the court will find that I have violated one or
           more conditions of pretrial release as alleged in the petition, will revoke my pretrial release, and
           will order my detention until the trial in this case or entry of a guilty plea in place of a trial.



                                                                 Defendant's signature




                                                                 Printed name and bar number of defendant' s
                                                                 attorney

                                                                     j~esz ..b~•'=-;e.J. l..'-· l.. ~. o-...
                                                                 E-mail address of defendan ~ attorney


                                                                 Telephone number of defendant's attorney




                    Case 5:23-cr-00014-M-KS Document 56 Filed 05/22/23 Page 1 of 1


                                                        JA121
USCA4 Appeal: 23-4760         Doc: 12         Filed: 04/01/2024       Pg: 132 of 237


                                IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                         WESTERN DIVISION
                                           5:23-CR-14-M-KS

       UNITED STATES OF AMERICA                         )
                                                        )
                       v.                               )        ORDER OF REVOCATION OF
                                                        )       PRETRIAL RELEASE AND FOR
       TIMOTHY MANN,                                    )       DETENTION PENDING TRIAL
                                                        )
                       Defendant.                       )

              This case came before the court for a preliminary hearing, revocation hearing, and

      detention hearing on May 22, 2023 on the government’s petition [DE-36], pursuant to 18 U.S.C.

      § 3148(b), for revocation of defendant’s pretrial release (see Release Ord. [DE-21]) and thereby

      for his detention pending trial. Defendant submitted three forms to the court providing for the

      waiver, respectively, of the preliminary hearing, revocation hearing, and detention hearing. See

      [DE-54; 55; 56]. After questioning defendant regarding the forms, and as announced in open court,

      the court determined that the waivers were knowingly and voluntarily provided, and it accepted

      them.

              As also announced in open court, based upon (i) the waiver of the preliminary hearing and

      (ii) the statements made in the revocation petition, the court found that the violations of pretrial

      release alleged in the petition are supported by probable cause. Next, based upon the waivers of

      the revocation hearing and detention hearing, the court found that defendant must be detained

      pending trial.

              IT IS THEREFORE ORDERED that the petition is ALLOWED; defendant’s pretrial

      release is REVOKED; and pending trial, defendant is REMANDED to the custody of the Attorney

      General or his designated representative for confinement in a corrections facility separate, to the

      extent practicable, from persons awaiting or serving sentences or being held in custody pending



               Case 5:23-cr-00014-M-KS Document 57 Filed 05/25/23 Page 1 of 2

                                                     JA122
USCA4 Appeal: 23-4760        Doc: 12          Filed: 04/01/2024        Pg: 133 of 237


      appeal. Defendant shall be afforded a reasonable opportunity for private consultation with defense

      counsel. On order of a court of the United States or on request of an attorney for the government,

      the person in charge of the corrections facility shall deliver defendant to the United States Marshal

      for the purpose of an appearance in connection with a court proceeding.

             The 25th day of May, 2023.



                                                            _________________________
                                                            Brian S. Meyers
                                                            United States Magistrate Judge




                                                       2

               Case 5:23-cr-00014-M-KS Document 57 Filed 05/25/23 Page 2 of 2

                                                     JA123
USCA4 Appeal: 23-4760     Doc: 12       Filed: 04/01/2024    Pg: 134 of 237


                            UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                                   NO. 5:23-CR-14-1-M



       UNITED STATES OF AMERICA

                                                            MOTION TO CONTINUE
                             v.                               ARRAIGNMENT


       TIMOTHY MANN



             NOW COMES DEFENDANT Timothy Mann, through undersigned counsel,

       and respectfully moves this Court for an order continuing the arraignment in this

       case, currently set for 21 June 2023, to the July term of court. In support of this

       motion, Defendant shows the following:

             1.    Defendant’s prior counsel, AFPD David Venable, moved to withdraw

       from representation of Defendant on 25 April 2023. The motion to withdraw was

       granted by this Court on 26 April 2023.

             2.    Undersigned counsel was appointed to represent Defendant and

       entered a notice of appearance on 28 April 2023.

             3.    Defendant’s conditions of release were revoked by the Court at a

       hearing on 22 May 2023, and Defendant was detained pending at that time.

       Defendant is being held currently at the Wake County Jail.

             4.    Shortly after the 22 May 2023 court appearance, undersigned counsel

       learned that Defendant had been placed in quarantine at the Wake County Jail,



               Case 5:23-cr-00014-M-KS Document 58 Filed 06/09/23 Page 1 of 2

                                                 JA124
USCA4 Appeal: 23-4760     Doc: 12       Filed: 04/01/2024     Pg: 135 of 237


       and therefore the jail would not permit any meetings between counsel and

       Defendant. For that reason, undersigned counsel has been unable to meet with

       Defendant to prepare his case and determine the course of action in this case.

             5.     Defendant therefore respectfully requests that the arraignment in this

       matter be continued to the July 2023 term of court.

             6.     Defendant consents to the exclusion of any period of time occasioned by

       this continuance from Speedy Trial Act calculations.

             7.     Undersigned counsel has contacted AUSA Jake Pugh, the prosecutor

       handling this case, regarding this motion, and Mr. Pugh states that the

       Government does not oppose this motion.

             WHEREFORE, Defendant respectfully requests that this motion be granted,

       and the arraignment in this case be continued to the July 2023 term of court.

             This the 9th day of June, 2023.


                                                    GAMMON, HOWARD &
                                                    ZESZOTARSKI, PLLC

                                                    /s/ Joseph E. Zeszotarski, Jr.
                                                    Joseph E. Zeszotarski, Jr.
                                                    State Bar No. 21310
                                                    115 ½ West Morgan Street
                                                    Raleigh, NC 27601
                                                    (919) 521-5878
                                                    jzeszotarski@ghz-law.com
                                                    Counsel for Defendant




                                            2
               Case 5:23-cr-00014-M-KS Document 58 Filed 06/09/23 Page 2 of 2

                                               JA125
USCA4 Appeal: 23-4760     Doc: 12        Filed: 04/01/2024     Pg: 136 of 237


                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

                                     No. 5:23-CR-14-1-M


       UNITED STATES OF AMERICA



                     v.                                          ORDER

       TIMOTHY MANN



             This matter comes before the Court on Defendant’s motion to continue

       arraignment. The Government does not oppose this motion. For good cause shown,

       the Motion is GRANTED, and it is ORDERED that the arraignment in this case is

       continued to the _____________________________________________ term of court.

             The court finds that the period of delay occasioned by this continuance is

       excluded from the Speedy Trial Act calculations, because the ends of justice served

       by the continuance outweigh the interest of the public and the defendant in a

       speedy trial under 18 USC § 3161(h)(7)(A) by permitting Defendant and his counsel

       sufficient opportunity to prepare his defense.

             SO ORDERED.

             This the _____ day of June, 2023.

                                                        ____________________________________
                                                        RICHARD E. MYERS II
                                                        Chief United States District Judge




              Case 5:23-cr-00014-M-KS Document 58-1 Filed 06/09/23 Page 1 of 1

                                               JA126
USCA4 Appeal: 23-4760       Doc: 12       Filed: 04/01/2024    Pg: 137 of 237


                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION

                                        NO. 5:23-CR-0014-M

        UNITED STATES OF AMERICA

              v.                                          CONSENT MOTION FOR
                                                           PROTECTIVE ORDER
        TIMOTHY MANN




             The United States of America, by and through the United States Attorney for

       the Eastern District of North Carolina, requests that this Court issue a protective

       order restricting the duplication and dissemination of discovery material in this case

       pursuant to Federal Rule of Criminal Procedure 16(d).

             1.       The discovery material to be produced to the defendant in this case is

       voluminous, including hundreds of pages of documents and substantial electronic

       evidence, much of which contain personal identifying information.

             2.       The discovery material to be produced to the defendant in this case also

       contains other confidential and/or sensitive information. Specifically, the discovery

       contains substantial material arising from forensic examination of victims’ mobile

       devices.

             3.       It is within the Court’s authority under Federal Rule of Criminal

       Procedure 16(d) to order that the use, further duplication and/or dissemination of the

       unredacted discovery material be restricted as set forth in the attached proposed

       protective order.




                  Case 5:23-cr-00014-M-KS Document 59 Filed 07/14/23 Page 1 of 3

                                                JA127
USCA4 Appeal: 23-4760     Doc: 12        Filed: 04/01/2024    Pg: 138 of 237


             4.     The United States has contacted counsel for the defendant, Joseph E.

       Zeszotarski, Jr., who consents to this motion and the proposed protective order.

             WHEREFORE, for the reasons stated above, the United States requests that

       this Court issue a Protective Order in this case.

             Respectfully submitted this 14th day of July, 2023.



                                               MICHAEL F. EASLEY, JR.
                                               United States Attorney

                                        By:    /s/ Jake D. Pugh
                                               JAKE D. PUGH
                                               Assistant U.S. Attorney
                                               Criminal Division
                                               150 Fayetteville St., Suite 2100
                                               Raleigh, NC 27601
                                               Phone: (919) 856-4530
                                               Email: jacob.pugh@usdoj.gov
                                               S.C. Bar No. 100859




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               Case 5:23-cr-00014-M-KS Document 59 Filed 07/14/23 Page 2 of 3

                                               JA128
USCA4 Appeal: 23-4760    Doc: 12          Filed: 04/01/2024   Pg: 139 of 237


                                 CERTIFICATE OF SERVICE
             This certifies that a copy of this motion has, this 14th day of July, 2023, been

       served upon the defendant by CM/ECF as follows:

             Joseph E. Zeszotarski, Jr.
             Counsel for the Defendant



                                       By:     /s/ Jake D. Pugh
                                               JAKE D. PUGH
                                               Assistant U.S. Attorney
                                               Criminal Division
                                               150 Fayetteville St., Suite 2100
                                               Raleigh, NC 27601
                                               Phone: (919) 856-4530
                                               Email: jacob.pugh@usdoj.gov
                                               S.C. Bar No. 100859




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              Case 5:23-cr-00014-M-KS Document 59 Filed 07/14/23 Page 3 of 3

                                               JA129
USCA4 Appeal: 23-4760       Doc: 12        Filed: 04/01/2024    Pg: 140 of 237


                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION

                                         NO. 5:23-CR-0014-M

        UNITED STATES OF AMERICA

                v.                                             PROTECTIVE ORDER

        TIMOTHY MANN




                To expedite the flow of discovery material between the parties, facilitate the

       prompt resolution of disputes over confidentiality, and adequately protect

       information entitled to be kept confidential, it is, pursuant to the Court’s authority

       under Federal Rule of Criminal 16(d), and with the agreement of the parties,

       ORDERED:

                1.    Counsel for the defendant and anyone else directly or indirectly

       receiving discovery from the Government shall not copy, disclose, or otherwise make

       available any documents in this case or information from those documents to any

       person who is not an attorney or staff member of counsel’s office who is then working

       on this case, to someone defense counsel’s office is then employing or contracting with

       to work on this case.

                2.    Counsel shall not provide the defendant with any copies of discovery in

       this case or any information contained in that discovery without the permission of an

       attorney for the Government who is working on this case or further order of this

       Court.




                Case 5:23-cr-00014-M-KS Document 59-1 Filed 07/14/23 Page 1 of 2

                                                 JA130
USCA4 Appeal: 23-4760     Doc: 12        Filed: 04/01/2024    Pg: 141 of 237


             3.     Counsel shall not provide any of the above-listed individuals the

       discovery in this case without their agreement to the terms of this order.

             4.     Discovery material provided by the United States may be used by

       counsel for the defendant solely in connection with the preparation, trial, sentencing,

       direct appeal, and collateral attack of this case and for no other purpose and in

       connection with no other proceeding. No additional copies of the discovery material

       shall be made except as necessary for those purposes. Any copies shall be treated in

       the same manner as the original material.

             5.     The parties shall comply with all statutes, regulations, and rules

       pertaining to the disclosure of personal identity information, including Federal Rule

       of Criminal Procedure 49.1 and the Privacy Act of 1974, 5 U.S.C. § 552a. The parties

       shall not file personal identity information with, or submit such information to, the

       Court or reproduce such information’s contents in any court filing unless the filing is

       placed under seal, with the Court’s consent, or otherwise complies with Federal Rule

       of Criminal Procedure 49.1.

             6.     This Order does not constitute a ruling on the question of whether any

       particular material is properly discoverable or admissible and does not constitute any

       ruling on any potential objection to the discoverability of any material.


             DONE AND ORDERED this _____ day of __________________, 2023.



                                               ______________________
                                               RICHARD E. MYERS II
                                               Chief United States District Judge

                                                  2

              Case 5:23-cr-00014-M-KS Document 59-1 Filed 07/14/23 Page 2 of 2

                                               JA131
USCA4 Appeal: 23-4760     Doc: 12        Filed: 04/01/2024    Pg: 142 of 237


                            UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                                   NO. 5:23-CR-14-1-M



       UNITED STATES OF AMERICA

                                                             MOTION TO CONTINUE
                             v.                                ARRAIGNMENT


       TIMOTHY MANN



             NOW COMES DEFENDANT Timothy Mann, through undersigned counsel,

       and respectfully moves this Court for an order continuing the arraignment in this

       case, currently set for 26 July 2023, to the August term of court. In support of this

       motion, Defendant shows the following:

             1.     Defendant’s prior counsel, AFPD David Venable, moved to withdraw

       from representation of Defendant on 25 April 2023. The motion to withdraw was

       granted by this Court on 26 April 2023.

             2.     Undersigned counsel was appointed to represent Defendant and

       entered a notice of appearance on 28 April 2023.

             3.     Defendant’s conditions of release were revoked by the Court at a

       hearing on 22 May 2023, and Defendant was detained pending at that time.

       Defendant is being held currently at the Wake County Jail.

             4.     Undersigned counsel has worked with Defendant in reviewing the

       discovery and his options in the case. On 17 July 2023, the Government provided



               Case 5:23-cr-00014-M-KS Document 60 Filed 07/17/23 Page 1 of 2

                                                 JA132
USCA4 Appeal: 23-4760       Doc: 12         Filed: 04/01/2024   Pg: 143 of 237


       additional relevant discovery to the defense. Additional time is needed to review

       this discovery. In addition, a protective order applies to this new discovery that will

       require undersigned counsel to review this discovery in person with Defendant,

       rather than providing a copy to Defendant for review. For these reasons, Defendant

       respectfully requests that the arraignment be continued to the August 2023 term of

       court.

                5.    Defendant consents to the exclusion of any period of time occasioned by

       this continuance from Speedy Trial Act calculations.

                6.    Undersigned counsel has contacted AUSA Jake Pugh, the prosecutor

       handling this case, regarding this motion, and Mr. Pugh states that the

       Government does not oppose this motion.

                WHEREFORE, Defendant respectfully requests that this motion be granted,

       and the arraignment in this case be continued to the August 2023 term of court.

                This the 17th day of July, 2023.


                                                       GAMMON, HOWARD &
                                                       ZESZOTARSKI, PLLC

                                                       /s/ Joseph E. Zeszotarski, Jr.
                                                       Joseph E. Zeszotarski, Jr.
                                                       State Bar No. 21310
                                                       115 ½ West Morgan Street
                                                       Raleigh, NC 27601
                                                       (919) 521-5878
                                                       jzeszotarski@ghz-law.com
                                                       Counsel for Defendant




                                              2
                 Case 5:23-cr-00014-M-KS Document 60 Filed 07/17/23 Page 2 of 2

                                                   JA133
USCA4 Appeal: 23-4760     Doc: 12        Filed: 04/01/2024     Pg: 144 of 237


                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

                                     No. 5:23-CR-14-1-M


       UNITED STATES OF AMERICA



                     v.                                          ORDER

       TIMOTHY MANN



             This matter comes before the Court on Defendant’s motion to continue

       arraignment. The Government does not oppose this motion. For good cause shown,

       the Motion is GRANTED, and it is ORDERED that the arraignment in this case is

       continued to the _____________________________________________ term of court.

             The court finds that the period of delay occasioned by this continuance is

       excluded from the Speedy Trial Act calculations, because the ends of justice served

       by the continuance outweigh the interest of the public and the defendant in a

       speedy trial under 18 USC § 3161(h)(7)(A) by permitting Defendant and his counsel

       sufficient opportunity to prepare his defense.

             SO ORDERED.

             This the _____ day of July, 2023.

                                                        ____________________________________
                                                        RICHARD E. MYERS II
                                                        Chief United States District Judge




              Case 5:23-cr-00014-M-KS Document 60-1 Filed 07/17/23 Page 1 of 1

                                                 JA134
USCA4 Appeal: 23-4760        Doc: 12            Filed: 04/01/2024           Pg: 145 of 237




                                  IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                           WESTERN DIVISION

                                                 NO. 5:23-CR-00014-M

             UNITED ST ATES OF AMERICA

                    V.                                                      PROTECTIVE ORDER

             TIMOTHY MANN


                   To expedite the flow of discovery material between the parties, facilitate the prompt

            resolution of disputes over confidentiality, and adequately protect information entitled to be

            kept confidential, it is, pursuant to the Court' s authority under Federal Rule of Criminal 16(d),

            and with the agreement of the parties, ORDERED:

                   1.      Counsel for the defendant and anyone else directly or indirectly rece1vmg

            discovery from the Government shall not copy, disclose, or otherwise make available any

            documents in this case or information from those documents to any person who is not an

            attorney or staff member of counsel ' s office who is then working on this case, to someone

            defense counsel ' s office is then employing or contracting with to work on this case.

                   2.      Counsel shall not provide the defendant with any copies of discovery in this

            case or any information contained in that discovery without the permission of an attorney for

            the Government who is working on this case or further order of this Court.

                   3.      Counsel shall not provide any of the above-listed individuals the discovery in

            this case without their agreement to the terms of this order.

                   4.      Discovery material provided by the United States may be used by counsel for

            the defendant solely in connection with the preparation, trial, sentencing, direct appeal, and

            collateral attack of this case and for no other purpose and in connection with no other




                    Case 5:23-cr-00014-M-KS Document 61 Filed 07/24/23 Page 1 of 2


                                                        JA135
USCA4 Appeal: 23-4760       Doc: 12             Filed: 04/01/2024             Pg: 146 of 237




            proceeding. No additional copies of the discovery material shall be made except as necessary

            for those purposes. Any copies shall be treated in the same manner as the original material.

                   5.      The parties shall comply with all statutes, regulations, and rules pertaining to

            the disclosure of personal identity information, including Federal Rule of Criminal Procedure

            49.1 and the Privacy Act of 1974, 5 U.S.C. § 552a. The parties shall not file personal identity

            information with, or submit such information to, the Court or reproduce such information' s

            contents in any court filing unless the filing is placed under seal, with the Court's consent, or

            otherwise complies with Federal Rule of Criminal Procedure 49.1.

                   6.      This Order does not constitute a ruling on the question of whether any

            particular material is properly discoverable or admissible and does not constitute any ruling on

            any potential objection to the discoverability of any material.

                                             $'
                   SO ORDERED this        2~      day of July, 2023.




                                                          RICHARD E. MYERS II
                                                          CHIEF UNITED STATES DISTRICT JUDGE




                                                            2
                    Case 5:23-cr-00014-M-KS Document 61 Filed 07/24/23 Page 2 of 2


                                                       JA136
USCA4 Appeal: 23-4760    Doc: 12       Filed: 04/01/2024   Pg: 147 of 237




                                  UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF NORTH CAROLINA
                                        WESTERN DIVISION

                --------------------------------------------------------

                 UNITED STATES OF AMERICA,

                                   Plaintiff,

                        -vs-                      Case No. 5:23-CR-14-M-KS-1


                 TIMOTHY MANN,

                                   Defendant.

                --------------------------------------------------------

                                          ARRAIGNMENT
                                       AUGUST 23, 2023
                        THE HONORABLE CHIEF JUDGE RICHARD E. MYERS II
                                 UNITED STATES DISTRICT JUDGE



                A P P E A R A N C E S


                On Behalf of the Government

                CHARITY L. WILSON
                United States Attorney's Office - EDNC
                150 Fayetteville Street, Suite 2100
                Raleigh, North Carolina 27601

                On Behalf of the Defendant

                JOSEPH E. ZESZOTARSKI, JR.
                Gammon, Howard & Zeszotarski, PLLC
                115 1/2 West Morgan Street
                Raleigh, North Carolina 27601




                                      Risa Kramer, RMR, CRR
                                     Official Court Reporter
                                   United States District Court
                                   Wilmington, North Carolina



           Case 5:23-cr-00014-M-KS Document 84 Filed 01/26/24 Page 1 of 22


                                            JA137
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 148 of 237



                                                                                    2


          1                          TRANSCRIPT OF PROCEEDINGS

          2                    (Proceedings commenced at 10:01 a.m.)

          3                     THE COURT:     All right.      If the clerk would

          4     please call the cases.

          5                     THE CLERK:     United States of America versus

          6     Timothy Mann.

          7                     MR. ZESZOTARSKI:       Good morning, Your Honor.

          8     Joe Zeszotarski for Mr. Mann.            He's told me he intends

          9     to plead not guilty this morning.

         10                     (Other cases were addressed by the Court.)

         11                     THE COURT:     All right.      Good morning,

         12     everyone.

         13                     You're here today for the purpose of

         14     entering a plea to the charges brought against you by

         15     the United States.        Before accepting your plea of either

         16     guilty or not guilty, there are a number of things that

         17     I must tell you.       This will include an explanation of

         18     your rights, the process that occurs between now and

         19     your sentencing hearing, and some information concerning

         20     sentencing itself.        This process takes us a little time.

         21                     It's important that you fully understand my

         22     statements.      If you don't understand me at any time,

         23     please say so.       I can repeat myself.         You may confer

         24     with your lawyer if you need anything explained to you.

         25     There will be a break after this group advisement during




              Case 5:23-cr-00014-M-KS Document 84 Filed 01/26/24 Page 2 of 22
                                               JA138
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024    Pg: 149 of 237



                                                                                       3


          1     which you may speak with your lawyer.               After the Court

          2     completes this group portion of the advice of rights,

          3     each defendant's case will be called for purposes of

          4     entering the defendant's plea of either guilty or not

          5     guilty.     Each defendant will be sworn and questioned

          6     individually under oath before the Court's acceptance of

          7     a plea.

          8                     Each defendant should pay close attention to

          9     what the Court is about to say.              It will be an important

         10     part of each defendant's case, and later I'll ask each

         11     of you if you heard and understood the Court's comments.

         12     I now advise each defendant as follows.

         13                     You have the right to plead not guilty, or

         14     having already so pleaded, to persist in that plea.

         15                     You have the right to a jury trial in your

         16     individual case.       At a trial, you have the right to be

         17     represented by counsel and, if necessary, have the Court

         18     appoint counsel to represent you at trial and at every

         19     other stage of the proceedings.              Whether you plead

         20     guilty or not guilty does not affect your right to

         21     counsel.

         22                     You have the right to confront and

         23     cross-examine witnesses, to be protected from compelled

         24     self-incrimination, to testify if you choose to do so,

         25     to present evidence, and to compel the attendance of




              Case 5:23-cr-00014-M-KS Document 84 Filed 01/26/24 Page 3 of 22
                                               JA139
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 150 of 237



                                                                                    4


          1     witnesses on your behalf.          The Court advises you that

          2     you waive or give up all of those trial-related rights

          3     if you plead guilty and the Court accepts your plea of

          4     guilty.

          5                     Please listen carefully to the following

          6     additional consequences that arise if you plead guilty

          7     and the Court accepts your guilty plea.

          8                     If you are convicted in federal court of a

          9     crime, whether by guilty plea or at a trial, a defendant

         10     who is not a U.S. citizen may be removed from the United

         11     States, denied citizenship, and denied admission to the

         12     United States in the future.           Furthermore, a guilty plea

         13     may deprive you of certain valuable civil rights, such

         14     as the right to vote, the right to serve on a jury, the

         15     right to hold public office, and the right to possess

         16     any kind of firearm.

         17                     If you plead guilty, you'll have to waive

         18     your right not to incriminate yourself because the Court

         19     will ask you questions about what you did in order to

         20     ensure that you are guilty as charged, and you'll have

         21     to acknowledge your guilt.

         22                     If you plead guilty, the Court may impose

         23     the same punishment as if you had pleaded not guilty and

         24     been convicted by a jury.

         25                     If you're on probation, parole, or




              Case 5:23-cr-00014-M-KS Document 84 Filed 01/26/24 Page 4 of 22
                                               JA140
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 151 of 237



                                                                                         5


          1     supervised release in another case, in this or another

          2     court, by pleading guilty here, your probation or parole

          3     may be revoked, and you may be required to serve time in

          4     that case in addition to any sentence imposed upon you

          5     as a result of your guilty plea here.

          6                     Unless otherwise advised at sentencing, any

          7     fine imposed will bear interest.

          8                     You most likely will be given a term of

          9     supervised release in addition to any term of

         10     imprisonment.        The term of supervised release will

         11     follow imprisonment and will be conditioned on your

         12     noncommission of another federal, state, or local crime,

         13     and such other conditions as may be appropriate.                If you

         14     violate the conditions of supervised release, you may be

         15     subject to further imprisonment.

         16                     Additionally, regardless of the advisory

         17     sentencing guidelines ultimately found to be

         18     appropriate, you may not withdraw a guilty plea tendered

         19     and conditionally accepted today.

         20                     For those of you pleading guilty, I'm now

         21     gonna tell you about the process that occurs between now

         22     and sentencing.

         23                     These matters are set for sentencing at the

         24     November 28th, 2023, term of court here in Wilmington.

         25     The probation office will prepare a written presentence




              Case 5:23-cr-00014-M-KS Document 84 Filed 01/26/24 Page 5 of 22
                                               JA141
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 152 of 237



                                                                                        6


          1     report to assist the Court in sentencing.               You will be

          2     asked to give information for the presentence report,

          3     and your lawyer may be present with you.               At the end of

          4     this hearing, your lawyer will speak to the probation

          5     officer present in this courtroom about arranging for

          6     your interview sometime today, or certainly within three

          7     business days.       After your interview, the probation

          8     office will prepare a presentence report.               You and your

          9     lawyer will receive a copy of the presentence report.

         10     Please read it carefully because the information in it

         11     may have a significant impact on your case.

         12                     You have the right to file objections to the

         13     presentence report.        In fact, within 15 days of

         14     receiving the presentence report, you and your lawyer

         15     must communicate in writing to the probation office

         16     stating any objections you may have to any information

         17     contained in or omitted from the report.               The Court will

         18     not consider any dispute which has not been the subject

         19     of such written communication.

         20                     Further, the Court will consider and resolve

         21     only issues relevant to disputed sentencing factors

         22     previously stated in writing and additionally brought to

         23     its attention by you or your lawyer at the time of

         24     sentencing.

         25                     At sentencing, you should advise the Court




              Case 5:23-cr-00014-M-KS Document 84 Filed 01/26/24 Page 6 of 22
                                               JA142
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 153 of 237



                                                                                       7


          1     orally if you have any objection to any matter contained

          2     in or omitted from the presentence report.                Objections

          3     not stated by you or your lawyer will be deemed

          4     abandoned.      Your failure to challenge any prior

          5     convictions before the imposition of your sentence will

          6     bar your contesting those convictions at a later date.

          7                     In sum, if you do not contest the facts set

          8     forth in the presentence report, then the Court may

          9     accept those facts as accurate and may rely on them in

         10     determining your sentence.

         11                     At the sentencing hearing, the Court will

         12     rule on any objections to the presentence report raised

         13     by you or the government.          Between now and the

         14     sentencing hearing, you will, of course, have access to

         15     consult with your lawyer to prepare for sentencing.

         16                     If you or your lawyer would like the Court

         17     to consider any sentencing memorandum concerning your

         18     case, it must be filed not later than seven days before

         19     your sentencing hearing.          The same deadline applies to

         20     other written materials submitted on your behalf, such

         21     as character letters.         I will tell you that this Court

         22     takes very seriously any character letters submitted on

         23     your behalf.

         24                     I'll now inform you about certain

         25     information concerning sentencing.




              Case 5:23-cr-00014-M-KS Document 84 Filed 01/26/24 Page 7 of 22
                                               JA143
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024     Pg: 154 of 237



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          1                     In determining your sentence, the Court must

          2     calculate the applicable advisory sentencing guideline

          3     range and consider that range.               Although the United

          4     States Sentencing Guidelines are no longer mandatory due

          5     to a case called United States versus Booker, the Court

          6     must still consider those guidelines as well as all

          7     relevant statutory factors in determining your sentence.

          8     In addition, the Court must consider possible departures

          9     under the sentencing guidelines and consider other

         10     sentencing factors under Title 18, United States Code,

         11     Section 3553(a).       Of course, the Court also will

         12     consider any motion or memorandum filed by you or the

         13     United States, your lawyer's argument, any statement you

         14     wish to make at the appropriate time, any victim

         15     allocution if one appears in your case, and the

         16     arguments of the Assistant United States Attorney.

         17                     Please understand that your lawyer's

         18     calculation of an advisory guideline range is only an

         19     estimate and that the Court will determine the guideline

         20     range at the sentencing hearing.

         21                     In addition, the Court has the legal

         22     authority in some circumstances to impose a sentence

         23     that is more severe or less severe than the sentence

         24     called for by the advisory guidelines range.                    The Court

         25     can do so via departure under the guidelines or a




              Case 5:23-cr-00014-M-KS Document 84 Filed 01/26/24 Page 8 of 22
                                               JA144
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 155 of 237



                                                                                         9


          1     variance under the statute.

          2                     It's important that you understand that it's

          3     the Court that will determine your actual sentence.

          4     Your actual sentence may be different from any estimate

          5     your lawyer or anyone else may have given you.                  If you

          6     enter a plea of guilty and the Court accepts that plea,

          7     then the Court has the legal authority to sentence you

          8     to the maximum sentence on each count permitted by law.

          9     I'll discuss these possible sentences with each of you

         10     individually.        If the Court imposed such a maximum

         11     sentence, you would not be allowed to withdraw your

         12     guilty plea.

         13                     At the sentencing hearing, after the Court

         14     has considered all arguments, information, the advisory

         15     guidelines range, and all relevant sentencing factors

         16     under federal law, I'll announce your sentence in open

         17     court.

         18                     This concludes my explanation to all

         19     defendants.      The Court will now consider each case

         20     individually.

         21                     All right.     We'll be taking up the Mann case

         22     first.    We'll take a five-minute recess.

         23                     (Recess in proceedings.)

         24                     MR. ZESZOTARSKI:       Your Honor, Mr. Mann just

         25     informed me that he has changed his mind and wishes to




              Case 5:23-cr-00014-M-KS Document 84 Filed 01/26/24 Page 9 of 22
                                               JA145
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 156 of 237



                                                                                  10


          1     plead guilty to the indictment as charged.

          2                     I can tell the Court that I discussed this

          3     with him a bit this morning, and at the conclusion of

          4     our talk, he told me that he wished to plead not guilty.

          5     But he now has just told me that he's changed his mind

          6     and wishes to plead guilty, straight up to the

          7     indictment.

          8                     THE COURT:      Okay.    We will proceed with a

          9     guilty plea.

         10                     All right.      If the clerk would please call

         11     the case.

         12                     THE CLERK:      United States of America versus

         13     Timothy Mann.

         14                     THE COURT:      Counsel, please state your

         15     appearance for the record.

         16                     MS. WILSON:      Good morning, Your Honor.

         17     Charity Wilson on behalf of the government.

         18                     MR. ZESZOTARSKI:        Joe Zeszotarski for

         19     Mr. Mann, Your Honor.

         20                     THE COURT:      Good morning, Mr. Mann.

         21                     If the clerk would please administer the

         22     oath.

         23                     THE CLERK:      Please place your left hand on

         24     the Bible, raise your right hand, and state your full

         25     name for the record.




              Case 5:23-cr-00014-M-KS Document 84 Filed 01/26/24 Page 10 of 22
                                               JA146
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 157 of 237



                                                                                  11


          1                     THE DEFENDANT:       Timothy Mann.

          2                     (The defendant was placed under oath.)

          3                     THE COURT:      Let me get the right form in

          4     front of me.

          5                     Mr. Mann, do you understand you're now under

          6     oath, and if you do not answer my questions truthfully,

          7     the United States may use your answers against you in

          8     another prosecution for perjury or for making false

          9     statements?

         10                     THE DEFENDANT:       Yes, sir.

         11                     THE COURT:      How old are you, sir?

         12                     THE DEFENDANT:       Just turned 25 years old.

         13                     THE COURT:      How far did you go in school?

         14                     THE DEFENDANT:       I graduated twelfth grade,

         15     and I also graduated college.            I have my associate's

         16     degree.

         17                     THE COURT:      Okay.    Do you speak and

         18     understand English?

         19                     THE DEFENDANT:       Yes, sir.

         20                     THE COURT:      Do you read and write in

         21     English?

         22                     THE DEFENDANT:       Yes.

         23                     THE COURT:      Do you have any illness or

         24     condition that affects your ability to hear and

         25     understand these proceedings today?




              Case 5:23-cr-00014-M-KS Document 84 Filed 01/26/24 Page 11 of 22
                                               JA147
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 158 of 237



                                                                                   12


          1                     THE DEFENDANT:       No, sir.

          2                     THE COURT:      Have you taken any drugs,

          3     medicine, pills, or drunk any alcohol within the last 24

          4     hours?

          5                     THE DEFENDANT:       No, sir.

          6                     THE COURT:      Mr. Zeszotarski, do you have any

          7     doubt as to your client's competence to plead at this

          8     time?

          9                     MR. ZESZOTARSKI:        As to competence, no, Your

         10     Honor.

         11                     I will tell the Court that there is some

         12     history of mental health issues in the past and that we

         13     will likely be presenting some evidence of that to the

         14     Court later in this case.           But on the issue of

         15     competence, I am confident that Mr. Mann's competent.

         16                     THE COURT:      All right.      So that may come

         17     back at mitigation at sentencing?

         18                     MR. ZESZOTARSKI:        Correct.

         19                     THE COURT:      All right.      Ms. Wilson, does the

         20     United States have any such doubt?

         21                     MS. WILSON:      No, sir.

         22                     THE COURT:      Based on this Court's questions

         23     and the defendant's and counsel's answers, this Court

         24     finds that the defendant is competent to enter a plea

         25     today.




              Case 5:23-cr-00014-M-KS Document 84 Filed 01/26/24 Page 12 of 22
                                               JA148
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 159 of 237



                                                                                 13


          1                     Mr. Mann, do you have any questions about

          2     the rights I described to you earlier today?

          3                     THE DEFENDANT:       No, sir.

          4                     THE COURT:      The Court incorporates by

          5     reference the prior advice of rights given during the

          6     group portion of this proceeding.

          7                     Have you received a copy of the indictment?

          8     That is the written charges against you in this case.

          9                     THE DEFENDANT:       Yes, sir.

         10                     THE COURT:      Have you had an adequate

         11     opportunity to discuss the indictment and your case with

         12     your lawyer?

         13                     THE DEFENDANT:       Yes, sir.

         14                     THE COURT:      Have you had all the

         15     conversations with him that you need?

         16                     THE DEFENDANT:       Yes, sir.

         17                     THE COURT:      Are you fully satisfied with

         18     your lawyer's legal services in your case?

         19                     THE DEFENDANT:       Yes, sir.

         20                     THE COURT:      As for the charges, the Court

         21     advises you as follows.

         22                     In count 1 of the indictment, the grand jury

         23     charges from in or around February 2022 through in or

         24     around November 2022, in the Eastern District of North

         25     Carolina and elsewhere, the defendant, Timothy Mann,




              Case 5:23-cr-00014-M-KS Document 84 Filed 01/26/24 Page 13 of 22
                                               JA149
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 160 of 237



                                                                                 14


          1     with the intent to injure, harass, and intimidate victim

          2     D.E., used facilities of interstate and foreign

          3     commerce, including electronic mail and Internet social

          4     media applications, to engage in a course of conduct

          5     that caused substantial emotional distress to D.E. and

          6     placed him in reasonable fear of death and serious

          7     bodily injury, in violation of Title 18, United States

          8     Code, Sections 2261A(2).

          9                     In count 2 of the indictment, the grand jury

         10     charges that from in or around March 2022 through in or

         11     around November 2022, in the Eastern District of North

         12     Carolina and elsewhere, defendant Timothy Mann, with the

         13     intent to injure, harass, and intimidate victim Q.H.,

         14     used facilities of interstate and foreign commerce,

         15     including electronic mail and Internet social media

         16     applications, to engage in a course of conduct that

         17     caused substantial emotional distress to Q.H. and placed

         18     her in reasonable fear of death and serious bodily

         19     injury, in violation of Title 18, United States Code,

         20     Sections 2261A(2).

         21                     Mr. Mann, do you understand the charges?

         22                     THE DEFENDANT:       Yes, sir.

         23                     THE COURT:      The Court advises you as follows

         24     as to maximum possible penalty as to each charge.

         25                     The penalties for each of counts 1 and 2 are




              Case 5:23-cr-00014-M-KS Document 84 Filed 01/26/24 Page 14 of 22
                                               JA150
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 161 of 237



                                                                                          15


          1     the same.      So as to each count, the penalty is not more

          2     than five years imprisonment, a fine not to exceed

          3     $250,000, or both such fine and imprisonment; not more

          4     than three years on supervised release; not more than

          5     two years of imprisonment upon revocation of supervised

          6     release; a 100-dollar special assessment; and

          7     restitution, if applicable.

          8                     Mr. Mann, has anyone made any promise to you

          9     or anyone else that caused you to decide to plead

         10     guilty?

         11                     THE DEFENDANT:       No, sir.

         12                     THE COURT:      Has anyone attempted in any way

         13     to force you to plead guilty?

         14                     THE DEFENDANT:       No, sir.

         15                     THE COURT:      Has anyone threatened you or

         16     anyone else and thereby caused you to plead guilty?

         17                     THE DEFENDANT:       No, sir.

         18                     THE COURT:      Do you understand that the

         19     charges to which you intend to plead guilty are

         20     felonies, and that if your guilty plea is accepted, you

         21     will be found guilty of those charges?

         22                     THE DEFENDANT:       That's correct.          Yes, sir.

         23                     THE COURT:      Do you understand that right

         24     now, at this very moment, you still have the legal right

         25     to plead not guilty to every charge brought against you?




              Case 5:23-cr-00014-M-KS Document 84 Filed 01/26/24 Page 15 of 22
                                               JA151
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 162 of 237



                                                                                          16


          1                     THE DEFENDANT:       Yes, sir.

          2                     THE COURT:      Do you understand if you plead

          3     not guilty, you would enjoy all of the trial rights that

          4     I have described to you?

          5                     THE DEFENDANT:       Yes, sir.

          6                     THE COURT:      Do you also understand that if

          7     you enter a plea of guilty and I accept it, there will

          8     not be a trial?        Instead, you will have waived or given

          9     up your right to a trial as well as all of the trial

         10     rights that I've previously described to you.                    Do you

         11     understand?

         12                     THE DEFENDANT:       Yes, sir.     That's correct.

         13                     THE COURT:      Has anyone made any promise to

         14     you as to what your sentence will be?

         15                     THE DEFENDANT:       No, sir.

         16                     THE COURT:      Have you answered all of my

         17     questions truthfully today?

         18                     THE DEFENDANT:       Yes, sir.

         19                     THE COURT:      I'm now going to read the

         20     charges and ask you how you plead.

         21                     In count 1 of the indictment, the grand jury

         22     charges that from in or around February 2022 through in

         23     or around November 2022, in the Eastern District of

         24     North Carolina and elsewhere, defendant Timothy Mann,

         25     with the intent to injure, harass, and intimidate victim




              Case 5:23-cr-00014-M-KS Document 84 Filed 01/26/24 Page 16 of 22
                                               JA152
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 163 of 237



                                                                                 17


          1     D.E., used facilities of interstate and foreign

          2     commerce, including electronic mail and Internet social

          3     media applications, to engage in a course of conduct

          4     that caused substantial emotional distress to D.E. and

          5     placed him in reasonable fear of death and serious

          6     bodily injury, in violation of Title 18, United States

          7     Code, Sections 2261A(2).

          8                     How do you now plead to count 1?

          9                     THE DEFENDANT:       Guilty, Your Honor.

         10                     THE COURT:      Did you do it?

         11                     THE DEFENDANT:       Yes, sir.

         12                     THE COURT:      So you now admit that you are,

         13     in fact, guilty as charged in count 1?

         14                     THE DEFENDANT:       Yes, sir.

         15                     THE COURT:      In count 2 of the indictment,

         16     the grand jury charges that from in or around March 2022

         17     through in or around November 2022, in the Eastern

         18     District of North Carolina and elsewhere, defendant

         19     Timothy Mann, with the intent to injure, harass, and

         20     intimidate victim Q.H., used facilities of interstate

         21     and foreign commerce, including electronic mail and

         22     Internet social media applications, to engage in a

         23     course of conduct that caused substantial emotional

         24     distress to Q.H. and placed her in reasonable fear of

         25     death and serious bodily injury, in violation of




              Case 5:23-cr-00014-M-KS Document 84 Filed 01/26/24 Page 17 of 22
                                               JA153
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 164 of 237



                                                                                 18


          1     Title 18, United States Code, Sections 2261A(2).

          2                     How do you now plead to count 2?

          3                     THE DEFENDANT:       Guilty, Your Honor.

          4                     THE COURT:      Did you do it?

          5                     THE DEFENDANT:       Yes, sir.

          6                     THE COURT:      Then you now admit that you are,

          7     in fact, guilty as charged in count 2?

          8                     THE DEFENDANT:       Yes, sir.

          9                     THE COURT:      Ms. Wilson, please make a

         10     proffer or put on evidence concerning the facts the

         11     United States would be prepared to prove at trial so the

         12     Court may determine whether there's an independent

         13     factual basis for the plea.

         14                     MS. WILSON:      Thank you, Your Honor.

         15                     Had this matter been a trial, some of the

         16     evidence that the government would have been prepared to

         17     show beyond a reasonable doubt is that around May of

         18     2021, a resident of North Carolina whose initials are

         19     D.E. met this defendant, Timothy Mann, through social

         20     media.     Mr. Mann at that point lived in New York but

         21     later moved to North Carolina.

         22                     D.E. had noticed that Mr. Mann's behavior

         23     began getting a bit erratic, and so he distanced himself

         24     from Mr. Mann, and this resulted in some hostility.

         25                     Mr. Mann began contacting D.E. and his




              Case 5:23-cr-00014-M-KS Document 84 Filed 01/26/24 Page 18 of 22
                                               JA154
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 165 of 237



                                                                                          19


          1     mother, who has the initials of Q.H., repeatedly.                  And

          2     despite their attempts to block him, he persisted in

          3     contacting them using various ways; for example,

          4     anonymous phone numbers, social media accounts, and

          5     e-mail accounts.        He also would message other family

          6     members of D.E. and Q.H.          The messages were consistent

          7     in style and also content.           They came from accounts with

          8     very similar usernames, and many were violent and

          9     threatening.

         10                     For example, in late February or early

         11     March, D.E. received a comment on an Instagram post of

         12     his daughter that said:          I hope your white daughter is

         13     with you when I take you out so her last memory is her

         14     father getting his brains out.

         15                     Then again, February 11th, 2022, an

         16     Instagram message to D.E.'s girlfriend said:                  Tatti and

         17     I know where you live and I'm gonna handle you.                  I'm

         18     gonna shoot you, believe that white spic, and in the

         19     meantime I hope your baby dies and you bleed out, and

         20     yes I will piss on your child, whore.

         21                     That same day, D.E.'s stepfather received a

         22     text message photo of a Glock pistol that included the

         23     statement:      I will not be held accountable, I don't give

         24     a fuck about the police because after I kill him I'm

         25     gonna kill myself.         He will pay for all he did to me.




              Case 5:23-cr-00014-M-KS Document 84 Filed 01/26/24 Page 19 of 22
                                               JA155
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 166 of 237



                                                                                  20


          1                     On March the 10th, 2022, D.E.'s mother,

          2     Q.H., received a message saying:             Bullets go through

          3     windows, houses, and cars.           I'm just getting started.

          4     And that was accompanied by a photo of her home.

          5                     In October, specifically October 24th, 2022,

          6     a message to D.E. and Q.H., Mann said that Q.H. would

          7     have bullet holes all through her body and that she

          8     can't stay in her home for 24 hours.              He continued

          9     saying that they better hope and pray Raleigh Police

         10     Department gets there fast enough.

         11                     And finally, November 28th, 2022, there were

         12     messages sent to D.E.'s aunt saying repeatedly that

         13     Mr. Mann planned to kill Q.H. on Christmas Day and that

         14     he had been planning this for a while and was ready to

         15     die if necessary.

         16                     The evidence would be that this did cause

         17     substantial emotional distress to both D.E. and Q.H.,

         18     and both were in reasonable fear of their life, or at

         19     the very least, serious bodily injury from this

         20     defendant.

         21                     Thank you, Your Honor.

         22                     THE COURT:      Thank you, counsel.

         23                     All right.      Mr. Mann, do you disagree with

         24     any of the facts just presented by the Assistant United

         25     States Attorney?




              Case 5:23-cr-00014-M-KS Document 84 Filed 01/26/24 Page 20 of 22
                                               JA156
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 167 of 237



                                                                                         21


          1                     THE DEFENDANT:       No.

          2                     THE COURT:      In light of the plea of guilty

          3     and the United States' proffer, the Court finds that the

          4     plea is supported by an independent basis in fact as to

          5     each of the essential elements of the offenses.                    The

          6     Court also finds that the defendant is fully competent

          7     and capable of entering an informed plea, that the

          8     defendant is aware of the nature of the charges, the

          9     maximum penalties, the mandatory minimum sentence if

         10     any, his rights, and the consequences of pleading

         11     guilty.

         12                     The Court also finds that the defendant's

         13     plea of guilty is knowing and voluntary.               The plea is

         14     therefore accepted, and the defendant is now adjudged

         15     guilty of the charges in counts 1 and 2 of the

         16     indictment.

         17                     Mr. Zeszotarski, do you wish to be heard

         18     today on detention?

         19                     MR. ZESZOTARSKI:        No, Your Honor.          Thank

         20     you.

         21                     THE COURT:      Defendant having been

         22     adjudicated guilty, he's remanded to the custody of the

         23     United States Marshal.          Good luck to you, Mr. Mann.

         24                     (Proceedings concluded at 10:28 a.m.)

         25




              Case 5:23-cr-00014-M-KS Document 84 Filed 01/26/24 Page 21 of 22
                                               JA157
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 168 of 237



                                                                                 22


          1                            C E R T I F I C A T E

          2

          3               I certify that the foregoing is a correct

          4     transcript from the record of proceedings in the

          5     above-entitled matter.

          6

          7     /s/Risa A. Kramer                                  1/26/2024

          8     Risa A. Kramer, RMR, CRR                           Date

          9

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              Case 5:23-cr-00014-M-KS Document 84 Filed 01/26/24 Page 22 of 22
                                               JA158
USCA4 Appeal: 23-4760    Doc: 12       Filed: 04/01/2024   Pg: 169 of 237




                                  UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF NORTH CAROLINA
                                        WESTERN DIVISION

                --------------------------------------------------------

                 UNITED STATES OF AMERICA,

                                   Plaintiff,

                        -vs-                      Case No. 5:23-CR-14-M-KS-1


                 TIMOTHY MANN,

                                   Defendant.

                --------------------------------------------------------

                                      SENTENCING HEARING
                                       NOVEMBER 30, 2023
                        THE HONORABLE CHIEF JUDGE RICHARD E. MYERS II
                                 UNITED STATES DISTRICT JUDGE



                A P P E A R A N C E S


                On Behalf of the Government

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                United States Attorney's Office - EDNC
                150 Fayetteville Street, Suite 2100
                Raleigh, North Carolina 27601


                On Behalf of the Defendant

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                115 1/2 West Morgan Street
                Raleigh, North Carolina 27601



                                      Risa Kramer, RMR, CRR
                                     Official Court Reporter
                                   United States District Court
                                   Wilmington, North Carolina



           Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 1 of 51


                                            JA159
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 170 of 237



                                                                                          2


          1                          TRANSCRIPT OF PROCEEDINGS

          2                      (Proceedings commenced at 10:01 a.m.)

          3                     THE COURT:     All right.      Good morning,

          4     everyone.     If the clerk would please call the case.

          5                     THE CLERK:     United States of America versus

          6     Timothy Mann.

          7                     THE COURT:     Counsel, please -- I'm not sure

          8     I'm -- let me double-check here and see if we're being

          9     amplified.

         10                     All right.     Is -- am I amplified?            Can you

         11     hear me through the speakers, or no?

         12                     MR. ZESZOTARSKI:       No, but I can hear you

         13     fine, Your Honor.

         14                     THE COURT:     All right.      I'll project, and

         15     we'll try that until we can get some help down here.

         16                     All right.     Counsel, please state your

         17     appearance for the record.

         18                     MR. PUGH:     Yes, Your Honor.        Jake Pugh for

         19     the government.

         20                     MR. ZESZOTARSKI:       Joe Zeszotarski for

         21     Mr. Mann, Your Honor.

         22                     THE COURT:     Good morning, Mr. Mann.            If

         23     you'd please stand so the clerk can administer the oath.

         24                     THE CLERK:     Please place your left hand on

         25     the Bible, raise your right hand, and state your full




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 2 of 51
                                               JA160
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 171 of 237



                                                                                          3


          1     name for the record.

          2                     THE DEFENDANT:       Timothy Mann.

          3                     (The defendant was placed under oath.)

          4                     THE COURT:     Mr. Mann, have you taken any

          5     substance in the last 48 hours that would affect your

          6     ability to hear and understand these proceedings today?

          7                     THE DEFENDANT:       No, sir.

          8                     THE COURT:     Do you understand what's

          9     happening here today?

         10                     THE DEFENDANT:       Yes, sir.

         11                     THE COURT:     Mr. Zeszotarski, do you have any

         12     doubt about your client's competence to proceed today?

         13                     MR. ZESZOTARSKI:       No, Your Honor.

         14                     THE COURT:     Mr. Pugh, does the United States

         15     have any such doubt?

         16                     MR. PUGH:     No, Judge.

         17                     THE COURT:     Based on this Court's questions

         18     and the defendant's and counsel's answers, this Court

         19     finds that the defendant is competent to be sentenced

         20     today.

         21                     Mr. Mann, in light of some cases from the

         22     Supreme Court of the United States, including the

         23     Booker, Rita, Gall, Spears, and Nelson cases, the

         24     sentencing guidelines are no longer mandatory.                  They're

         25     advisory.     Nevertheless, in accordance with those




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 3 of 51
                                               JA161
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 172 of 237



                                                                                4


          1     Supreme Court cases, as well as a number of decisions

          2     from the Fourth Circuit Court of Appeals that interpret

          3     those cases, this Court still must take into account the

          4     now advisory guidelines.          The Court does this by

          5     initially ruling on any objections and make findings of

          6     fact.    Next, the Court will calculate an advisory

          7     guidelines range.        The Court then will consider any

          8     motion that might move the range either up or down.

          9                     Next, the Court will consider all arguments

         10     that your lawyer makes concerning your sentence both in

         11     court and in any motion or memorandum, any statement you

         12     would like to make concerning your sentence, any victim

         13     allocution, and the arguments of the Assistant United

         14     States Attorney both in court and in any motion or

         15     memorandum.      I'll then give your attorney an opportunity

         16     to respond.

         17                     Finally, after my own discussion of the

         18     arguments presented and consideration of the sentencing

         19     factors, I will announce your sentence in open court.

         20     That's the process we follow.

         21                     Mr. Zeszotarski, did you receive a copy of

         22     the defendant's presentence report?

         23                     MR. ZESZOTARSKI:       Yes, Your Honor.

         24                     THE COURT:     Mr. Mann, have you discussed

         25     your presentence report with your attorney?




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 4 of 51
                                               JA162
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 173 of 237



                                                                                     5


          1                     THE DEFENDANT:       Yes, sir.

          2                     THE COURT:     Do you have any objections to

          3     the report that were not raised by your attorney?

          4                     THE DEFENDANT:       No, sir.

          5                     THE COURT:     You may have a seat.

          6                     Mr. Zeszotarski, does your client object to

          7     the proposed conditions of supervised release set forth

          8     in the PSR?

          9                     MR. ZESZOTARSKI:       No, Your Honor.

         10                     THE COURT:     Mr. Pugh, does the United States

         11     object?

         12                     MR. PUGH:     No, Judge.

         13                     THE COURT:     The presentence report shall be

         14     placed in the record under seal.

         15                     THE CLERK:     Judge, IT is here.

         16                     THE COURT:     We'll see if we can get this to

         17     work.

         18                     (Brief pause in proceedings.)

         19                     THE COURT:     Thank you.       And thank you for

         20     your indulgence.

         21                     In accordance with Rule 32 of the Federal

         22     Rules of Criminal Procedure, the Court accepts as

         23     accurate the presentence report except as to matters in

         24     dispute as set forth in the addendum.              The Court notes

         25     the addendum contains no objections from the United




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 5 of 51
                                               JA163
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 174 of 237



                                                                                       6


          1     States and no objections from the defendant.

          2                     Based on the record and governing law, the

          3     Court calculates the advisory guideline range applicable

          4     to the defendant's case as follows.

          5                     Total offense level is 23.          Criminal history

          6     category is I.       The advisory guideline range is 46 to 57

          7     months.

          8                     Guideline computation was arrived at --

          9     actually, Mr. Zeszotarski, do you have any objections to

         10     the offense level, criminal history category, or

         11     advisory guideline range as stated by the Court?

         12                     MR. ZESZOTARSKI:       No, Your Honor.

         13                     THE COURT:     Mr. Pugh?

         14                     MR. PUGH:     No, Judge.

         15                     THE COURT:     Guideline computation was

         16     arrived at as follows.

         17                     Base offense level is 18.          Four-level

         18     enhancement on the basis of aggravating factors pursuant

         19     to United States Sentencing Guideline Section

         20     2A6.2(b)(1).

         21                     No victim-related adjustment; no adjustment

         22     for role in the offense; a two-level enhancement for

         23     obstruction of justice based on multiple failures to

         24     appear.     Adjusted offense level subtotal is 24.

         25                     Count 2 has a base offense level of 18, a




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 6 of 51
                                               JA164
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 175 of 237



                                                                                       7


          1     four-level enhancement for specific offense

          2     characteristics.       No victim-related adjustment; no

          3     adjustment for role in the offense; two-level

          4     enhancement for failure to appear; and adjusted offense

          5     level subtotal 24.

          6                     We start with the 24.         We have a two-level

          7     increase pursuant to the number of units, which leads to

          8     the combined adjusted offense level of 26.                There's no

          9     Chapter 4 enhancement.         The defendant's received three

         10     points of credit for timely acceptance of responsibility

         11     which has led to the total offense level of 23.

         12                     Sentencing options available to the Court

         13     are as follows.

         14                     The statute provides for zero to five years

         15     in custody on count 1 and zero to five years in custody

         16     on count 2.      The guidelines recommend 46 to 57 months.

         17     The statute provides for zero to three years on

         18     supervised release as to each of counts 1 and 2.                The

         19     guidelines recommend one to three years as to each of

         20     counts 1 and 2.

         21                     Statute provides for possibility of one to

         22     five years on probation as to each of counts 1 and 2.

         23     The guidelines would render this defendant ineligible

         24     for probation.

         25                     Each of counts 1 and 2 has a maximum




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 7 of 51
                                               JA165
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 176 of 237



                                                                                          8


          1     statutory fine of $250,000.           The guidelines fine range

          2     in this matter is 20,000 to $200,000.              Restitution in

          3     the amount of $4,108 applies under both the statute and

          4     the guidelines.       And there is a 100-dollar special

          5     assessment as to each of counts 1 and 2 under both the

          6     statute and the guidelines.

          7                     Mr. Zeszotarski, I've read your sentencing

          8     memorandum.      I'll hear from you now for remarks on

          9     behalf of your client concerning the 3553 factors.

         10                     MR. ZESZOTARSKI:       Thank you, Your Honor, and

         11     thank you for viewing the memorandum.

         12                     Mr. Mann, Your Honor, is 25 years old.               He

         13     has no prior criminal record.            He's pled guilty and

         14     accepted responsibility in this case.              He now has been

         15     in custody for seven months.

         16                     Your Honor, there's a number of issues that

         17     we raised in the sentencing memorandum, and I'm

         18     certainly not going to rehash all of that.                But I do

         19     want to argue to the Court about kind of how those

         20     factors play into how we're here today.

         21                     Mr. Mann obviously had a horrific childhood;

         22     somebody who's born in extremely adverse circumstances,

         23     winds up in an orphanage; sadly, winds up adopted by a

         24     family that appears to have not treated him very well at

         25     all.    Your Honor saw in the memorandum some of the




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 8 of 51
                                               JA166
USCA4 Appeal: 23-4760      Doc: 12        Filed: 04/01/2024   Pg: 177 of 237



                                                                                            9


          1     specific instances of some things that Tim remembers

          2     from his childhood, which are just terrible.                   Just

          3     terrible.

          4                     What I took away, Your Honor, from looking

          5     at that history and looking at the mitigation report

          6     that the FPD's Office has put together prior to me

          7     getting in the case was when Tim was put in

          8     circumstances where he could have a chance, he did

          9     really well.         When he was removed from the home and put

         10     in the first group home, he did well in high school.                   He

         11     engaged in activities.          He had decent grades, good

         12     grades, really, for what he was dealing with.                   Graduated

         13     high school.

         14                     Unfortunately, he goes back to the home, he

         15     gets expelled from the home, and he winds up homeless.

         16     But again, he manages to get hooked up with an agency

         17     that provides help to people in his circumstances, and

         18     again does well, gets himself on his feet, gets a job,

         19     and gets a college degree.            And at the time that this

         20     offense started, he had come from where he had come from

         21     and he had gotten to the point where he was living on

         22     his own, supporting himself, and had a good job.

         23                     And that's kind of -- Your Honor has the

         24     detail in the memo, but that's kind of where we get to

         25     2022 when this all starts.            And Your Honor's seen both




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 9 of 51
                                               JA167
USCA4 Appeal: 23-4760      Doc: 12        Filed: 04/01/2024    Pg: 178 of 237



                                                                                          10


          1     in the presentence report and in our memo Mr. Evans and

          2     Mr. Mann meet over the Internet.               They befriend each

          3     other.     Ultimately, Tim comes to North Carolina.

          4     Ultimately, the relationship kind of falls apart, and

          5     this starts.         And Mr. Mann accepts responsibility for

          6     the messages that he sent and the things he said through

          7     social media and the Internet and all those sorts of

          8     things, and that's why he's here.

          9                     But what I'd ask the Court to consider is --

         10     and I've talked with Tim about this -- Tim is very

         11     sensitive, understandably.            I'm not faulting him one bit

         12     for this.      He's very sensitive about being viewed as

         13     having a mental health issue, a condition; for lack of a

         14     more elegant way to put it, being viewed as crazy.                  And

         15     I've tried to talk with Tim about the fact, and I think

         16     the facts here bear that Tim does not deal well with

         17     stressful situations.          He doesn't deal well with

         18     handling adverse circumstances.               And he reacts, I think

         19     these facts would show, with anger, right?                  With typing

         20     these kinds of messages out, right?

         21                     And I would argue to the Court that's

         22     completely understandable given where he came from.                  And

         23     it's understandable when he's a young man and still a

         24     young man, a little bit of a younger man when he engaged

         25     in this conduct and hasn't gotten any help for that




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 10 of 51
                                               JA168
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 179 of 237



                                                                                     11


          1     ever, ever.      Hasn't been in a position to get any help

          2     for that ever.        But I would argue to the Court that that

          3     background kind of informs the -- how we get here a

          4     little bit.      And it certainly -- I'm not arguing to the

          5     Court one bit, and I'm certainly not saying this is any

          6     kind of excuse.        But what I'd like the Court to try to

          7     consider is -- and I think in these cases we always look

          8     at, kind of, why did this happen?             How did we get here?

          9     And I think how we got here is that because of Tim's

         10     background and because of the terrible circumstances he

         11     came from, he just doesn't deal well with that stuff.

         12     And he just -- the facts here bear it out.

         13                     Your Honor, I know that it's important to

         14     Tim for me to let the Court know, and I did let the

         15     Court know in the memorandum, and I let the Court know

         16     again another factor that we would argue to the Court

         17     that supports a downward variance here that makes this a

         18     little different than the run-of-the-mill,

         19     quote/unquote, cyberstalking case, is there was a bit of

         20     a back-and-forth here between the government's victims

         21     and Mr. Mann.        And certainly not an excuse for

         22     Mr. Mann's conduct, again.           This was something that

         23     certainly, in terms of the timeline, escalated greatly

         24     after the physical confrontation between Mr. Evans and

         25     Mr. Mann that resulted in the injuries to Mr. Mann that




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 11 of 51
                                               JA169
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 180 of 237



                                                                                  12


          1     Your Honor's seen in the photograph that's the exhibit

          2     in our memorandum.

          3                     Things escalated greatly after that event.

          4     And Mr. Mann, I know it's important to him that the

          5     Court know about that.          Mr. Mann says that he was hit

          6     with brass knuckles.         Mr. Evans denies using brass

          7     knuckles in that incident.           Whether he did or he didn't,

          8     those -- Your Honor can see those are pretty severe

          9     injuries, and that's something that kind of escalated

         10     all of this, certainly.

         11                     Your Honor, another factor we'd ask the

         12     Court to consider is Mr. Mann's health condition that's

         13     outlined in the memorandum.           Certainly, again, another

         14     kind of tragic consequence of where he came from and

         15     something he'll have to deal with for all of his days.

         16                     That all being said, Your Honor, you know,

         17     that condition, there is -- from Mr. Mann's perspective,

         18     there was back-and-forth about that condition with

         19     Mr. Evans during the course of this as well which led to

         20     further escalation.         Again, Your Honor, no excuse for

         21     what Mr. Mann did, and he wouldn't offer it as an

         22     excuse.     But he does want the Court to have the context

         23     of what happened here.

         24                     So, Your Honor, I would argue to the Court,

         25     in terms of looking at a downward variance in this case,




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 12 of 51
                                               JA170
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024    Pg: 181 of 237



                                                                                         13


          1     we have a circumstance where we would argue to the Court

          2     that the offense itself is a little different than what

          3     we would typically see in a cyberstalking offense.                 And

          4     we have a -- the background of a defendant that is very,

          5     very different than what we typically see.                 And I would

          6     argue to the Court that also ties into, kind of, how we

          7     got here.      All of that, Your Honor, deals with the

          8     offense in the past.

          9                     Another thing that I would argue to the

         10     Court that supports a downward variance is the future.

         11     Mr. Mann's got no prior record.              None.   From the PSR, it

         12     looks like he's never even had a speeding ticket.                 And

         13     he's now been in jail for seven months.                The past has

         14     shown that he's able to get himself on his feet and

         15     support himself and be a productive member of society,

         16     even under very adverse circumstances.               And, Your Honor,

         17     here he has a plan for the future.              As we said in the

         18     memo, he's got a CDL.         He intends to use that to support

         19     himself once he's met the Court's obligations in this

         20     case.     And he's gonna have to do it as he's done it his

         21     whole life, Your Honor, on his own.              Except,

         22     fortunately, about, you know, the only good thing that

         23     comes out of all of this for everybody, for both sides,

         24     is that Mr. Mann is gonna have the assistance of the

         25     probation office in moving his life forward.




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 13 of 51
                                               JA171
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 182 of 237



                                                                                         14


          1                     And we know from experience, us lawyers and

          2     Your Honor, that the probation office does a wonderful

          3     job in that respect.         And Mr. Mann, I think, is somebody

          4     who, when he gets that help, can really move himself

          5     forward.     This, Your Honor, is an opportunity for him

          6     for the first time in his life to really have some

          7     mental health help that is focused on what this offense

          8     would show the issue to be, dealing with anger, dealing

          9     with stress, dealing with those sorts of things.                 And I

         10     would argue to Your Honor that that also supports a

         11     downward variance from what the guidelines would also

         12     call for.

         13                     Your Honor, Mr. Mann, when I say he's alone

         14     in this world, he really is.            He doesn't have anybody to

         15     put money on his account in jail.             You don't have any

         16     letters.     There's nobody to write any.            So I would argue

         17     to the Court what he did before he got himself involved

         18     with this was pretty remarkable in a positive way.                 This

         19     is bad, certainly.         That's why we're here.         But those

         20     facts are very different than the typical case that's

         21     before Your Honor.

         22                     So, Your Honor, Mr. Mann wants me to ask you

         23     to consider sentencing him to time served, which is

         24     seven months of custody.          He's obviously willing to

         25     comply with whatever conditions would be imposed by the




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 14 of 51
                                               JA172
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 183 of 237



                                                                                           15


          1     Court for supervised release.            He's told me that he very

          2     much wants to move forward with his life from this.                      And

          3     he would ask the Court to consider all the facts that

          4     we've put forward.

          5                     I know he wants to speak to the Court at the

          6     appropriate time.        Thank you.

          7                     THE COURT:      Mr. Zeszotarski, I'm gonna ask

          8     you to address the failure to appear.              You know, it's

          9     one thing if he's come in from the outset and said, "I

         10     changed my mind, I'm gonna cooperate, I'm gonna

         11     participate."        But the evidence about how he's gonna be

         12     receptive to this Court has not been positive.

         13                     MR. ZESZOTARSKI:        So, Your Honor, I spoke --

         14     and so Your Honor knows, Mr. Mann was represented by the

         15     Public Defender's Office at the time all that happened,

         16     and I came in after the fact.            And understandably, I've

         17     talked with Tim -- "What happened here?"               And, Your

         18     Honor, as we said in the memo, Mr. Mann would tell the

         19     Court that this is another example of him being unable

         20     to kind of deal with -- he gets the messages that are

         21     attached to our memo, and they, again, for lack of an

         22     elegant way to put it, kind of set him off.                   He takes

         23     his ankle monitor off.          He makes those terrible

         24     statements that he -- he films himself making these

         25     terrible statements, which obviously the government is




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 15 of 51
                                               JA173
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024     Pg: 184 of 237



                                                                                       16


          1     gonna get, and then winds up in custody.                 So there's

          2     really no great explanation for it, Your Honor, other

          3     than that.

          4                     Now, what I can tell you is Mr. Mann's

          5     attitude about this case from the time -- from the first

          6     time I met him versus to where we are now is 180 degrees

          7     different.      Now, we all know, of course, the proof is in

          8     the pudding in the end about the person's intentions.

          9     But I can tell the Court that.               And I can tell the Court

         10     that Mr. Mann -- and he'll tell you -- knows that he

         11     made a terrible mistake in engaging in that conduct back

         12     at the beginning of the year that led to him being in

         13     custody.     That was certainly flouting an opportunity

         14     that the Court gave him in, you know, in being released

         15     and in being out on conditions and proving to the Court

         16     that he can comply.

         17                     There's no great explanation for it beyond

         18     that, Your Honor.        But I think that, again, what it ties

         19     into is it's another example of what I'm arguing to the

         20     Court about his inability to kind of deal with the --

         21     what life brings sometimes in that respect.

         22                     THE COURT:      All right.       Thank you, counsel.

         23                     Mr. Mann, this is your opportunity to tell

         24     me anything you'd like me to know as I consider your

         25     sentence.




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 16 of 51
                                               JA174
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 185 of 237



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          1                     THE DEFENDANT:       Good morning, Judge Myers.

          2                     I met Derrick Evans in May of 2021 and, you

          3     know, beginning talking, we became like brothers, very

          4     close.     And as my lawyer mentioned, I told him

          5     everything about me and about my family situation and me

          6     being in foster care and adopted and things like that.

          7     And I trusted him, like, as a brother.               And he was very

          8     encouraging and seemed like he cared about me and

          9     encouraged me to move to North Carolina.

         10                     When I came down here, you know, all was

         11     well in the beginning.          But then, you know, as our

         12     friendship evolved, you know, things between me and him

         13     became very tumultuous, and that's when the incident

         14     happened with the brass knuckles.

         15                     You know, it's no doubt, Your Honor, I've

         16     been honest with the federal agents from day 1 about me

         17     threatening them.        But I think it's very important, you

         18     know, for you to understand that I just didn't threaten

         19     the victims in my case for no reason, you know.                    I was

         20     threatened.      I was hit in the face with brass knuckles.

         21     You know, these people made fun of my -- the victims in

         22     my case made fun of my diagnosis, and I was very upset

         23     about that, and also tons of other things that the

         24     victims knew about my personal circumstances.                    I was

         25     very upset about that and I threatened them back, you




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 17 of 51
                                               JA175
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024    Pg: 186 of 237



                                                                                       18


          1     know, no doubt.

          2                     I've been honest about my involvement, as I

          3     said, with federal agents in the beginning, through my

          4     lawyer, with -- tell the prosecutor and, you know, I

          5     accept responsibility for that.              And I'm very sorry, you

          6     know, for my actions and putting, you know, the victims

          7     and making them feel the way they felt.                It's just that,

          8     you know, I was very hurt.           At that time in my mind

          9     frame, I was feeling like, you know, how could they do

         10     -- how could I be treated like this?               And I was just

         11     upset with me not having nobody, and him the only person

         12     that I had in my corner, and then for me to be treated

         13     like that, I asked why -- that's the way that I was

         14     feeling at the time, Your Honor.              I'm not gonna lie to

         15     you.    And so in retaliation I threatened them back.

         16                     I mean, of course I know, you know, I left

         17     North Carolina and moved back home to Brooklyn.                   Of

         18     course the back-and-forth continued between me and the

         19     victims.     You know, I'm very sorry that this came to a

         20     point like this, you know.           But I do want you to know

         21     that I was working.         I had my own apartment.            I was

         22     doing good in life, you know, prior to meeting these

         23     people in my case, the victims, and even when I was

         24     dealing with them, you know.

         25                     Your Honor, I just want you to know that I




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 18 of 51
                                               JA176
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 187 of 237



                                                                                       19


          1     plan to get my job back and I plan to start my own

          2     trucking company and just be the best that I can be, you

          3     know.     Whatever you impose as my sentence, I accept

          4     responsibility.

          5                     I do want to speak on the pretrial stuff

          6     that happened.       You know, I was upset because here I am

          7     on a federal charge and -- I'm just explaining to you at

          8     the time how my mindset was.            I'm like, you know, how is

          9     the government saying these people -- I mean, there's no

         10     doubt they're victims.          I threatened them.        I'm not

         11     taking that back.        But in my mind frame, I'm saying to

         12     myself, "How could these people threaten me, attempt to

         13     extort me and I can't respond back?"              And I felt like

         14     everybody was working against me.             I felt like my lawyer

         15     I had at the time, David Venable, wasn't working for me,

         16     because I'm showing him these messages, "Hey, can you

         17     show this to Jake, the prosecutor, let him know what's

         18     going on?"      "I hadn't got a chance to speak to him,"

         19     this and that, hence that's why Mr. Zeszotarski's on my

         20     case now.      And that's why I did the video.

         21                     You know, I was not gonna come down here and

         22     do anything to them.         It's just all talk.         You know, I

         23     just was upset.        And I understand my actions, and I

         24     understand what I did is something that, you know, will

         25     not be tolerated.        And I understand that, you know.




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 19 of 51
                                               JA177
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024    Pg: 188 of 237



                                                                                            20


          1                     When I cut the bracelet, I felt like at the

          2     time, like, why is my pretrial supervision gonna be

          3     revoked if I didn't do anything.              And so, you know, I

          4     got frustrated, cut the bracelet, and I left and I went

          5     back home.      I didn't run.       I didn't put a fight up with

          6     the U.S. Marshals.         I'm sure you can verify that.             And

          7     they came and got me at my residence, you know.

          8                     But, Judge Myers, I just want you to know

          9     that I've never been in trouble in my life.                    And I want

         10     you to know that whatever you impose, I'm gonna follow

         11     it to a T.      And I just want to move on with my life and

         12     just be the best that I can be.              Like I said, I'm gonna

         13     start my own trucking business, and I just want to move

         14     on with my life, Your Honor.            But I think it's very

         15     important for you to understand that background, the

         16     background of all of that, hearing it coming from me.

         17     And I apologize for my actions, and I deeply appreciate

         18     you allowing me to talk to you directly.

         19                     THE COURT:      All right.      Thank you, sir.

         20                     Mr. Pugh, do you wish to offer any victim

         21     allocution?

         22                     MR. PUGH:     Yes, Your Honor.         Ms. Harris is

         23     here with Derrick Evans, as well as his girlfriend,

         24     Tatiana.     Ms. Harris is gonna speak on behalf of the

         25     family.




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 20 of 51
                                               JA178
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024    Pg: 189 of 237



                                                                                   21


          1                     THE COURT:      Okay.

          2                     MS. HARRIS:      Hello, Your Honor.

          3                     THE COURT:      Good morning.

          4                     MS. HARRIS:      Good morning.

          5                     For almost two years, our family lived a

          6     nightmare.      Our mental, emotional, and physical health

          7     has suffered a great deal due to Tim Mann's actions.

          8     The constant threats on our lives, the harassing phone

          9     calls and messages, the drive-bys and having to watch

         10     every corner took a toll on our lives.

         11                     We had to watch out the window before

         12     opening the door to go outside.              We had to look over our

         13     shoulders to make sure he wasn't coming at us from

         14     behind or around the corner.            We had to walk my daughter

         15     to and from her car when she had to work early mornings

         16     and work late nights due to the threats he posed on her

         17     life.     We couldn't enjoy social media because there

         18     would be tags with threats from him or explicit pictures

         19     of himself in our messenger, sexually harassing us, or

         20     pictures of guns.

         21                     The babies were not able to visit us as he

         22     threatened to harm them.          He said he would blow up the

         23     house while they were in there or set the house on fire.

         24     He threatened to catch Derrick outside with his

         25     daughter, take her out of his arms, kill him in front of




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 21 of 51
                                               JA179
USCA4 Appeal: 23-4760      Doc: 12        Filed: 04/01/2024     Pg: 190 of 237



                                                                                           22


          1     her, and then kill her and do the unimaginable to her

          2     afterwards.      That was too big of a threat for us to risk

          3     the babies coming over.

          4                     My youngest granddaughter was born three

          5     weeks early.         Tatiana went into early labor due to the

          6     threats Tim made to her daily.                He threatened to rip the

          7     baby out of her stomach and kill them both.                      He said

          8     that he had found out where she lived, and the stress

          9     was entirely too much for her to take and had sent her

         10     into early labor.         She had a very difficult birth that

         11     resulted in an emergency C-section.                The baby spent time

         12     in the NICU as the blood flow from her mother had

         13     stopped, and we didn't know what her fate was going to

         14     be.    Thank God she is healthy and happy.

         15                     To be afraid every day that that day would

         16     be your last is something we never want to relive again.

         17     Most days we were not able to function to do day-to-day

         18     activities, work, socialize, just stressing and

         19     depressed.      We all have experienced high levels of

         20     depression, stress, and anxiety, and sadly our

         21     relationships with one another have suffered.

         22                     To be afraid that the Dodge Charger pulling

         23     up beside you or one that you see in your neighborhood

         24     is him and this is going to be it is terrifying.                      My

         25     marriage took a turn for the worse, and we are still




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 22 of 51
                                               JA180
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024     Pg: 191 of 237



                                                                                            23


          1     trying to come back from all of this.                I am petrified of

          2     guns and literally had to get a license and firearm in

          3     the event I had to protect myself and my family from

          4     this monster.

          5                     At one point I was so stressed and depressed

          6     that I felt like the only way out was death.                    He was

          7     after me and Derrick the most.               If I unalived myself,

          8     maybe that would give him some satisfaction because he

          9     knew Derrick would suffer through that.                 Maybe that

         10     would be good enough for him and he would stop.                    I just

         11     wanted him to stop.         He kept going, and the nightmare

         12     kept going.      Nothing helped, not even changing phone

         13     numbers, social media accounts, nothing.                 He would find

         14     a way to threaten our lives and harass us, and he

         15     wouldn't stop until he could.

         16                     It wasn't until Special Agent Mike Neylon

         17     took over the case that we were finally able to have

         18     some hope that this nightmare would finally come to an

         19     end.    His hard work and dedication to this case has

         20     ended this nightmare for us, and for the past seven

         21     months we have been able to let our guard down a little

         22     more each day.       Our family will forever be grateful for

         23     Special Agent Neylon and those who worked with him on

         24     this case in getting the justice we so desperately

         25     seeking.




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 23 of 51
                                               JA181
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 192 of 237



                                                                                            24


          1                     Though we can walk outside without looking

          2     out the window, but we still find ourselves still

          3     looking over our shoulders.             We can enjoy social media

          4     again, but any new requests or messages we get brings a

          5     trigger.     We can answer our phones without worry, but an

          6     unknown number scares me still and is still another

          7     trigger.

          8                     This is the effect that Tim has left on our

          9     lives.     I don't think that we'll ever be the same.                 The

         10     lasting hurt, pain, fear, and the demise of

         11     relationships will always live with us.               We will

         12     probably always have to be in therapy and be cautious.

         13     No one should have to go through what we went through,

         14     and Tim Mann should serve the max amount of time for

         15     what he has done to our family and then some.                    We know

         16     he can't spend the rest of his life in prison, though

         17     that would be ideal, but we are asking the Court to

         18     continue to grant our family the relief to live our

         19     lives without ever going through this nightmare again.

         20     Thank you.

         21                     THE COURT:      Thank you, ma'am.

         22                     Mr. Pugh, who's Derrick Trevese?

         23                     MR. PUGH:     That's the same person as

         24     Derrick Evans.

         25                     THE COURT:      Okay.     And the "Send some money,




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 24 of 51
                                               JA182
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 193 of 237



                                                                                   25


          1     all this can go away," is there any further context to

          2     that beyond what's been presented in the defense's

          3     memorandum?

          4                     MR. PUGH:     Your Honor, first I would point

          5     out the notes on the margin are Agent Neylon's, correct?

          6                     AGENT NEYLON:       Yes.

          7                     MR. PUGH:     And the page with number on the

          8     bottom 297, that is a collection of messages from

          9     Derrick.     And the "yes" means that he admitted he did

         10     those.     And I'll freely admit, agents, in reviewing

         11     their phones, found some aggressive messages in response

         12     to Mr. Mann's continued harassment.              These ones are true

         13     ones.     But the following page from Ms. Harris, that was

         14     no, nothing was ever recovered to corroborate those

         15     messages, as was the final one talking about money to

         16     make it go away.        That was also a "no" during the

         17     interview.      We could not find evidence to corroborate

         18     that.     And I'll tell you the U.S. Attorney's Office

         19     opened a separate investigation in response to these

         20     allegations of extortion and, I guess,

         21     counter-harassment, to look into that.

         22                     I can't prove the negative, but we were not

         23     able to validate those allegations.

         24                     THE COURT:      All right.     Thank you, Mr. Pugh.

         25                     MR. PUGH:     Your Honor, first -- and you get




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 25 of 51
                                               JA183
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 194 of 237



                                                                                       26


          1     to the heart of it -- I want to speak to this idea that

          2     this was a back-and-forth.           Mr. Evans [sic] said that he

          3     had a tumultuous relationship with Derrick, and then it

          4     was escalated when Derrick punched him.               That -- that is

          5     not the sequence of events at all.             Months before,

          6     Derrick tried to remove himself from that relationship,

          7     and the result was months and months of harassment,

          8     persistent harassment and just failing to accept

          9     blocking Mr. Evans or -- excuse me -- blocking Mr. Mann

         10     and trying to avoid his contacts.             That was the

         11     culmination of these months of harassment and the fake

         12     gay dating profile and other attempts to just disturb

         13     Mr. Evans' life.

         14                     And that was a point, an inflection point

         15     where things become worse, absolutely.               It was that

         16     event that led to the damage to the car, led to

         17     Ms. Harris becoming involved and other family members.

         18     But this was no tit for tat.

         19                     And the idea that the victims should just

         20     accept this, you know, turn the other cheek like law

         21     enforcement or other professionals are expected to be I

         22     don't think is realistic.           These are civilians.         They've

         23     been harassed for months, threatened with their lives.

         24     I don't think that there should be any surprise that

         25     they're angry, that they reach a breaking point and they




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 26 of 51
                                               JA184
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 195 of 237



                                                                                            27


          1     lash out at times.         And maybe some of the messages are

          2     -- are insulting and hurtful and ill-advised.                    But I

          3     don't think that negates what Mr. Mann did.                   I don't

          4     think that puts him on equal footing or even remotely

          5     close to it, even remotely close to it.               I don't think

          6     this makes this a case that's any different from any

          7     cyberstalking case.         It doesn't negate the case or

          8     mitigate the activity whatsoever if victims happen to

          9     get mad and reach their breaking point.               If anything, it

         10     shows the damage that's been done to the victims in the

         11     course of the case.

         12                     On that point, I'd also highlight this isn't

         13     a one-time thing.        Mr. Mann also -- in the course of the

         14     investigation, we found -- had received complaints for

         15     harassing a employment contractor from Amazon after she

         16     wasn't able to get him a job.            He harassed a podcast in

         17     Florida resulting in complaints to the police.                    I don't

         18     think charges ultimately resulted from these.                    But this

         19     is activity that is not limited to this one family.

         20     Even U.S. Probation, as I highlighted in the restitution

         21     motion, wrote literally that he was harassing --

         22     borderline harassing them with his repeat phone calls,

         23     many, many in an hour, and e-mails and attempts to

         24     contact them on his schedule.

         25                     THE COURT:      Mr. Pugh, I'm gonna ask you to




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 27 of 51
                                               JA185
USCA4 Appeal: 23-4760      Doc: 12        Filed: 04/01/2024   Pg: 196 of 237



                                                                                         28


          1     give me a little context.           I think you all are far

          2     closer to the case than I am.             I have what's in the

          3     presentence report.         And it is a sketch.         I don't have a

          4     real sense of number of calls, number of texts, the pace

          5     at which these texts are arriving, the extent to which

          6     they're coming -- is it hourly, daily, multiple times a

          7     day?     I have -- the sketch I have is incomplete.              So if

          8     you could give me a little bit of a sense of --

          9                     MR. PUGH:      Yes, absolutely.        Absolutely,

         10     Judge.     And I appreciated that when I reviewed the PSR

         11     myself, and I probably should have tried to get a little

         12     bit more information about that in there.

         13                     As I did mention in the memo, FBI did a

         14     thorough analysis of Ms. Harris's and Derrick's phones

         15     as well as a phone that was seized from Mr. Mann.                 The

         16     victims' phones were as of December.               And looking at

         17     those three phones, they were able to identify, I

         18     believe, over 300 accounts and phone numbers through

         19     which they believe that Mr. Mann had tried to contact

         20     the victims.         Now, some of these were numbers that were

         21     blocked kind of serially in the appropriate time frame,

         22     as I mentioned, and hard to identify.               But other

         23     addresses -- I'll give you just a cross-section from

         24     this report.

         25                     List as blocked from Mr. Evans' phone is




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 28 of 51
                                               JA186
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 197 of 237



                                                                                       29


          1     Tim392279@gmail, Tim81531, TimJ2203, TimJ42247,

          2     TimJ8260, TimJ8846, TimJ9933, and it goes on and on and

          3     on with all these accounts; just this persistent

          4     activity that would not be dropped no matter what,

          5     states away, years since what was a positive

          6     relationship, and just maintained and persisted in this

          7     activity.

          8                     If unable to contact Derrick, then there's

          9     the mom.     If not the mom, then it was the girlfriend or

         10     the aunt or the stepfather or the place of employment.

         11     There was no end to it.          It continued through the course

         12     of, I mean, probably well over a year.               I mean, I don't

         13     have figures for how often.           I think it was somewhat

         14     inconsistent.        There'd be flurries of activity and then

         15     it would pull back.

         16                     I highlighted one date that was actually

         17     post-arrest, that February 9th of this year, where there

         18     was over 150 missed calls.           When she did answer some,

         19     that was when this YouTube video was playing that

         20     eventually matched up to a video that was played at the

         21     exact same time on the exact same day from Mr. Mann's

         22     monitored phone.

         23                     So there were days like that.            I'm sure

         24     there were days when nothing happened.               But ultimately

         25     it didn't cease and the victims had to watch their




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 29 of 51
                                               JA187
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024    Pg: 198 of 237



                                                                                       30


          1     backs.     And he says he maybe never meant it, maybe never

          2     was gonna act on what he said, but he gave very

          3     detailed, graphic, and specific threats, including photo

          4     of gun, photo of the front of house, including date,

          5     even, about what he was going to do.               This wasn't just,

          6     you know, talk back and forth, "You're a terrible

          7     person, I'm gonna kick your ass."              That wasn't this.

          8     This was detailed threats on life and graphic death.

          9                     Yes, absolutely Mr. Mann had an awful, awful

         10     childhood, I would even go as far as to say uniquely bad

         11     among many of the defendants I see.              He started off in a

         12     rough spot, absolutely.          And his records show that he --

         13     he's a pretty smart guy.          He's done some things

         14     successfully.        He's successfully done some college

         15     coursework in computer science.              But we also see that he

         16     has used that for terrible, terrible purposes in the

         17     last couple years.

         18                     All of these messages, all of these new

         19     accounts through VPNs and being able to continue it

         20     after arrest -- his continuing after arrest, his hiding

         21     his phone or whatever device, we still to this day don't

         22     know from probation as he continued this.

         23                     Moving forward to right up to the failures

         24     to appear -- appear -- after arrest, he knows how much

         25     trouble this has caused him, and yet still he's looking




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 30 of 51
                                               JA188
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024     Pg: 199 of 237



                                                                                       31


          1     up the penalties for arson, telling the victims the

          2     ankle monitor won't stop him, tells them directly that

          3     he's -- "Get ready, I'm heading to your crib," I think

          4     were the direct words of the message.                And possibly most

          5     telling was this last message:               No time will stop me,

          6     you'll get what -- they'll get what they deserve -- or

          7     you'll get what you deserve.

          8                     Even today, I believe, listening to his

          9     allocution, you see that he -- he regrets that he's in

         10     the position he's in today.           It is not clear at all that

         11     he's remorseful for the activity.               He believes that he's

         12     entitled to do what he's done for whatever slights he

         13     feels he's gotten from the victims.               Some of it's his

         14     own doing.      If they were rude about the relationship,

         15     that does not justify what has happened here today.

         16                     And I noted some words in particular that he

         17     said.     He said when he was "dealing with them" with

         18     regard to the victim.         His view on the activity was

         19     "dealing with them."         So even today it seems like he

         20     thought he was doing what he needed to do.

         21                     And while he had a terrible childhood, while

         22     I think he could turn things in the right direction -- I

         23     will tell the Court when I'm confident that someone is

         24     turning it around, and I am far from that here.                  I would

         25     hardly be surprised if the first chance Mr. Mann has to




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 31 of 51
                                               JA189
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 200 of 237



                                                                                     32


          1     touch a device, that the victims or me or the agent or

          2     someone else involved with this case one way or another

          3     will be hearing from him.           And I believe the victims

          4     feel exactly the same way.           I hope -- I hope through

          5     mental health treatment, through rehabilitation, if he

          6     hasn't already, he'll realize the error in his ways and

          7     get back on the right track.            But I'm not sure we're

          8     there yet.      For that reason, I would ask for a guideline

          9     sentence.

         10                     THE COURT:      Thank you, Mr. Pugh.

         11                     Mr. Zeszotarski, I'll give you the

         12     opportunity to respond.          You have a sense of what the

         13     Court's concerns are.

         14                     MR. ZESZOTARSKI:        I do, Your Honor, and -- I

         15     certainly do.        And I just do want to point out one thing

         16     briefly in response to where Mr. Pugh started with

         17     respect to the messages that the Court was asking about.

         18                     I looked back, and I thought I remembered

         19     this correctly and I did.           I looked back at Ms. Harris's

         20     FBI interview, which is page 324 of the discovery, and

         21     she does admit sending some threatening messages.                While

         22     she denies the specific messages, she admits sending

         23     other threatening messages.           She admits that this is her

         24     profile.     Likewise, Mr. Evans admits that that's his

         25     profile with the last exhibit at page 307 about sending




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 32 of 51
                                               JA190
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 201 of 237



                                                                                          33


          1     some money to make this all go away.

          2                     The context of all that, Your Honor, is that

          3     that was provided to -- by Mr. Mann to the Public

          4     Defender's Office at the time this case started, and the

          5     Public Defender's Office provided that to Mr. Pugh.

          6     That's how it kind of got there.

          7                     But I think that, you know, again, Mr. Mann

          8     does not dispute the government's argument about the

          9     fact that -- essentially, that he's guilty.                   Yes, he's

         10     guilty.     What we're asking the Court to consider is the

         11     context of how all this happened.             And I think, again,

         12     as I listen to Mr. Pugh's argument on behalf of the

         13     government, it struck me that all of the points that the

         14     government was trying to stress to the Court as

         15     aggravating in this case all come back to the same thing

         16     that I was arguing to the Court earlier, which is

         17     Mr. Mann's inability to handle -- the issue with cutting

         18     the bracelet off, the issue with the escalation that

         19     occurs at the time of this physical conflict between

         20     Mr. Mann and Mr. Evans as a result of the injuries you

         21     see.    And I just ask the Court to consider all that.

         22                     It's also -- and the government, it sounds

         23     like, just concedes this.           I mean, the background of the

         24     defendant here is something that really is very, very

         25     different.      And we just ask Your Honor to consider all




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 33 of 51
                                               JA191
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024     Pg: 202 of 237



                                                                                          34


          1     that.     When we look at the guidelines, we know that we

          2     look at, well, is this kind of the case that fits within

          3     the typical case and the typical guideline or are there

          4     things that make it different?               We would argue that

          5     there are many on behalf of Mr. Mann, Your Honor.

          6                     And I would argue to Your Honor that given

          7     his young age and given that this really is his first

          8     interaction with law enforcement, that all of the

          9     conditions and all of the things that the probation

         10     office can do to help him are really a positive force

         11     that we would ask the Court to consider.                 Thank you.

         12                     THE COURT:      Thank you, Mr. Zeszotarski.

         13                     All right.      Here's what happens next.            In

         14     keeping with Fourth Circuit precedent, I'll discuss the

         15     arguments I've heard in summary.               I've listened to them

         16     all.    I've considered them all, and I have not forgotten

         17     them in the course of an hour.               I'll discuss my own

         18     application of the 3553 factors.               And then at the

         19     appropriate time, Mr. Mann, I'll tell you to stand when

         20     I'm ready to pronounce your sentence.

         21                     There are really, I think, three time frames

         22     that the Court is being asked to consider by

         23     Mr. Zeszotarski's arguments.            One is where did we come

         24     from.     Two is how does this course of conduct fit

         25     against the general cyberstalking cases.                 And then,




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 34 of 51
                                               JA192
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 203 of 237



                                                                                             35


          1     three, looking forward, are we gonna be back.                    I think

          2     Mr. Pugh is asking me to consider the same things and

          3     come to slightly different conclusions.

          4                     First, I don't think there's any dispute

          5     regarding the difficulties this defendant faced as a

          6     child.     Right?    We all come from somewhere.              And you've

          7     succeeded in a lot of ways.           But what's missing seems to

          8     be an ability to handle setbacks and conflict in a way

          9     that's constructive and in fact has led to an

         10     overreaction response that has escalated to the point

         11     that you're here in federal court facing criminal

         12     charges, right?        So somewhere looking forward we need to

         13     figure out how are we not coming back the next time

         14     something frustrates you.

         15                     So Mr. Zeszotarski asked me to consider

         16     everything that's in your childhood, and I have.                      I've

         17     read all of it.        I've thought about all of it.                And life

         18     is not fair, and yours was particularly unfair.                      And I'm

         19     sorry for that.

         20                     The question about what to think about over

         21     the course of conduct is to what extent was there any --

         22     it's not exculpatory, but mitigating considerations

         23     regarding the nature of the back-and-forth.                   And

         24     everybody has their breaking points, and there's a --

         25     everybody sits where they sit when they see something.




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 35 of 51
                                               JA193
USCA4 Appeal: 23-4760      Doc: 12        Filed: 04/01/2024    Pg: 204 of 237



                                                                                          36


          1     So I saw the photograph of the injuries to your face.

          2     You were clearly struck very hard; caused a lot of

          3     injury to your face.         And Mr. Pugh's response to that is

          4     people have a breaking point, and when they've been

          5     pushed to that breaking point, sometimes they respond

          6     physically and that's how that happened.

          7                     Mr. Zeszotarski's argued that this conduct

          8     escalated after it got physical.               Mr. Pugh's response

          9     was, "No, that was ongoing, it got physical because it

         10     had already escalated."           And so thinking about how those

         11     things fit together is part of what I need to do to

         12     figure out how much of this behavior merits how much

         13     punishment.      And this has all got to come to a single

         14     number, which is the great difficulty of my job, is

         15     figuring out how do I fit a prediction of the future, an

         16     estimate of the past, and a calculation regarding the

         17     nature of the harms that were caused and fit all that

         18     together.

         19                     I don't know what to make of the attachments

         20     to the defense memorandum.            It appears that the FBI's

         21     investigation was unable to corroborate that those were

         22     in fact sent.         There is a lot of spoofing that seems to

         23     be taking place across the context of this case.                 So I'm

         24     just going to say I don't know.               I don't know if those

         25     are genuine.         I don't know if they are manufactured.           I




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 36 of 51
                                               JA194
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 205 of 237



                                                                                        37


          1     can't tell.      And Mr. Pugh says it's hard to prove a

          2     negative.      I don't know that they are -- I don't know

          3     what to consider about them in either direction.

          4     Mr. Zeszotarski received them not as a result of his own

          5     computer forensics but as a result of them having been

          6     provided by this defendant who has also used false

          7     identities to get around monitoring software,

          8     interruption software, and has some level of

          9     sophistication regarding the use of electronic devices.

         10     So I just don't know, and so I'm going to treat them

         11     that way.      I don't know.

         12                     I'm going to vary downward some.              I'm not

         13     coming all the way to Mr. Zeszotarski's request.                  I'm

         14     going to vary downward some.            But I'm going to tell you

         15     right now, Mr. Mann, that I'm gonna give you all of the

         16     supervised release available to me.              And first contact,

         17     I'm activating 100 percent.           Right?     So you hold the key

         18     to a long prison sentence, all right?              I'm gonna give

         19     you -- you're getting a prison sentence.               This was

         20     behavior that certainly crossed every acceptable

         21     behavior line.       I understand all of the arguments

         22     regarding the back-and-forth and the retaliation.                  I

         23     understand them.        I've discussed them.         But I will tell

         24     you that if you do anything going forward, everything

         25     that I take away will come back.             It's 100 percent in




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 37 of 51
                                               JA195
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 206 of 237



                                                                                           38


          1     your capacity to walk away from those people and never

          2     contact them again.         Because the second you do, those

          3     Marshals will come and get you and bring you in front of

          4     me, and I will give you all that is available to me, 100

          5     percent.     Just no question, right?          Because it will mean

          6     that I was wrong.

          7                     Mr. Zeszotarski, have you made any arguments

          8     you wish me to directly address on the record?                    I'm

          9     happy to address any argument you want.

         10                     MR. ZESZOTARSKI:        No, Your Honor.          Thank

         11     you.

         12                     THE COURT:      This Court recognizes its

         13     obligation under section 3553(a) to impose a sentence

         14     that is sufficient but not greater than necessary to

         15     comply with the purposes set forth in section 3553(a).

         16     I've considered all the arguments defense counsel has

         17     made, the defendant's allocution, the victim allocution,

         18     and the arguments of the Assistant United States

         19     Attorney.

         20                     I will tell the victims right now, nobody

         21     should have to go through what you went through, and I'm

         22     sorry for that.        And you've heard me tell this defendant

         23     that if he contacts you in any way, it will be instant.

         24     There will be no consideration about what should I do,

         25     and I won't hem and haw.          It will be instant.            We will




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 38 of 51
                                               JA196
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 207 of 237



                                                                                           39


          1     be done.     We will come in, we will have our proceeding,

          2     we will proceed immediately to the maximum punishment,

          3     and we will go from there.           I just want it crystal clear

          4     to everyone that there will be immediate consequences.

          5                     I recognize that the sentencing guidelines

          6     are advisory, they're not mandatory.              I take them very

          7     seriously because I'm committed to this concept of equal

          8     justice under law.         The cyberstalking cases have a First

          9     Amendment piece that underlies them, which makes me

         10     cautious.      People are allowed to be intemperate.                They

         11     are allowed to be angry.          They are allowed to be cranks.

         12     They are not allowed to threaten to kill small children.

         13     They're not allowed to threaten to kill fathers in front

         14     of their children and then harm the child.                There's a

         15     line, and it's pretty far out there in the United

         16     States.     We let you go pretty far out.            But there is a

         17     line, and that line was crossed in this case.                    I take it

         18     very seriously.

         19                     And the guidelines -- the guidelines ask me

         20     to try to differentiate between intent to actually carry

         21     out the threats when they're made, and intent to scare

         22     by making threats one does not intend to carry out.                    One

         23     of the ways you start to think these are going to be

         24     carried out is when it shows planning.               Photographs of

         25     the home, right?        Photographs of firearms.          You start to




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 39 of 51
                                               JA197
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024     Pg: 208 of 237



                                                                                              40


          1     say, "This person has more than anger.                They're

          2     demonstrating intent."

          3                     The defense has asked me to say that was

          4     just really well-planned out attempts to scare.                    Like I

          5     said, I'm going to treat this as a borderline mental

          6     illness case where the defendant's personal history is

          7     such that his inability to grasp and deal with the level

          8     of confrontation that happened here led to a

          9     particularly horrific spiral of threat but that his time

         10     in the Bureau of Prisons and his time under supervision

         11     can reduce somewhat the risk that that is genuine.                      But

         12     the second that there's the absence of control to simply

         13     walk away -- it's not like these people have to be in

         14     your life.      These are people who live far away from you

         15     now.    Just never contact them.             It's done.

         16                     I've considered the relevant factors under

         17     Title 18, United States Code, Section 3553(a) including

         18     the nature and circumstances of the offense and the

         19     history and characteristics of the defendant.                    I've

         20     discussed those at length.

         21                     I recognize the need for the sentence

         22     imposed to reflect the seriousness of the offense,

         23     promote respect for the law, and provide just punishment

         24     for the offense.        This sentence will, I believe, do

         25     that.




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 40 of 51
                                               JA198
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024    Pg: 209 of 237



                                                                                           41


          1                     I recognize the need to afford adequate

          2     deterrence to criminal conduct and to protect the public

          3     from further crime of the defendant.               Mr. Mann, I'll

          4     tell you right now that as a judge, this is my fear,

          5     right?     Is that I let you out earlier and you go back

          6     and you terrorize those people again, and I will have

          7     been wrong.      I'm not gonna treat you that way right now.

          8     Right?     If I genuinely thought that you were not capable

          9     of controlling yourself at all, then my obligation is to

         10     keep you locked up for the length of time available to

         11     me under the guidelines.          I just want us to be clear

         12     about how much of this you hold in your hands.                    Right?

         13     There is a key to your cell in your hands.

         14                     I recognize the need to provide the

         15     defendant with needed education or vocational training,

         16     medical care, or other correctional treatment in the

         17     most effective manner.          He will have exhausted what we

         18     can do in the sentence he will have to serve.

         19                     And finally, I recognize the need to avoid

         20     unwarranted sentence disparities amongst defendants with

         21     similar records who have been found guilty of similar

         22     conduct.     I don't vary lightly.           I'm not going to vary

         23     in a very significant way, but I am varying downward in

         24     this matter notwithstanding the guidelines.                    And I'm

         25     doing so for the reasons previously stated on the




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 41 of 51
                                               JA199
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 210 of 237



                                                                                       42


          1     record.

          2                     All right.      You may stand, Mr. Mann.         I'm

          3     gonna pronounce your sentence.

          4                     Except as heretofore stated, the Court finds

          5     the bases for the findings contained in the presentence

          6     report credible and reliable, and therefore the Court

          7     adopts those findings.          Based on those findings, the

          8     Court has calculated the imprisonment range prescribed

          9     by the advisory sentencing guidelines.               The Court has

         10     considered that range as well as other relevant factors

         11     set forth in the advisory sentencing guidelines and

         12     those set forth in Title 18, United States Code, Section

         13     3553(a).     Further, the Court adopts and imposes the

         14     applicable special conditions of supervision referenced

         15     in the presentence report.

         16                     Pursuant to the Sentencing Reform Act of

         17     1984, and in accordance with the Supreme Court's

         18     decision in United States versus Booker, it is the

         19     judgment of this Court that the defendant, Timothy Mann,

         20     is committed to the custody of the Bureau of Prisons to

         21     be imprisoned for a term of 36 months on count 1 and a

         22     term of 36 months on count 2 to be served concurrently,

         23     for a total of 36 months.

         24                     The Court notes that the 36 months of

         25     supervised release to follow would mean this defendant




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 42 of 51
                                               JA200
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 211 of 237



                                                                                     43


          1     will effectively double his sentence if he contacts

          2     these victims again.

          3                     The Court recommends that the defendant

          4     receive a full physical and mental health evaluation and

          5     any appropriate treatment; that he receive any

          6     vocational training for which he is eligible and in

          7     which he's interested; that he receive a full mental

          8     health evaluation and any appropriate treatment.                 I

          9     emphasize that because I believe it's necessary in this

         10     case.

         11                     Mr. Zeszotarski, we haven't discussed

         12     placement.      Would a FMC be best?

         13                     MR. ZESZOTARSKI:        Your Honor, I -- Fort Dix,

         14     New Jersey I believe is not an FMC, but they do have --

         15     according, at least, to the website -- some mental

         16     health capabilities, and that would be close to where

         17     Mr. Mann would locate himself.

         18                     THE COURT:      All right.     I'll recommend

         19     Fort Dix, New Jersey.

         20                     I'll recommend any appropriate substance

         21     abuse treatment, although it doesn't seem to be the

         22     issue in this case.

         23                     MR. ZESZOTARSKI:        Mr. Mann would request

         24     that, Your Honor.

         25                     THE COURT:      Okay.    I recommend he be placed




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 43 of 51
                                               JA201
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 212 of 237



                                                                                 44


          1     in the most intensive drug abuse treatment program

          2     available at the facility to which he's assigned.

          3                     Upon release from imprisonment, the

          4     defendant shall be placed on supervised release for a

          5     term of three years.         This term consists of three years

          6     on count 1 and a term of three years on count 2, all

          7     such terms to run concurrently.

          8                     Further, after careful consideration of the

          9     provisions of Title 18, United States Code, Section

         10     3583(d), the sentencing factors outlined in Title 18,

         11     United States Code, Section 3553(a), and the conditions

         12     now imposed, the Court orders that the defendant shall

         13     comply with the mandatory and standard conditions of

         14     supervision adopted in the Eastern District of North

         15     Carolina as referenced in the standing order.

         16                     The defendant shall also comply with the

         17     following special conditions which are imposed based on

         18     the nature of the instant offense, his lack of

         19     compliance with his pretrial supervision, the

         20     defendant's mental health history, the defendant's lack

         21     of regard for court orders, his use of cellular phones

         22     and technology to commit the instant offense, and for

         23     the adequate supervision of the defendant based on the

         24     aforementioned issues.

         25                     The defendant shall participate as directed




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 44 of 51
                                               JA202
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 213 of 237



                                                                                 45


          1     in a program approved by the probation office for the

          2     treatment of narcotic addiction, drug dependency, or

          3     alcohol dependency, which will include urinalysis

          4     testing or other drug detection measures, and may

          5     require residence or participation in a residential

          6     treatment facility.

          7                     The defendant shall participate in a program

          8     of mental health treatment as directed by the probation

          9     office.

         10                     The defendant shall participate in a

         11     cognitive behavioral program as directed by the

         12     probation office.

         13                     The defendant shall submit to a search at

         14     any time, with or without a warrant, and by any law

         15     enforcement or probation officer, of the defendant's

         16     person and any property, house, residence, vehicle,

         17     papers, computer, other electronic communication or data

         18     storage devices or media and effects, upon reasonable

         19     suspicion concerning a violation of a condition of

         20     supervised release or unlawful conduct by the defendant,

         21     or to a search by any probation officer in the lawful

         22     discharge of the officer's supervision functions.

         23                     The Court notes the Fourth Circuit precedent

         24     may require probation officer to have some

         25     particularized suspicion to render such a search lawful,




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 45 of 51
                                               JA203
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 214 of 237



                                                                                 46


          1     and the Court's intent is to impose lawful searches.

          2                     Court finds this search condition reasonably

          3     related to the nature and circumstances of the offense,

          4     the history and characteristics of the defendant, and

          5     the need to protect the public from future crimes of the

          6     defendant.      The Court notes that multiple accounts and

          7     multiple identities were used electronically to engage

          8     in the pattern of harassment which has led to this

          9     conviction, and so the electronic search condition is

         10     essential in this case.

         11                     The defendant shall not incur new credit

         12     charges or open additional lines of credit without

         13     approval of the probation office.

         14                     The defendant shall provide the probation

         15     office with access to any requested financial

         16     information.

         17                     Given the ancillary conduct described by

         18     Mr. Pugh, being able to monitor his income and his

         19     expenditures as well as his attempts to find gainful

         20     employment in the future will be an important part of

         21     supervision of this defendant.

         22                     The defendant must make restitution in

         23     accordance with Title 18, United States Code, Section

         24     3663 and 3663(a), or any other statute authorizing a

         25     sentence of restitution.          Being able to monitor




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 46 of 51
                                               JA204
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 215 of 237



                                                                                      47


          1     defendant's financial condition is essential for the

          2     probation office to manage the restitution order as

          3     well.

          4                     It's further ordered the defendant shall

          5     cooperate in the collection of DNA as directed by the

          6     probation officer.

          7                     The drug testing condition required by

          8     Title 18, United States Code, Section 3608 is suspended

          9     based on the Court's determination that the defendant as

         10     we now sit poses a low risk of future substance abuse.

         11                     It's further ordered defendant shall pay the

         12     United States a special assessment of $200, which shall

         13     be due immediately.

         14                     It's further ordered defendant make

         15     restitution to the following victim in the following

         16     amounts:     Quartedra Harris, 311 Gilman Lane, Unit 101,

         17     Raleigh, North Carolina 27610, in the amount of $4,108.

         18                     MR. ZESZOTARSKI:        Your Honor, if I could

         19     raise one issue with respect to that.              I think that the

         20     government at this point is only requesting -- they

         21     filed a motion earlier this week --

         22                     THE COURT:      Oh.

         23                     MR. ZESZOTARSKI:        $2,107.13.

         24                     THE COURT:      I'll correct that to $2,107.13.

         25                     MR. ZESZOTARSKI:        Thank you.




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 47 of 51
                                               JA205
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 216 of 237



                                                                                       48


          1                     THE COURT:      Mr. Pugh?

          2                     MR. PUGH:     Your Honor, just let me confirm

          3     the number really quickly.           I might have written it down

          4     wrong.

          5                     Yup.    That's correct.       Thank you.

          6                     THE COURT:      Thank you.     This was an earlier

          7     prepared draft.

          8                     Any payment made that is not payment in full

          9     shall be divided proportionately if multiple victims are

         10     named.     The Court finds that the defendant is without

         11     the ability to pay interest, so interest is therefore

         12     waived.

         13                     Payment of restitution shall be due and

         14     payable in full immediately.            However, if the defendant

         15     is unable to pay in full immediately, the special

         16     assessment and restitution may be paid through the

         17     Inmate Financial Responsibility Program, or IFRP.                The

         18     Court orders that the defendant pay a minimum payment of

         19     $25 per quarter through the IFRP, if available.

         20                     The Court having considered the defendant's

         21     financial resources and ability to pay orders that any

         22     balance still owed at the time of release shall be paid

         23     in installments of $100 per month to begin 60 days after

         24     the defendant's release from prison.

         25                     At the time of the defendant's release, the




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 48 of 51
                                               JA206
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 217 of 237



                                                                                   49


          1     probation officer shall take into consideration the

          2     defendant's ability to pay the restitution ordered and

          3     shall notify the Court of any needed modification of the

          4     payment schedule.

          5                     The Court finds that the defendant does not

          6     have the ability to pay a fine in addition to

          7     court-imposed restitution.           Therefore, no fine is being

          8     imposed.

          9                     Timothy Mann, you can appeal your conviction

         10     if you believe that your guilty plea was somehow

         11     unlawful or involuntary, or if there is some other

         12     fundamental defect in the proceedings that was not

         13     waived by your guilty plea.           You also have a statutory

         14     right to appeal your sentence under certain

         15     circumstances, particularly if you think the sentence is

         16     contrary to law.

         17                     With few exceptions, any notice of appeal

         18     must be filed within 14 days of judgment being entered

         19     on the docket in your case.           If you are unable to pay

         20     the cost of an appeal, you may apply for leave to appeal

         21     in forma pauperis.         If you so request, the Clerk of the

         22     Court will prepare and file a notice of appeal on your

         23     behalf.

         24                     The Court also announces that if it has

         25     miscalculated the advisory guideline range in any way,




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 49 of 51
                                               JA207
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024     Pg: 218 of 237



                                                                                        50


          1     or erroneously departed or failed to depart in any way,

          2     that the Court would impose the same sentence as an

          3     alternative variant sentence in light of all the section

          4     3553(a) factors that I have discussed.                This is the

          5     sentence sufficient but not greater than necessary in

          6     this case.

          7                     Mr. Mann, I always try to temper judgment

          8     with mercy, and I've varied downward from a very

          9     significant guideline range in this case, significantly

         10     in your direction.         If you serve good time, it'll

         11     shorten this sentence further.               If you go out and you

         12     contact these people in any way, I can't emphasize

         13     enough the extent to which it will be you who turns the

         14     key on going back to prison.

         15                     It's time to use the resources that we have

         16     to get yourself some mechanisms for not having that

         17     happen.     None of us are our worst day.             And you've come

         18     a long way from a difficult childhood.                You can fix

         19     this, and this is not permanent.

         20                     I commend all the resources to you.              You can

         21     spend your time in federal prison or you can waste it.

         22     You're a smart young man.           If you spend it, you can come

         23     out the far side of this and be very successful.

         24     Please, I'm begging you, don't come back.

         25                     THE DEFENDANT:       I won't, sir.




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 50 of 51
                                               JA208
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024   Pg: 219 of 237



                                                                                   51


          1                     THE COURT:      All right.     Anything further,

          2     Mr. Zeszotarski?

          3                     MR. ZESZOTARSKI:        Thank you, Your Honor.

          4                     THE COURT:      Anything further, Mr. Pugh?

          5                     MR. PUGH:     No, Judge.

          6                     THE COURT:      Defendant's remanded to the

          7     custody of the United States Marshal.              We'll take a

          8     five-minute recess.

          9                     (Proceedings concluded at 11:10 a.m.)

         10

         11

         12

         13

         14

         15

         16

         17

         18                          C E R T I F I C A T E

         19

         20               I certify that the foregoing is a correct

         21     transcript from the record of proceedings in the

         22     above-entitled matter.

         23

         24     /s/Risa A. Kramer                                  1/29/2024

         25     Risa A. Kramer, RMR, CRR                           Date




              Case 5:23-cr-00014-M-KS Document 85 Filed 01/29/24 Page 51 of 51
                                               JA209
USCA4 Appeal: 23-4760                     Doc: 12                 Filed: 04/01/2024                      Pg: 220 of 237




      AO ::!45B1Rc, ~/19)   JuJgnl<'nt in a Cnmm,tl ('.1se
                            Shc~I l



                                                  UNITED STATES DISTRICT COURT
                                                              Eastern District of orth Carolina
                                                                                  )
                    UNITED STATES OF AMERIC/\                                     )          JUDGMENT IN A CRIMl NAL CASE
                                         \',                                      )
                                                                                  )
                              TIMOTHY MANN                                                   Case Number: 5:23-CR-14-1M
                                                                                  )
                                                                                  )          USM Number: 36945-510
                                                                                  )
                                                                                  )          Joseph E Zeszotarski, Jr.
                                                                                  )          Ddendani"s Aunmc)     -
      THE DEFENDANT:
      ~ pleaded guilty tl, eount(s)            1 and 2 of Indictment
      D pleaded nolo contendere to count(:.)
         "hil:h \HIS accepted b~ the court.
      D ,,as found guilt)' on count( s)
         aIler a pica of not guilty.

      The defendant is adjudicated guilt) of these offenses:

      Title & Section                   Nature of Offense                                                              Offense Ended

      18 U.S.C. § 2261A(2)              Cyberstalking                                                                  11/30/2022                1 and 2




             I he dcfem.lant is sentenced as pro, idcd in pages'.? through               7       _ or this judgment. l he sentence is impo'>ed pur.uant to
      the ~entencing Reform /\ct of 1984.

      D I hc JefcnJant has been found not guilt) on count(s)
      0 (ount(l>)                                               D is      0 arc dismis~cd on the motion of' thc Unitcd Statcs.
               It is ordered that the defendant must notit\. the l nitcd States attornc, for lhi'> JistriCl ,, ithin 30 da"s of an, chan11.c ol namc. n:sidcncc.
      or mailing address until all fines, restitution. costs. and special asse,:..n1cnts in,posed hy thisjudsment are full) paid: lfordereJ to pa) rc\titution.
      the dd'enuant mu,<,t notify the -:ourt and United States attorne) or material changes in i:co11omIc circumstances.

                                                                                                                   11/30/2023



                                                                                r:!ZJ''E>~±!'.~
                                                                                 S1gna111rc of Judge




                                                                                             Richard E. Myers II, Chief United States District Judge
                                                                                 Name anJ r,1le of JuJge



                                                                                        / 2- / 1_2- /   '"2.-c)   ~3
                                                                                 Date




                            Case 5:23-cr-00014-M-KS Document 77 Filed 11/30/23 Page 1 of 7


                                                                            JA210
USCA4 Appeal: 23-4760                     Doc: 12                    Filed: 04/01/2024                  Pg: 221 of 237




      AO 245ll (Re, 09/19) Judgment 111 Criminal Case
                            Sh,-el ~ - Imp, 1wnmcn1
                                                                                                                Judgmcnt -   Page     2_     ol   7
       DEFENDANT: TIMOTHY MANN
       CASE NUMB ER: 5:23-CR-14-1M

                                                                     IMPRJSONME T

                 ·1he dcfonc.Jant is hcrcli) cornmittcc.J 10 the custody 1Jfthe Fec.Jcral Bureau of Prisons to be imprisoned for a
       total term of:

       36 months: 36 months on count 1, 36 months on count 2; to run concurrently




            0    I he court makes the foll1m ing recommendations to the Bureau of Prisons:

                  The court recommends: Most intensive drug treatment, Vocational training/educational opportunities,
                  Mental Health assessment and treatment, Physical evaluation and treatment, Placement at FCI Fort Dix -
                  facility close to family.

            iiZl !'he dcli:ndant is remanded to the cu,tody of the l lnited State~ Marsh..il.
            D I he defenJ..1111 shall surrender lo the United States Marshal for thi s district:
                 0    ul                                 O    a.m.     0   p.m.     on

                 0    as notified by the United State~ Marshal.

            0    The defendant shall sum:nder for service of sentence al the institution designated b1 the Bureau of Pri::-ons:

                 0    before 2 p.m. on

                 0    as notified by the United States Marshal.

                 0    as noti liec.J b) the Probation or Prdrial Service~ Office.




                                                                           RETURN
       I ha, c c>.ccuted this judgment as follows:




                 l)efendanl c.Jcli vcrcd on                                                        to

       at                                                    ,, ith a ccrtiticd cop} of this judgment.



                                                                                                             UN IT! I) STATrs MARSHAL




                                                                                                         DEPU I Y UNI r fo s·1,\ l'l"S MARSHAL




                              Case 5:23-cr-00014-M-KS Document 77 Filed 11/30/23 Page 2 of 7


                                                                            JA211
USCA4 Appeal: 23-4760                       Doc: 12                Filed: 04/01/2024                  Pg: 222 of 237




      <\O 24513 (Re, (19119) Judgm,·nt ma Cr11ntnal Cas..:
                              Shcc1 3 - Sup,:I'\ l~l'd Rekasc
                                                                                                                    Judgm~nt-Pag~             of
      DEFENDANT: TIMOTHY MANN
      CASC NUMBER: 5:23-CR-14-1M
                                                                 SUPERVISED RELEASE
      Lrxm rek:ase from imprisonment. you wil l be on supcn bed release for a tcrm of:
       3 years: 3 years on each counts 1 and 2; to run concurrently




                                                                MANDATORY CONDITIONS
      I.    You must not commit anothl·r lcdcral. stale or local crimc.
      2.    You must not unla\, full~ possess a controlled substance.
      3.    You must refrain from an)- unlawful use of a controlled substance. You must submit to one drug test within 15 days of rek:ase from
            imprisonment and at least two periodic drng tests thereafter. as determined by the court.
                   0 The abme drug testing condition is suspended. based on the cou1t's dctcnnination that )OU
                       pose a lo\\ risl-. of future substance abuse. (chdck ,roppl,caM,')
      4.     ~ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663/\ or any other statute authorizing a sentencc of
                restitution. (C'heck ,fapplicable/
      5.     ~ You must cooperate in the collection of D A as din:ctcd by the probation of1iccr. (check ifappi,cubleJ
      6.     0 You must eompl) \\ ith the rcquiremi.:nts of the Sex Offender Registration and           otilication /\ct (34 U.S.C. § ::?090 I. el seq.) as
               directed b) the probation omcer, the Bureau or Prisons. or any state sex offender registration agency in the location where )OU
               reside. worl-.. arc a student. or wen.: convicted of a qualifying offense. (check lfn!'pl,cohle)
      7.     0 You must participmc in an approvcd program for domestic violence. (check ifapplicabld
      You must comply \\ith the standard conditions that have been adopted hy this cou1t as well as with an) other conditions on the attached
      page.




                               Case 5:23-cr-00014-M-KS Document 77 Filed 11/30/23 Page 3 of 7


                                                                            JA212
USCA4 Appeal: 23-4760                     Doc: 12                 Filed: 04/01/2024                 Pg: 223 of 237




        AO 2450 (R,•v 09/19)   Judgmcm in a C'nminal Case
                               Sh~~t 3A - Sup.irvised Release

                                                                                                         Judgm~nt- Pag~ __              of
        DEFENDANT: TIMOTHY MANN
        CASE NUMBER: 5:23-CR-14-1M

                                               STANDARD CONDITIONS OF SUPERVISION
        As part of your supervised release, you must comply ,,vith the fol lowing standard conditions of supervision. These conditions are i mposed
        because they establish the basil: expectations fr>r your behavior w hile on supervision and identify the minimum tools needed b1 probation
        officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

        I.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of}our
               release from imprisonment. unless the probation officer instructs you to report to a different probation otlice or within a different time
               frame.
       '.!.    After initially rcpotting to the probation oftice, you w ill receive instructions from the court or the probation offo:er about how and
               when you must report to the probation o fficer. and you must repon to the probation officer as instructed.                           •
               You must not knowingly !caw the foderal judicial district w here you are authorized to reside without lirst getting permission from the
               court or the probation officer.
       4.      You must ans~1er truthh.rlly the questions asked by your probation officer.
       5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
              arrangements (such as the people you l ive w ith), you must not ify the probation officer at least I O days before the change. If notilYing
              the probation officer in advance is not possible due to unanticipated circumstances. you must notify the probation officer within 72
               hours of becoming aware of a change or expected change.
       6.     You must allow the probation officer to v isit you at any time at your home or elsewhere. and you must permit the probation officer to
              take an) items prohibited by the conditions of your superv ision that he or she obscrYes in plain vie\\.
       7.      You must \\Ork full lime (at least 30 hours per week) aL a lawful type of employment. unless the probation officer c>.cuses you from
              doing so. If you do not have full-time emplo) mcnt you must try to find full-t ime employment. unless the probation officer e>.cuscs
              you from doing so. I r you plan to change where you work or anything about your work tsuch as your position or your job
              responsibilities). you must notif)· lhe probation officer at least IO days before the change. If notify ing the probation officer at least IO
              days in advance is not possible due Lo unanticipated circ.umstances, you must notify the probation oflicer within 72 hours of
              becoming aware of a change or expected change.
       8.     You must not communicate or i nteract with someone you know is engaged in criminal activity. I f you know someone has been
              convicted or a felony, you must not knowingly corn mun icatc or· interact w ith that person without Jirst getting the permission of the
              probation officer.
       9.     If you arc arrested or questioned by a law enforcement offi cer. you must notify the probation officer within 72 hours.
       10.    You must not own, possess, or have access to a firearm, ammunition. destructive device, or dangerous weapon (i.e.. anything that was
              designed, or was modified for. the specitic purpose of causing bodily injury or death to another person such as nunchakus or lasers).
       11 .   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
              first getting the permission of the cou,t.
       I:!.   If the probation officer determines that you pose a risk to another person (including an organization). the probation officer may
              require you to noti1y the person about the risk and you must comply with that instruction. The probation officer may contact the
              person and confirm that you have notified the person about the risk.
       13.    You must follow the i nstructions of the probation officer related to the conditions or supervision.




       U.S. Probation Office Use Only
      /\ U.S. probation oniccr has instructed me on the conditions speci fied by the court and has provided me with a wrillen copy o!' this
      judgment containing these conditions. For further information regarding these conditions, sec Overview of Probation and Supervised
      Release Conditions. available at: w,,w.uscouI1s.gm.


       l kfendant's Signature                                                                                     Date




                               Case 5:23-cr-00014-M-KS Document 77 Filed 11/30/23 Page 4 of 7


                                                                           JA213
USCA4 Appeal: 23-4760                     Doc: 12               Filed: 04/01/2024       Pg: 224 of 237




       AO 245ll (Rev 09/l 9)   .llldgm.:nt in a Criminal Case
                               Sheet 3D- Sup~rvisL-d Release

                                                                                                    Judgment-l'ag.:   5    of      7
       DEFENDANT: TIMOTHY MANN
       CASE NUMBER: 5:23-CR-14-1M


                                                  SPEC IAL CONDITIONS OF SUPERVISION
        The defendant shall participate in a program of mental health treatment, as directed by the probation office.

        The defendant shall participate in a cognitive behavioral program as directed by the probation office.

        The defendant shall submit to a search, at any time, with or without a warrant, and by any law enforcement or probation
        officer, of the defendant's person and any property, house, residence, vehicle, papers, computer, other electronic
        communication or data storage devices or media, and effects upon reasonable suspicion concerning a violation of a
        condition of supervised release or unlawful conduct by the defendant, or by any probation officer in the lawful discharge of
        the officer's supervision functions.

        The defendant shall not incur new credit charges or open additional lines of credit without approval of the probation office.

        The defendant shall provide the probation office with access to any requested financial information.

       The defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a
       sentence of restitution.




                               Case 5:23-cr-00014-M-KS Document 77 Filed 11/30/23 Page 5 of 7


                                                                     JA214
USCA4 Appeal: 23-4760                        Doc: 12                        Filed: 04/01/2024                       Pg: 225 of 237




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                                                                                                                          Judgment -   Pagt•       6              7
       DEFENDANT: TIMOTHY MANN
       CASE NUMBER: 5:23-CR-1 4-1M
                                                         CRIMINAL MONETARY PENALTIES
              1he defendant must pa) the total criminal nmnetaf") penalties under the schedule of payments on Sheet 6.


                            Assessment                  Res titution                       Fine                   AV AA Assessment*                J\'TA Assessment**
       TOTAL              $ 200.00                    S2, 10713                      s                                                         s

       D      I hl· determination of restitution is deferred until                           . /\n . Imended .Judgment in a Criminal Cure (AO 2./5C) will be
              enten:d atler such determination.

       ~ ·1 he Jcfcndant mu~t make restitulion (including community restitulion) to the following. payees in the amounl listed below.

              If the defendant makes a partial pa, mcnt. each pa, ec shall receh can appro.-.imatcl\ proportioned ra\- men I. unless specified other\-, isc in
              thc_priorit~ or~er Of pcn.:~ntagc pa)-mcnt column bclo\\. I lo\\e\-cr. pursuant to 18lf.S.C. § 3664(1).'all nonlcdeml , ictim::. must be paid
              before the Umlcd States 1s paid.

       Name of PaHe                                                          Tolal L oss*"*                      Restitution Ordered           Priority or Percentage
         Quartedra Harns                                                                          $2,107.13                 $2,107.13




       TOTALS                                  s                          2,107.13                 s                 2,107.13


       D       Restitution amount ordered pursuant to pica agreement $

       D       I he defendant must pa) interest on restitution and J tine of more than $2,500, unless the restitution or tine is paid in fu ll before the
                                                                                                       *
               lillcenth da) i,licr the date or 1hcjudg111cnt. pursuant to 18 U.S.C. 3(,12(1'). /\II or the pa)mcnt option~ 1)11 Sheet 6 ma) be subject
               to penalties for dclinquenc) and default. pursuant to 18 l l.S.C. 16 I 2(g).    *
       liZI    I he court Jetcnnincd that the defendant docs not ha, c the abilit) to pay interest and it is ordered that:

               !i2j the interest rc4uiremcnt is wai,·cd l<>r the            D       line     liZI re~tilution.

               0    the imcrc,t requirement for the           0      fine       D     restitution is modified as follows:

       * Amy. Vicky. and /\ ndv Chi ld Pornography V ictim Assisiancc Act of 20 18. Pub. L. No. 115-299.
       ** Ju~ticc tor Victims ol"Traflicking /\ct of 20 15, Pub. L. No. I 14-22.
       •• • I· indings for the total amount of losses arc required under Chapters I 09/\. 110, 110/\. and 11 3/\ of Title 18 for offenses committed on
       or atlcr September 13. 1994. but before April 23. 1996.




                               Case 5:23-cr-00014-M-KS Document 77 Filed 11/30/23 Page 6 of 7


                                                                                           JA215
USCA4 Appeal: 23-4760                      Doc: 12                     Filed: 04/01/2024                      Pg: 226 of 237




       AO 2458 (Rt'v. 09/19)   Judgm~nt 111 a Criminal Case
                               Shet·t 6 - Sch<·dule of Payments

                                                                                                                             Judgment - Pagt' __J__ or __J_ __
       DEFENDANT: TIMOTHY MANN
       CASE NUMBER: 5:23-CR-14-1M


                                                                  SCHEDULE OF PAYMENTS
       I laving assessed the defendant's ability lo pay. payment of'lhe total criminal monetary penalties is due as follows:

       A      O     Lump sum payment of$                                   due immediately, balance due

                    D     noLlatt:r than                                        , or
                    O     in m.:cordance with     D C.        O D,        D      E. or      D F below; or
       B     e'.l   Payment to begin imm.:diately (may be wmhined w ith                  □ c.         D D,or        0 F below); or

       C     O      Payment in equal        __         _      fl!.g.. week(v. 1110111/z(~·. quarterM installments of $
                                                                                                                   ____ over a period of
                                   (£'.g.. monrh.1· or wars), to commcnt:c      _ _ _ _ _ (e.g .. 30 or 60 days) after the date of this j udgment: or

       D     D      Payment in equal       _ _ _ _ _ (e.g.. 11·/!ek(v. 1110111h/y, quarter(~') installments or$                       over a period of
                                   (e.g.. monrhs oryear.1'), to commence        ___          _ (e.g.. 30 or 60 days} afler release from imprisonment to a
                    term of supervision: or

       E     O      Payment during the tenn of supervised release wi II commence within _________ (e.g., 30 or 60 days) after release from
                    imprisonment. The cou1t will set the payment plan based on an assessment of the defendant's ability to pay al that time; or

       F     fill   Special instructions regarding the payment o f criminal monetary penalties:
                    The special assessment in the amount of S 200.00 shall be due in full immediately. Payment of restitution shall be due and payable in full
                    immediately. However, if the defendant is unable to pay in full immediately, the special assessment and restitution may be paid through the
                    Inmate Financial Responsibility Program (IFRP). The court orders th at the defendant pay a minimum payment of $25 per quarter through the
                    IFRP, if available. The court, having considered the defendant's financial resources and ability to pay, orders that any balance still owed at the
                    time of release shall be paid in installments of $100 per month to begin 60 days after the defendant's release from prison. At the time of the
                    defendant's release, the probation officer shall take into consideration the defendant's ability to pay the restitution ordered and shall notify the
                    court of any needed modification of the payment schedule.

       Unless the court has cxpresslv ordered otherwise. irthisjudgment imposes imprisonment, paymentofcrim inal monetary penalties is due during
       the period of imprisonment: All criminal monetarv penalties, except those payments made through !he Federal Bureau of Prisons· Inmate
       Financial Responsibil ity Program, are made to the 'clerk of the court.

       The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




       D    Joint and Sc\ eral

            Case N umber
            Dcfondant and Co-Defendant Names                                                           .Joint and Several                 Corr~~ponding_Payee,
            rincludi11g defenda111 number)                           Total Amount                           Amount                            if appropriate




      D     The defendant shal l pay the cost of prosecution.

      D     The defendant shall pay the fo llowing court cost(s):

      D     The defendant shall forfeit the defendant's i nterest in the follo11 ing property to the United States:




      Payments shall be applied in the followi ng order: ( I) assessment. (2) restitution principal. {3) restitution interest. (4) A VAJ\ assessment.
      15i line principal. (6) fine interest. (7) community restitl1tion. (8) JVTA assessment. (9) penalties. and ( 10) costs. 111cluding cost of
      prosecution and court costs.




                               Case 5:23-cr-00014-M-KS Document 77 Filed 11/30/23 Page 7 of 7


                                                                                  JA216
USCA4 Appeal: 23-4760       Doc: 12               Filed: 04/01/2024
                                                       JA217             Pg: 227 of 237
                  Case 5:23-cr-00014-M-KS Document 74 Filed 12/12/23 Page 1 of 1
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USCA4 Appeal: 23-4760      Doc: 12          Filed: 04/01/2024     Pg: 228 of 237


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                                                                                ON      '/v1 P-'5     ~Q..t+
                                                                                     Peter A. Moore, Jr., Clerk
                                                                                     us District Court
                                                                                     Eaeiem District of NC
                                 UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                       WESTERN DMSION

                                        No.5: 1-?:;- c~;.·\y- , tvl-     \L-S

            lINITED-.STi\.'.rES _OF. AMERICA    )
                                           - - _) __, ___ __
                                                                          --------- --\,-,,_
                                                                                          .. '
                         v.                         )            INDICTMENT •
                                                    )
            TIMOTHY MANN                            )


            The Grand Jury charges that:


                                                 Count One

                   From in or around February 2022 through in or around November 2022, in the

            •Eastern District of North Carolina, and elsewhere-; defendc1.n.t_TIMQTHY MANN with     •
                                                                     .           -- . ...,,,-   ----- - - ----
                                                                                                          --
                                                                                                                  -------   -
            the intent to injure, harass, and intimidate victim D.E., used facilities of interstate

            and foreign commerce, including electronic mail and internet social media

            applications, to engage in a course of conduct that caused substantial emotional

            distress to D.E. and placed him in reasonable fear of death and serious bodily injury,

            in violation of Title 18, United States Code, Sections 2261A(2).


                                          ___Count Two

                   From in or around March 2022 through in or around November 2022, in the

            Eastern District of North Carolina, and elsewhere, defendant TIMOTHY MANN with

            the intent to injure, harass, and intimidate victim Q.H., used facilities of interstate

            and . foreign commerce, including electronic mail and internet social media

            applications, to engage in a c~urse of conduct that caused substantial emotional


                  Case 5:23-cr-00014-M-KS Document 74-1 Filed 12/12/23 Page 1 of 2
                   Case 5:23-cr-00014-M-KS DocL•ment 14 Filed 01/18/23 Page 1 Qf 2
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                                                  JA218
USCA4 Appeal: 23-4760                                             Doc: 12                                      Filed: 04/01/2024                 Pg: 229 of 237




                                            distress to Q.H. and placed her in reasonable fear of death and serious bodily injury,

                                         in violation of Title 18, United States Code, Sections 2261A(2).



                                                                                                                                         A TRUE BILL
                                                                                                                                                                     REDACTED VERSION
                                                                                                                                         _ __,L.__..1..-.- Pursuant toJhaE.;Govemmer.:t Act and the
                                                                                                                                           --- - - -      - -federal rules, the unredacted version of
                                                                                                                                         ,
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USCA4 Appeal: 23-4760       Doc: 12                           Filed: 04/01/2024               Pg: 230 of 237




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JA220
                                                Case 5:23-cr-00014-M-KS Document 74-2 Filed 12/12/23 Page 1 of 2
USCA4 Appeal: 23-4760       Doc: 12   Filed: 04/01/2024          Pg: 231 of 237




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                                                                                              Case 5:23-cr-00014-M-KS Document 74-2 Filed 12/12/23 Page 2 of 2

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                                           JA221
USCA4 Appeal: 23-4760     Doc: 12         Filed: 04/01/2024   Pg: 232 of 237


                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

                                     No. 5:23-CR-14-1-M




      UNITED STATES OF AMERICA



                     v.                            MOTION TO WITHDRAW AND
                                                   FOR APPOINTMENT OF NEW
                                                  COUNSEL ON DIRECT APPEAL

      TIMOTHY MANN




             NOW COMES undersigned counsel, and moves this court for an order

       permitting him to withdraw from further representation of the defendant on his

       direct appeal, and further moves that pursuant to Rule 24 of the Federal Rules of

       Appellate Procedure, this Court enter an order permitting Defendant to proceed in

       forma pauperis on appeal in light of his indigent status, and ordering that the new

       counsel be appointed to represent Defendant on the direct appeal of his sentence.

       In support of this Motion, Defendant shows the Court the following:

             1.     Undersigned counsel was appointed by this Court to represent

       Defendant in the district court.

             2.     On 30 November 2023, a sentencing hearing was held in this case, and

       Defendant was sentenced in this case to 36 months imprisonment, 3 years

       supervised release, restitution, and a $200 special assessment.




               Case 5:23-cr-00014-M-KS Document 75 Filed 12/12/23 Page 1 of 3

                                               JA222
USCA4 Appeal: 23-4760     Doc: 12        Filed: 04/01/2024    Pg: 233 of 237


             3.     On 12 December 2023, Defendant filed a pro se notice of appeal.

       Undersigned counsel had previously been unaware of Defendant’s intent to pursue

       a direct appeal, as Defendant had stated a different intent to undersigned counsel

       at the conclusion of the sentencing hearing.          In an abundance of caution,

       undersigned counsel will file a notice of appeal contemporaneously herewith.

             4.     Based on previous discussions with Defendant regarding the issues he

       may intend to pursue postconviction, it is undersigned counsel’s view and belief that

       it would be appropriate under the North Carolina Rules of Professional Conduct for

       new counsel be appointed to pursue Defendant’s interests. Undersigned counsel

       therefore requests that the Court enter an order permitting him to withdraw from

       further representation of Defendant.

             5.     Defendant has previously been found in this case to be indigent within

       the meaning of the Criminal Justice Act and is unable to retain counsel to represent

       him on his direct appeal.

             6.     In light of his indigent status, it is requested that Defendant be

       permitted to appeal in forma pauperis, and that new counsel be appointed by the

       Fourth Circuit to represent him on direct appeal.

                                         CONCLUSION

             For the reasons stated herein, undersigned counsel respectfully requests that

       the Court enter an order permitting him to withdraw from further representation of

       Defendant, that an order be entered permitting Defendant to proceed in forma




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               Case 5:23-cr-00014-M-KS Document 75 Filed 12/12/23 Page 2 of 3

                                               JA223
USCA4 Appeal: 23-4760    Doc: 12         Filed: 04/01/2024   Pg: 234 of 237


       pauperis on his direct appeal, and that new counsel be appointed to represent

       Defendant on his direct appeal.

             This the 12th day of December, 2023.

                                                    GAMMON, HOWARD &
                                                    ZESZOTARSKI, PLLC

                                                    /s/ Joseph E. Zeszotarski, Jr.
                                                    Joseph E. Zeszotarski, Jr.
                                                    State Bar No. 21310
                                                    115 ½ West Morgan Street
                                                    Raleigh, NC 27601
                                                    (919) 521-5878
                                                    jzeszotarski@ghz-law.com
                                                    Counsel for Defendant




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              Case 5:23-cr-00014-M-KS Document 75 Filed 12/12/23 Page 3 of 3

                                              JA224
USCA4 Appeal: 23-4760      Doc: 12      Filed: 04/01/2024    Pg: 235 of 237


                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

                                     No. 5:23-CR-14-1-M




       UNITED STATES OF AMERICA



                      v.                                        ORDER

       TIMOTHY MANN




             The matter comes before the Court on motion of Defendant’s counsel to

       withdraw, and for new counsel to be appointed to represent Defendant on appeal. For

       good cause shown, the Motion is GRANTED, and it is ORDERED that Defendant’s

       court-appointed counsel Joseph E. Zeszotarski, Jr. may withdraw from further

       representation of Defendant. It is further ORDERED that new counsel be appointed

       to represent Defendant on his direct appeal.

             SO ORDERED.

             This the ____ day of December, 2023.

                                                      ____________________________________
                                                      RICHARD E. MYERS II
                                                      Chief United States District Judge




              Case 5:23-cr-00014-M-KS Document 75-1 Filed 12/12/23 Page 1 of 1

                                              JA225
USCA4 Appeal: 23-4760      Doc: 12       Filed: 04/01/2024    Pg: 236 of 237


                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

                                     No. 5:23-CR-14-1-M



       UNITED STATES OF AMERICA



                      v.                                 NOTICE OF APPEAL


       TIMOTHY MANN




               NOW COMES DEFENDANT Timothy Mann, through undersigned counsel

       and pursuant to Rule 4 of the Federal Rules of Appellate, hereby gives notice of

       appeal to the United States Court of Appeals for the Fourth Circuit from the

       judgment of conviction and sentence entered by the district court on 30 November

       2023.

               This the 12th day of December, 2023.

                                                      GAMMON, HOWARD &
                                                      ZESZOTARSKI, PLLC

                                                      /s/ Joseph E. Zeszotarski, Jr.
                                                      Joseph E. Zeszotarski, Jr.
                                                      State Bar No. 21310
                                                      115 ½ West Morgan Street
                                                      Raleigh, NC 27601
                                                      (919) 521-5878
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                                                      jzeszotarski@ghz-law.com
                                                      Counsel for Defendant




                Case 5:23-cr-00014-M-KS Document 76 Filed 12/12/23 Page 1 of 1

                                               JA226
USCA4 Appeal: 23-4760          Doc: 12         Filed: 04/01/2024       Pg: 237 of 237




                               IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                        WESTERN DIVISION

                                            Case No. 5:23-CR-14-1-M




            UNITED STATES OF AMERICA

                          V.                                                ORDER

            TIMOTHY MANN


                  The matter comes before the court on Defendant' s counsel' s motion to withdraw [DE 75].

           For good cause shown, the motion is GRANTED. The court terminates the moving attorney's

           representation of Defendant in this matter. The Federal Public Defender's Office shall appoint

           substitute counsel to represent Defendant on appeal.


                  SO ORDERED this                 day of December, 2023 .




                                                        RICHARD E. MYERS II
                                                                                            -  11


                                                        CHIEF UNITED STATES DISTRICT JUDGE




                    Case 5:23-cr-00014-M-KS Document 82 Filed 12/20/23 Page 1 of 1


                                                      JA227
